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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction           Date          Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

                 Pre-class holdings       22,909                                 Sale             8/16/2013        (63)    $25.0000     ($1,575.00)
                                                                                 Sale             8/16/2013     (1,000)    $30.0000    ($30,000.00)
                                                                                 Sale             8/16/2013       (200)    $35.0000     ($7,000.00)
                                                                                 Sale             8/23/2013       (996)    $32.5600    ($32,429.76)
                                                                                 Sale             8/26/2013       (150)    $31.5900     ($4,738.50)
                                                                                 Sale             8/26/2013       (200)    $31.5200     ($6,304.00)
                                                                                 Sale             8/26/2013       (200)    $31.5400     ($6,308.00)
                                                                                 Sale             8/26/2013       (100)    $31.5400     ($3,154.00)
                                                                                 Sale             8/26/2013       (100)    $31.5000     ($3,150.00)
                                                                                 Sale             8/26/2013        (53)    $31.5000     ($1,669.50)
                                                                                 Sale             8/26/2013        (89)    $31.5000     ($2,803.50)
                                                                                 Sale             8/26/2013       (100)    $31.5000     ($3,150.00)
                                                                                 Sale             8/26/2013        (58)    $31.5000     ($1,827.00)
                                                                                 Sale             8/27/2013        (82)    $30.9900     ($2,541.18)
                                                                                 Sale             8/27/2013       (200)    $30.9900     ($6,198.00)
                                                                                 Sale             8/27/2013       (200)    $30.9400     ($6,188.00)
                                                                                 Sale             8/27/2013       (156)    $30.9500     ($4,828.20)
                                                                                 Sale             8/27/2013        (93)    $30.9800     ($2,881.14)
                                                                                 Sale             8/29/2013        (12)    $31.0100       ($372.12)
                                                                                 Sale             8/29/2013       (200)    $31.0100     ($6,202.00)
                                                                                 Sale             8/29/2013       (200)    $31.0100     ($6,202.00)
                                                                                 Sale             8/30/2013     (1,124)    $31.9300    ($35,889.32)
                                                                                 Sale              9/3/2013        (13)    $31.6500       ($411.45)
                                                                                 Sale              9/3/2013       (200)    $31.6500     ($6,330.00)
                                                                                 Sale              9/3/2013        (55)    $31.6500     ($1,740.75)
                                                                                 Sale              9/3/2013       (200)    $31.6600     ($6,332.00)
                                                                                 Sale              9/3/2013       (200)    $31.6600     ($6,332.00)
                                                                                                                (6,244)               ($196,557.42)

Purchase                6/12/2013            300     $34.6600   $10,398.00
Purchase                6/12/2013            300     $34.6600   $10,398.00
Purchase                6/12/2013            199     $34.6200    $6,889.38
Purchase                6/12/2013              1     $34.6200       $34.62
                                                                                                                                                      Case 1:14-cv-00068-RGA Document 17-1 Filed 04/04/14 Page 60 of 106 PageID #: 562




Purchase                6/12/2013            200     $34.6400    $6,928.00
Purchase                6/12/2013            400     $34.6400   $13,856.00

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date   Shares   Price   Proceeds

Purchase                6/12/2013            200     $34.6200    $6,924.00
Purchase                6/12/2013            300     $34.6000   $10,380.00
Purchase                6/12/2013            200     $34.5900    $6,918.00
Purchase                6/12/2013            200     $34.5900    $6,918.00
Purchase                6/12/2013            100     $34.5800    $3,458.00
Purchase                6/12/2013             27     $34.5800      $933.66
Purchase                6/12/2013            473     $34.5800   $16,356.34
Purchase                6/12/2013            100     $34.5800    $3,458.00
Purchase                6/12/2013            500     $34.5800   $17,290.00
Purchase                6/12/2013            400     $34.5700   $13,828.00
Purchase                6/12/2013            500     $34.5600   $17,280.00
Purchase                6/12/2013            600     $34.5600   $20,736.00
Purchase                6/12/2013            400     $34.5700   $13,828.00
Purchase                6/12/2013            700     $34.5600   $24,192.00
Purchase                6/12/2013            400     $34.5600   $13,824.00
Purchase                6/12/2013            100     $34.5600    $3,456.00
Purchase                6/12/2013            800     $34.5600   $27,648.00
Purchase                6/12/2013            600     $34.5600   $20,736.00
Purchase                6/12/2013            300     $34.5400   $10,362.00
Purchase                6/12/2013            300     $34.5400   $10,362.00
Purchase                6/12/2013            500     $34.5300   $17,265.00
Purchase                6/12/2013            200     $34.5300    $6,906.00
Purchase                6/12/2013            100     $34.5300    $3,453.00
Purchase                6/12/2013            371     $34.5300   $12,810.63
Purchase                6/12/2013            329     $34.5300   $11,360.37
Purchase                6/12/2013            100     $34.5300    $3,453.00
Purchase                6/12/2013             56     $34.5300    $1,933.68
Purchase                6/12/2013            144     $34.5300    $4,972.32
Purchase                6/12/2013            700     $34.5000   $24,150.00
Purchase                6/12/2013            600     $34.5100   $20,706.00
Purchase                6/12/2013            181     $34.5200    $6,248.12
Purchase                6/12/2013            219     $34.5200    $7,559.88
Purchase                6/12/2013            500     $34.5200   $17,260.00
                                                                                                                                     Case 1:14-cv-00068-RGA Document 17-1 Filed 04/04/14 Page 61 of 106 PageID #: 563




Purchase                6/12/2013            400     $34.5100   $13,804.00
Purchase                6/12/2013            200     $34.5100    $6,902.00

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date   Shares   Price   Proceeds

Purchase                6/12/2013            400     $34.5200   $13,808.00
Purchase                6/12/2013            200     $34.5200    $6,904.00
Purchase                6/12/2013            200     $34.5200    $6,904.00
Purchase                6/12/2013            200     $34.5200    $6,904.00
Purchase                6/12/2013            200     $34.5200    $6,904.00
Purchase                6/12/2013            400     $34.5100   $13,804.00
Purchase                6/12/2013            400     $34.5200   $13,808.00
Purchase                6/12/2013            600     $34.5200   $20,712.00
Purchase                6/12/2013            276     $34.5200    $9,527.52
Purchase                6/12/2013            100     $34.5200    $3,452.00
Purchase                6/12/2013             24     $34.5200      $828.48
Purchase                6/12/2013            700     $34.5200   $24,164.00
Purchase                6/12/2013            100     $34.5200    $3,452.00
Purchase                6/12/2013            100     $34.5200    $3,452.00
Purchase                6/12/2013            412     $34.5200   $14,222.24
Purchase                6/12/2013             88     $34.5200    $3,037.76
Purchase                6/12/2013            500     $34.5200   $17,260.00
Purchase                6/12/2013            400     $34.5100   $13,804.00
Purchase                6/12/2013            400     $34.5100   $13,804.00
Purchase                6/12/2013            200     $34.5100    $6,902.00
Purchase                6/12/2013            200     $34.5100    $6,902.00
Purchase                6/12/2013            400     $34.5100   $13,804.00
Purchase                6/12/2013            700     $34.5100   $24,157.00
Purchase                6/12/2013            200     $34.5000    $6,900.00
Purchase                6/12/2013            300     $34.5000   $10,350.00
Purchase                6/12/2013            500     $34.5000   $17,250.00
Purchase                6/12/2013            300     $34.4800   $10,344.00
Purchase                6/12/2013            800     $34.4400   $27,552.00
Purchase                6/12/2013            500     $34.4300   $17,215.00
Purchase                6/12/2013            300     $34.4300   $10,329.00
Purchase                6/12/2013             15     $34.4700      $517.05
Purchase                6/12/2013            285     $34.4700    $9,823.95
Purchase                6/12/2013             80     $34.4700    $2,757.60
                                                                                                                                     Case 1:14-cv-00068-RGA Document 17-1 Filed 04/04/14 Page 62 of 106 PageID #: 564




Purchase                6/12/2013            520     $34.4700   $17,924.40
Purchase                6/12/2013            400     $34.5000   $13,800.00

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/12/2013            400     $34.5000   $13,800.00
Purchase                6/12/2013            700     $34.5000   $24,150.00
Purchase                6/12/2013            300     $34.5100   $10,353.00
Purchase                6/12/2013            200     $34.5100    $6,902.00
Purchase                6/12/2013            300     $34.5100   $10,353.00
Purchase                6/12/2013            600     $34.5000   $20,700.00
Purchase                6/12/2013            200     $34.4800    $6,896.00
Purchase                6/12/2013            500     $34.5000   $17,250.00
Purchase                6/12/2013            100     $34.5000    $3,450.00       Sale             6/12/2013     (2,500)    $25.0000    ($62,500.00)
Purchase                6/13/2013            200     $34.2500    $6,850.00       Sale             6/12/2013     (5,000)    $30.0000   ($150,000.00)
Purchase                6/13/2013            200     $34.2500    $6,850.00       Sale             6/12/2013       (300)    $30.0000     ($9,000.00)
Purchase                6/13/2013            100     $34.2400    $3,424.00       Sale             6/13/2013       (200)    $34.1400     ($6,828.00)
Purchase                6/13/2013            100     $34.2400    $3,424.00       Sale             6/13/2013       (102)    $33.8300     ($3,450.66)
Purchase                6/13/2013            200     $34.2400    $6,848.00       Sale             6/13/2013       (200)    $33.8200     ($6,764.00)
Purchase                6/13/2013            200     $34.2400    $6,848.00       Sale             6/13/2013       (200)    $33.8300     ($6,766.00)
Purchase                6/13/2013            200     $34.2400    $6,848.00       Sale             6/13/2013       (200)    $33.8200     ($6,764.00)
Purchase                6/13/2013            200     $34.2200    $6,844.00       Sale             6/13/2013       (200)    $33.9800     ($6,796.00)
Purchase                6/13/2013            200     $34.2200    $6,844.00       Sale             6/13/2013       (106)    $33.9900     ($3,602.94)
Purchase                6/13/2013            124     $34.2100    $4,242.04       Sale             6/13/2013       (100)    $34.0500     ($3,405.00)
Purchase                6/13/2013            200     $34.1800    $6,836.00       Sale             6/13/2013       (200)    $34.0100     ($6,802.00)
Purchase                6/13/2013            200     $34.1100    $6,822.00       Sale             6/13/2013       (200)    $34.0200     ($6,804.00)
Purchase                6/13/2013            100     $34.1700    $3,417.00       Sale             6/13/2013       (200)    $34.1000     ($6,820.00)
Purchase                6/13/2013            200     $34.1700    $6,834.00       Sale             6/13/2013       (200)    $34.0600     ($6,812.00)
Purchase                6/13/2013              3     $34.1100      $102.33       Sale             6/13/2013       (200)    $34.1400     ($6,828.00)
Purchase                6/13/2013            200     $34.0400    $6,808.00       Sale             6/13/2013       (200)    $34.1800     ($6,836.00)
Purchase                6/13/2013            200     $34.0400    $6,808.00       Sale             6/13/2013       (100)    $34.2000     ($3,420.00)
Purchase                6/13/2013            198     $33.9700    $6,726.06       Sale             6/13/2013       (100)    $34.1800     ($3,418.00)
Purchase                6/13/2013            200     $33.9600    $6,792.00       Sale             6/13/2013       (100)    $34.1700     ($3,417.00)
Purchase                6/13/2013              2     $33.9700       $67.94       Sale             6/13/2013       (100)    $34.1000     ($3,410.00)
Purchase                6/13/2013            200     $33.9600    $6,792.00       Sale             6/13/2013       (200)    $34.1000     ($6,820.00)
Purchase                6/13/2013             44     $34.0100    $1,496.44       Sale             6/13/2013       (200)    $34.0800     ($6,816.00)
Purchase                6/13/2013            200     $34.0100    $6,802.00       Sale             6/13/2013       (300)    $34.1000    ($10,230.00)
Purchase                6/13/2013            141     $33.9900    $4,792.59       Sale             6/13/2013       (299)    $34.0800    ($10,189.92)
                                                                                                                                                      Case 1:14-cv-00068-RGA Document 17-1 Filed 04/04/14 Page 63 of 106 PageID #: 565




Purchase                6/13/2013            200     $34.0000    $6,800.00       Sale             6/13/2013       (300)    $34.0500    ($10,215.00)
Purchase                6/13/2013            200     $34.0000    $6,800.00       Sale             6/13/2013       (300)    $34.0400    ($10,212.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/13/2013             34     $34.0000    $1,156.00       Sale             6/13/2013       (300)    $34.0400   ($10,212.00)
Purchase                6/13/2013            200     $34.0000    $6,800.00       Sale             6/13/2013       (300)    $34.0400   ($10,212.00)
Purchase                6/13/2013            200     $34.2100    $6,842.00       Sale             6/13/2013       (300)    $34.0400   ($10,212.00)
Purchase                6/13/2013            100     $34.1900    $3,419.00       Sale             6/13/2013       (300)    $33.9900   ($10,197.00)
Purchase                6/13/2013            200     $34.2200    $6,844.00       Sale             6/13/2013       (100)    $34.0100    ($3,401.00)
Purchase                6/13/2013            200     $34.1600    $6,832.00       Sale             6/13/2013       (200)    $33.8600    ($6,772.00)
Purchase                6/13/2013            200     $34.1700    $6,834.00       Sale             6/13/2013       (300)    $33.8700   ($10,161.00)
Purchase                6/13/2013            200     $34.1600    $6,832.00       Sale             6/13/2013       (300)    $33.9400   ($10,182.00)
Purchase                6/13/2013             81     $34.1500    $2,766.15       Sale             6/13/2013       (100)    $33.9300    ($3,393.00)
Purchase                6/13/2013            200     $34.1400    $6,828.00       Sale             6/13/2013       (300)    $33.9000   ($10,170.00)
Purchase                6/13/2013            200     $34.1400    $6,828.00       Sale             6/13/2013       (300)    $33.9500   ($10,185.00)
Purchase                6/13/2013            100     $34.0800    $3,408.00       Sale             6/13/2013       (300)    $33.9500   ($10,185.00)
Purchase                6/13/2013            100     $34.0900    $3,409.00       Sale             6/13/2013       (300)    $33.9500   ($10,185.00)
Purchase                6/13/2013             11     $34.0900      $374.99       Sale             6/13/2013       (300)    $33.9500   ($10,185.00)
Purchase                6/13/2013            200     $34.0900    $6,818.00       Sale             6/13/2013       (235)    $33.9600    ($7,980.60)
Purchase                6/13/2013            300     $34.0100   $10,203.00       Sale             6/13/2013       (300)    $33.9800   ($10,194.00)
Purchase                6/13/2013            300     $34.0200   $10,206.00       Sale             6/13/2013       (300)    $33.9900   ($10,197.00)
Purchase                6/13/2013            200     $34.1200    $6,824.00       Sale             6/13/2013       (100)    $33.9600    ($3,396.00)
Purchase                6/13/2013             19     $34.1000      $647.90       Sale             6/13/2013       (300)    $33.9900   ($10,197.00)
Purchase                6/13/2013            300     $34.0800   $10,224.00       Sale             6/13/2013       (400)    $33.9000   ($13,560.00)
Purchase                6/13/2013            300     $34.0800   $10,224.00       Sale             6/13/2013       (100)    $33.8700    ($3,387.00)
Purchase                6/13/2013            298     $34.0100   $10,134.98       Sale             6/13/2013       (400)    $33.8800   ($13,552.00)
Purchase                6/13/2013            300     $33.9300   $10,179.00       Sale             6/13/2013        (85)    $33.8900    ($2,880.65)
Purchase                6/13/2013            300     $33.9300   $10,179.00       Sale             6/13/2013        (99)    $33.9000    ($3,356.10)
Purchase                6/13/2013            100     $33.9200    $3,392.00       Sale             6/13/2013       (300)    $33.9000   ($10,170.00)
Purchase                6/13/2013            300     $33.9100   $10,173.00       Sale             6/13/2013       (100)    $33.9100    ($3,391.00)
Purchase                6/13/2013             52     $33.9200    $1,763.84       Sale             6/13/2013       (100)    $33.9100    ($3,391.00)
Purchase                6/13/2013            100     $33.9200    $3,392.00       Sale             6/13/2013       (395)    $33.9100   ($13,394.45)
Purchase                6/13/2013            300     $33.9600   $10,188.00       Sale             6/13/2013       (400)    $33.9000   ($13,560.00)
Purchase                6/13/2013            297     $33.9500   $10,083.15       Sale             6/13/2013       (100)    $33.9100    ($3,391.00)
Purchase                6/13/2013            300     $33.9500   $10,185.00       Sale             6/13/2013       (100)    $33.9100    ($3,391.00)
Purchase                6/13/2013            300     $33.9600   $10,188.00       Sale             6/13/2013       (100)    $33.9100    ($3,391.00)
Purchase                6/13/2013            200     $33.9600    $6,792.00       Sale             6/13/2013       (400)    $33.9100   ($13,564.00)
                                                                                                                                                     Case 1:14-cv-00068-RGA Document 17-1 Filed 04/04/14 Page 64 of 106 PageID #: 566




Purchase                6/13/2013            100     $33.9800    $3,398.00       Sale             6/13/2013        (75)    $33.8700    ($2,540.25)
Purchase                6/13/2013            300     $33.9900   $10,197.00       Sale             6/13/2013       (200)    $33.8700    ($6,774.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/13/2013            100     $33.9900    $3,399.00       Sale             6/13/2013       (102)    $33.8700     ($3,454.74)
Purchase                6/13/2013            300     $33.9900   $10,197.00       Sale             6/13/2013       (142)    $33.8700     ($4,809.54)
Purchase                6/13/2013             91     $33.9900    $3,093.09       Sale             6/13/2013       (400)    $33.8700    ($13,548.00)
Purchase                6/13/2013            300     $33.9500   $10,185.00       Sale             6/13/2013        (79)    $33.7400     ($2,665.46)
Purchase                6/13/2013            100     $33.9300    $3,393.00       Sale             6/13/2013       (200)    $33.7500     ($6,750.00)
Purchase                6/13/2013            400     $33.9100   $13,564.00       Sale             6/13/2013       (400)    $33.7000    ($13,480.00)
Purchase                6/13/2013            400     $33.9100   $13,564.00       Sale             6/13/2013       (100)    $33.8000     ($3,380.00)
Purchase                6/13/2013            400     $33.9000   $13,560.00       Sale             6/13/2013       (390)    $33.8000    ($13,182.00)
Purchase                6/13/2013            400     $33.8900   $13,556.00       Sale             6/13/2013       (400)    $33.8700    ($13,548.00)
Purchase                6/13/2013            200     $33.9000    $6,780.00       Sale             6/13/2013       (400)    $33.8700    ($13,548.00)
Purchase                6/13/2013            200     $33.8900    $6,778.00       Sale             6/13/2013       (400)    $33.8700    ($13,548.00)
Purchase                6/13/2013            200     $33.8900    $6,778.00       Sale             6/13/2013       (100)    $33.8200     ($3,382.00)
Purchase                6/13/2013            400     $33.8900   $13,556.00       Sale             6/13/2013       (100)    $33.8200     ($3,382.00)
Purchase                6/13/2013            400     $33.9000   $13,560.00       Sale             6/13/2013       (100)    $33.8200     ($3,382.00)
Purchase                6/13/2013            114     $33.9000    $3,864.60       Sale             6/13/2013       (700)    $30.0000    ($21,000.00)
Purchase                6/13/2013            200     $33.8900    $6,778.00       Sale             6/13/2013     (5,000)    $30.0000   ($150,000.00)
Purchase                6/13/2013            100     $33.8900    $3,389.00       Sale             6/14/2013       (200)    $33.6800     ($6,736.00)
Purchase                6/13/2013            100     $33.8900    $3,389.00       Sale             6/14/2013       (159)    $33.6700     ($5,353.53)
Purchase                6/13/2013             67     $33.8900    $2,270.63       Sale             6/14/2013        (41)    $33.6700     ($1,380.47)
Purchase                6/13/2013            400     $33.8900   $13,556.00       Sale             6/14/2013       (200)    $33.6900     ($6,738.00)
Purchase                6/13/2013             33     $33.8900    $1,118.37       Sale             6/14/2013       (100)    $33.6900     ($3,369.00)
Purchase                6/13/2013            200     $33.8900    $6,778.00       Sale             6/14/2013       (100)    $33.6900     ($3,369.00)
Purchase                6/13/2013            400     $33.8900   $13,556.00       Sale             6/14/2013       (200)    $33.6900     ($6,738.00)
Purchase                6/13/2013            400     $33.8500   $13,540.00       Sale             6/14/2013       (200)    $33.7500     ($6,750.00)
Purchase                6/14/2013            100     $33.5400    $3,354.00       Sale             6/14/2013       (100)    $33.6500     ($3,365.00)
Purchase                6/14/2013            100     $33.5400    $3,354.00       Sale             6/14/2013       (200)    $33.6700     ($6,734.00)
Purchase                6/14/2013            100     $33.5400    $3,354.00       Sale             6/14/2013       (200)    $33.6700     ($6,734.00)
Purchase                6/14/2013            100     $33.5400    $3,354.00       Sale             6/14/2013        (94)    $33.6700     ($3,164.98)
Purchase                6/14/2013            100     $33.5400    $3,354.00       Sale             6/14/2013       (100)    $33.6300     ($3,363.00)
Purchase                6/14/2013            200     $33.7100    $6,742.00       Sale             6/14/2013       (197)    $33.6300     ($6,625.11)
Purchase                6/14/2013            100     $33.6600    $3,366.00       Sale             6/14/2013       (159)    $33.6300     ($5,347.17)
Purchase                6/14/2013            200     $33.6200    $6,724.00       Sale             6/14/2013       (170)    $33.5700     ($5,706.90)
Purchase                6/14/2013            200     $33.6000    $6,720.00       Sale             6/14/2013       (130)    $33.5700     ($4,364.10)
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Purchase                6/14/2013            100     $33.6000    $3,360.00       Sale             6/14/2013        (21)    $33.4800       ($703.08)
Purchase                6/14/2013            204     $33.7000    $6,874.80       Sale             6/14/2013       (376)    $33.4600    ($12,580.96)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/14/2013             60     $33.7000    $2,022.00       Sale             6/14/2013       (400)    $33.4600   ($13,384.00)
Purchase                6/14/2013            300     $33.6200   $10,086.00       Sale             6/14/2013        (24)    $33.4600      ($803.04)
Purchase                6/14/2013            296     $33.5800    $9,939.68       Sale             6/14/2013       (100)    $33.4300    ($3,343.00)
Purchase                6/14/2013            300     $33.4600   $10,038.00       Sale             6/14/2013       (100)    $33.4300    ($3,343.00)
Purchase                6/14/2013            100     $33.4600    $3,346.00       Sale             6/14/2013       (129)    $33.4300    ($4,312.47)
Purchase                6/14/2013            104     $33.5100    $3,485.04       Sale             6/14/2013       (100)    $33.4400    ($3,344.00)
Purchase                6/14/2013            400     $33.5100   $13,404.00       Sale             6/14/2013       (200)    $33.4400    ($6,688.00)
Purchase                6/14/2013            101     $33.4800    $3,381.48       Sale             6/14/2013       (400)    $33.4100   ($13,364.00)
Purchase                6/14/2013            400     $33.4800   $13,392.00       Sale             6/14/2013       (400)    $33.4100   ($13,364.00)
Purchase                6/14/2013            390     $33.4800   $13,057.20       Sale             6/14/2013       (400)    $33.3300   ($13,332.00)
Purchase                6/14/2013            100     $33.4100    $3,341.00       Sale             6/14/2013       (400)    $33.3100   ($13,324.00)
Purchase                6/14/2013            400     $33.4100   $13,364.00       Sale             6/14/2013       (400)    $33.4000   ($13,360.00)
Purchase                6/14/2013            400     $33.4100   $13,364.00       Sale             6/14/2013       (400)    $33.4000   ($13,360.00)
Purchase                6/14/2013            400     $33.4100   $13,364.00       Sale             6/14/2013       (300)    $33.4400   ($10,032.00)
Purchase                6/14/2013             26     $33.3500      $867.10       Sale             6/14/2013       (221)    $33.3600    ($7,372.56)
Purchase                6/14/2013            100     $33.4200    $3,342.00       Sale             6/14/2013       (100)    $33.3600    ($3,336.00)
Purchase                6/14/2013            100     $33.4200    $3,342.00       Sale             6/14/2013       (132)    $33.3600    ($4,403.52)
Purchase                6/14/2013            400     $33.4200   $13,368.00       Sale             6/14/2013        (79)    $33.3600    ($2,635.44)
Purchase                6/14/2013            100     $33.4300    $3,343.00       Sale             6/14/2013       (400)    $33.3500   ($13,340.00)
Purchase                6/14/2013            100     $33.4400    $3,344.00       Sale             6/14/2013       (400)    $33.3000   ($13,320.00)
Purchase                6/14/2013            400     $33.3500   $13,340.00       Sale             6/14/2013       (400)    $33.3000   ($13,320.00)
Purchase                6/14/2013            400     $33.3500   $13,340.00       Sale             6/14/2013       (400)    $33.3400   ($13,336.00)
Purchase                6/14/2013            400     $33.3400   $13,336.00       Sale             6/14/2013       (400)    $33.3400   ($13,336.00)
Purchase                6/14/2013            400     $33.3400   $13,336.00       Sale             6/14/2013       (400)    $33.3500   ($13,340.00)
Purchase                6/14/2013            400     $33.3400   $13,336.00       Sale             6/14/2013       (400)    $33.3500   ($13,340.00)
Purchase                6/14/2013            400     $33.3400   $13,336.00       Sale             6/14/2013       (400)    $33.4000   ($13,360.00)
Purchase                6/14/2013            400     $33.3400   $13,336.00       Sale             6/14/2013       (400)    $33.4000   ($13,360.00)
Purchase                6/14/2013            400     $33.4000   $13,360.00       Sale             6/14/2013       (100)    $33.4000    ($3,340.00)
Purchase                6/14/2013            400     $33.4000   $13,360.00       Sale             6/14/2013       (400)    $33.4000   ($13,360.00)
Purchase                6/14/2013            400     $33.4000   $13,360.00       Sale             6/14/2013       (400)    $33.4000   ($13,360.00)
Purchase                6/14/2013            400     $33.4000   $13,360.00       Sale             6/14/2013       (400)    $33.4000   ($13,360.00)
Purchase                6/14/2013            300     $33.3900   $10,017.00       Sale             6/17/2013       (200)    $33.3700    ($6,674.00)
Purchase                6/14/2013              1     $33.3900       $33.39       Sale             6/17/2013        (58)    $33.3400    ($1,933.72)
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Purchase                6/14/2013             25     $33.3600      $834.00       Sale             6/17/2013       (300)    $33.3400   ($10,002.00)
Purchase                6/14/2013            200     $33.3300    $6,666.00       Sale             6/17/2013       (300)    $33.3400   ($10,002.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/14/2013            400     $33.3600   $13,344.00       Sale             6/17/2013       (300)    $33.3300     ($9,999.00)
Purchase                6/14/2013            400     $33.3600   $13,344.00       Sale             6/17/2013       (100)    $33.3500     ($3,335.00)
Purchase                6/17/2013             24     $33.3000      $799.20       Sale             6/17/2013       (200)    $33.3500     ($6,670.00)
Purchase                6/17/2013            200     $33.3200    $6,664.00       Sale             6/17/2013       (100)    $33.2400     ($3,324.00)
Purchase                6/17/2013            200     $33.3400    $6,668.00       Sale             6/17/2013       (100)    $33.2400     ($3,324.00)
Purchase                6/17/2013            200     $33.3200    $6,664.00       Sale             6/17/2013       (300)    $33.2400     ($9,972.00)
Purchase                6/17/2013            200     $33.3400    $6,668.00       Sale             6/17/2013       (300)    $33.2400     ($9,972.00)
Purchase                6/17/2013            200     $33.3400    $6,668.00       Sale             6/17/2013       (300)    $33.3000     ($9,990.00)
Purchase                6/17/2013            100     $33.3400    $3,334.00       Sale             6/17/2013       (300)    $33.3000     ($9,990.00)
Purchase                6/17/2013            200     $33.3500    $6,670.00       Sale             6/17/2013       (300)    $33.2400     ($9,972.00)
Purchase                6/17/2013            200     $33.3400    $6,668.00       Sale             6/17/2013       (300)    $33.2400     ($9,972.00)
Purchase                6/17/2013            200     $33.3800    $6,676.00       Sale             6/17/2013        (73)    $33.2400     ($2,426.52)
Purchase                6/17/2013            200     $33.3800    $6,676.00       Sale             6/17/2013       (400)    $33.1900    ($13,276.00)
Purchase                6/17/2013            200     $33.3900    $6,678.00       Sale             6/17/2013       (400)    $33.1900    ($13,276.00)
Purchase                6/17/2013            100     $33.3800    $3,338.00       Sale             6/17/2013       (100)    $33.1100     ($3,311.00)
Purchase                6/17/2013            100     $33.3800    $3,338.00       Sale             6/17/2013       (400)    $33.1100    ($13,244.00)
Purchase                6/17/2013            100     $33.3800    $3,338.00       Sale             6/17/2013       (200)    $33.1100     ($6,622.00)
Purchase                6/17/2013            200     $33.3500    $6,670.00       Sale             6/17/2013        (52)    $33.1100     ($1,721.72)
Purchase                6/17/2013            100     $33.3700    $3,337.00       Sale             6/17/2013       (200)    $33.2000     ($6,640.00)
Purchase                6/17/2013            100     $33.3700    $3,337.00       Sale             6/17/2013       (400)    $33.2000    ($13,280.00)
Purchase                6/17/2013            121     $33.3700    $4,037.77       Sale             6/17/2013       (400)    $33.2000    ($13,280.00)
Purchase                6/17/2013            200     $33.3700    $6,674.00       Sale             6/17/2013       (400)    $33.2000    ($13,280.00)
Purchase                6/17/2013             20     $33.3200      $666.40       Sale             6/17/2013       (400)    $33.2000    ($13,280.00)
Purchase                6/17/2013            300     $33.3300    $9,999.00       Sale             6/17/2013       (300)    $33.2000     ($9,960.00)
Purchase                6/17/2013            300     $33.3200    $9,996.00       Sale             6/17/2013       (400)    $33.0800    ($13,232.00)
Purchase                6/17/2013            247     $33.3200    $8,230.04       Sale             6/17/2013       (400)    $33.0800    ($13,232.00)
Purchase                6/17/2013            100     $33.3500    $3,335.00       Sale             6/17/2013       (200)    $33.2000     ($6,640.00)
Purchase                6/17/2013            300     $33.3300    $9,999.00       Sale             6/17/2013       (136)    $33.2000     ($4,515.20)
Purchase                6/17/2013            300     $33.2300    $9,969.00       Sale             6/17/2013       (400)    $33.2100    ($13,284.00)
Purchase                6/17/2013            300     $33.2500    $9,975.00       Sale             6/17/2013     (3,080)    $33.2000   ($102,256.00)
Purchase                6/17/2013            300     $33.3000    $9,990.00       Sale             6/18/2013       (100)    $33.1700     ($3,317.00)
Purchase                6/17/2013            300     $33.3000    $9,990.00       Sale             6/18/2013       (200)    $33.1700     ($6,634.00)
Purchase                6/17/2013            163     $33.2300    $5,416.49       Sale             6/18/2013       (200)    $33.1600     ($6,632.00)
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Purchase                6/17/2013            200     $33.2300    $6,646.00       Sale             6/18/2013       (100)    $33.1600     ($3,316.00)
Purchase                6/17/2013            400     $33.2300   $13,292.00       Sale             6/18/2013       (100)    $33.1600     ($3,316.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/17/2013            400     $33.2300   $13,292.00       Sale             6/18/2013       (200)    $33.1700    ($6,634.00)
Purchase                6/17/2013            400     $33.1800   $13,272.00       Sale             6/18/2013       (200)    $33.1700    ($6,634.00)
Purchase                6/17/2013            209     $33.1100    $6,919.99       Sale             6/18/2013         (3)    $33.1700       ($99.51)
Purchase                6/17/2013            101     $33.2200    $3,355.22       Sale             6/18/2013        (29)    $33.1700      ($961.93)
Purchase                6/17/2013            100     $33.2200    $3,322.00       Sale             6/18/2013       (100)    $33.1700    ($3,317.00)
Purchase                6/17/2013             19     $33.2200      $631.18       Sale             6/18/2013       (300)    $33.1600    ($9,948.00)
Purchase                6/17/2013            400     $33.2100   $13,284.00       Sale             6/18/2013        (89)    $33.1600    ($2,951.24)
Purchase                6/17/2013            400     $33.2000   $13,280.00       Sale             6/18/2013        (45)    $33.1600    ($1,492.20)
Purchase                6/17/2013            400     $33.2000   $13,280.00       Sale             6/18/2013       (300)    $33.1600    ($9,948.00)
Purchase                6/17/2013            240     $33.2300    $7,975.20       Sale             6/18/2013       (100)    $33.0400    ($3,304.00)
Purchase                6/17/2013            100     $33.2100    $3,321.00       Sale             6/18/2013       (100)    $33.0400    ($3,304.00)
Purchase                6/17/2013            109     $33.2000    $3,618.80       Sale             6/18/2013        (43)    $33.0400    ($1,420.72)
Purchase                6/17/2013            200     $33.2000    $6,640.00       Sale             6/18/2013       (400)    $33.1100   ($13,244.00)
Purchase                6/17/2013            400     $33.2000   $13,280.00       Sale             6/18/2013       (400)    $33.1100   ($13,244.00)
Purchase                6/17/2013            100     $33.1200    $3,312.00       Sale             6/18/2013       (400)    $33.0100   ($13,204.00)
Purchase                6/17/2013            400     $33.2000   $13,280.00       Sale             6/18/2013       (400)    $33.0100   ($13,204.00)
Purchase                6/17/2013             69     $33.2000    $2,290.80       Sale             6/18/2013       (400)    $33.0100   ($13,204.00)
Purchase                6/17/2013            400     $33.2000   $13,280.00       Sale             6/18/2013       (200)    $33.0700    ($6,614.00)
Purchase                6/17/2013            195     $33.2000    $6,474.00       Sale             6/18/2013       (100)    $33.0700    ($3,307.00)
Purchase                6/17/2013            103     $33.2300    $3,422.69       Sale             6/18/2013       (400)    $33.0700   ($13,228.00)
Purchase                6/17/2013            238     $33.2500    $7,913.50       Sale             6/19/2013       (200)    $33.1000    ($6,620.00)
Purchase                6/17/2013            400     $33.2500   $13,300.00       Sale             6/19/2013       (100)    $33.0500    ($3,305.00)
Purchase                6/17/2013            400     $33.2500   $13,300.00       Sale             6/19/2013       (149)    $33.0500    ($4,924.45)
Purchase                6/17/2013            400     $33.2400   $13,296.00       Sale             6/19/2013        (20)    $33.0400      ($660.80)
Purchase                6/17/2013            400     $33.2400   $13,296.00       Sale             6/19/2013       (300)    $33.0400    ($9,912.00)
Purchase                6/17/2013            260     $33.2000    $8,632.00       Sale             6/19/2013       (300)    $33.0400    ($9,912.00)
Purchase                6/18/2013            100     $33.1600    $3,316.00       Sale             6/19/2013       (300)    $32.6600    ($9,798.00)
Purchase                6/18/2013            100     $33.1600    $3,316.00       Sale             6/19/2013       (300)    $32.6600    ($9,798.00)
Purchase                6/18/2013            200     $33.1600    $6,632.00       Sale             6/19/2013       (300)    $32.8100    ($9,843.00)
Purchase                6/18/2013            200     $33.1800    $6,636.00       Sale             6/19/2013       (300)    $32.8100    ($9,843.00)
Purchase                6/18/2013            128     $33.1800    $4,247.04       Sale             6/19/2013        (75)    $32.7600    ($2,457.00)
Purchase                6/18/2013            300     $33.1700    $9,951.00       Sale             6/19/2013        (25)    $32.7600      ($819.00)
Purchase                6/18/2013            300     $33.1500    $9,945.00       Sale             6/19/2013        (48)    $32.7700    ($1,572.96)
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Purchase                6/18/2013            200     $33.1500    $6,630.00       Sale             6/19/2013       (300)    $32.6800    ($9,804.00)
Purchase                6/18/2013            400     $33.1700   $13,268.00       Sale             6/19/2013       (300)    $32.7300    ($9,819.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/18/2013            104     $33.1300    $3,445.52       Sale             6/19/2013       (100)    $32.7200     ($3,272.00)
Purchase                6/18/2013            400     $33.1100   $13,244.00       Sale             6/19/2013       (200)    $32.7200     ($6,544.00)
Purchase                6/18/2013            400     $33.1000   $13,240.00       Sale             6/19/2013       (128)    $32.7200     ($4,188.16)
Purchase                6/18/2013            310     $33.0500   $10,245.50       Sale             6/19/2013       (172)    $32.7200     ($5,627.84)
Purchase                6/18/2013            400     $33.0500   $13,220.00       Sale             6/19/2013       (300)    $32.7100     ($9,813.00)
Purchase                6/18/2013             90     $33.0500    $2,974.50       Sale             6/19/2013       (300)    $32.6700     ($9,801.00)
Purchase                6/19/2013            200     $33.0200    $6,604.00       Sale             6/19/2013       (300)    $32.6900     ($9,807.00)
Purchase                6/19/2013            200     $33.0200    $6,604.00       Sale             6/19/2013        (98)    $32.5800     ($3,192.84)
Purchase                6/19/2013            100     $33.1200    $3,312.00       Sale             6/19/2013       (300)    $32.6300     ($9,789.00)
Purchase                6/19/2013            100     $33.1200    $3,312.00       Sale             6/19/2013       (300)    $32.6000     ($9,780.00)
Purchase                6/19/2013            200     $33.1000    $6,620.00       Sale             6/19/2013       (300)    $32.5800     ($9,774.00)
Purchase                6/19/2013            200     $33.1000    $6,620.00       Sale             6/19/2013       (143)    $32.5900     ($4,660.37)
Purchase                6/19/2013            201     $33.0300    $6,639.03       Sale             6/19/2013       (300)    $32.6000     ($9,780.00)
Purchase                6/19/2013             99     $33.0300    $3,269.97       Sale             6/19/2013       (300)    $32.6900     ($9,807.00)
Purchase                6/19/2013            300     $33.0300    $9,909.00       Sale             6/19/2013       (150)    $32.7100     ($4,906.50)
Purchase                6/19/2013            300     $32.7700    $9,831.00       Sale             6/19/2013       (150)    $32.6900     ($4,903.50)
Purchase                6/19/2013            300     $32.8300    $9,849.00       Sale             6/19/2013       (300)    $32.7300     ($9,819.00)
Purchase                6/19/2013            190     $32.8300    $6,237.70       Sale             6/19/2013       (200)    $32.6800     ($6,536.00)
Purchase                6/19/2013            110     $32.8300    $3,611.30       Sale             6/19/2013       (300)    $32.6500     ($9,795.00)
Purchase                6/19/2013            300     $32.7500    $9,825.00       Sale             6/19/2013       (300)    $32.7200     ($9,816.00)
Purchase                6/19/2013            199     $32.7500    $6,517.25       Sale             6/19/2013       (300)    $32.7000     ($9,810.00)
Purchase                6/19/2013            100     $32.7400    $3,274.00       Sale             6/19/2013       (300)    $32.7000     ($9,810.00)
Purchase                6/19/2013            300     $32.7400    $9,822.00       Sale             6/19/2013       (300)    $32.7000     ($9,810.00)
Purchase                6/19/2013             12     $32.7400      $392.88       Sale             6/19/2013       (300)    $32.5100     ($9,753.00)
Purchase                6/19/2013            300     $32.7200    $9,816.00       Sale             6/19/2013       (300)    $32.5500     ($9,765.00)
Purchase                6/19/2013            300     $32.7100    $9,813.00       Sale             6/19/2013       (300)    $32.3700     ($9,711.00)
Purchase                6/19/2013            300     $32.6200    $9,786.00       Sale             6/19/2013       (200)    $32.2900     ($6,458.00)
Purchase                6/19/2013            300     $32.6700    $9,801.00       Sale             6/19/2013       (300)    $32.3000     ($9,690.00)
Purchase                6/19/2013            300     $32.6100    $9,783.00       Sale             6/19/2013       (299)    $32.2200     ($9,633.78)
Purchase                6/19/2013            300     $32.5800    $9,774.00       Sale             6/19/2013       (300)    $32.1700     ($9,651.00)
Purchase                6/19/2013            300     $32.5800    $9,774.00       Sale             6/19/2013       (300)    $32.2300     ($9,669.00)
Purchase                6/19/2013            300     $32.6700    $9,801.00       Sale             6/19/2013       (300)    $32.2300     ($9,669.00)
Purchase                6/19/2013            300     $32.6700    $9,801.00       Sale             6/19/2013       (300)    $32.2300     ($9,669.00)
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Purchase                6/19/2013            300     $32.6400    $9,792.00       Sale             6/19/2013       (300)    $32.2100     ($9,663.00)
Purchase                6/19/2013            100     $32.6400    $3,264.00       Sale             6/19/2013       (300)    $32.2100     ($9,663.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                6/19/2013            300     $32.6700   $9,801.00       Sale             6/19/2013       (283)    $32.2600    ($9,129.58)
Purchase                6/19/2013            300     $32.6700   $9,801.00       Sale             6/19/2013       (125)    $32.3000    ($4,037.50)
Purchase                6/19/2013            300     $32.6700   $9,801.00       Sale             6/19/2013       (300)    $32.3000    ($9,690.00)
Purchase                6/19/2013            100     $32.6500   $3,265.00       Sale             6/19/2013        (73)    $32.3000    ($2,357.90)
Purchase                6/19/2013            300     $32.6900   $9,807.00       Sale             6/19/2013       (100)    $32.2900    ($3,229.00)
Purchase                6/19/2013            300     $32.7200   $9,816.00       Sale             6/19/2013       (300)    $32.2900    ($9,687.00)
Purchase                6/19/2013            300     $32.7000   $9,810.00       Sale             6/19/2013       (199)    $32.3400    ($6,435.66)
Purchase                6/19/2013             52     $32.6900   $1,699.88       Sale             6/19/2013       (200)    $32.3700    ($6,474.00)
Purchase                6/19/2013             26     $32.6900     $849.94       Sale             6/19/2013       (300)    $32.5500    ($9,765.00)
Purchase                6/19/2013             50     $32.6900   $1,634.50       Sale             6/19/2013       (300)    $32.6300    ($9,789.00)
Purchase                6/19/2013            200     $32.6600   $6,532.00       Sale             6/19/2013       (300)    $32.6700    ($9,801.00)
Purchase                6/19/2013             67     $32.6900   $2,190.23       Sale             6/19/2013       (300)    $32.6700    ($9,801.00)
Purchase                6/19/2013            200     $32.5400   $6,508.00       Sale             6/19/2013       (300)    $32.6700    ($9,801.00)
Purchase                6/19/2013            300     $32.5400   $9,762.00       Sale             6/19/2013       (199)    $32.5900    ($6,485.41)
Purchase                6/19/2013            100     $32.4700   $3,247.00       Sale             6/19/2013       (200)    $32.5900    ($6,518.00)
Purchase                6/19/2013            100     $32.4700   $3,247.00       Sale             6/19/2013       (200)    $32.5200    ($6,504.00)
Purchase                6/19/2013            300     $32.4300   $9,729.00       Sale             6/19/2013       (200)    $32.5200    ($6,504.00)
Purchase                6/19/2013            300     $32.2600   $9,678.00       Sale             6/19/2013       (100)    $32.4600    ($3,246.00)
Purchase                6/19/2013            300     $32.1500   $9,645.00       Sale             6/19/2013       (400)    $32.4800   ($12,992.00)
Purchase                6/19/2013            100     $32.2100   $3,221.00       Sale             6/19/2013       (400)    $32.4800   ($12,992.00)
Purchase                6/19/2013            200     $32.2100   $6,442.00       Sale             6/19/2013       (400)    $32.4800   ($12,992.00)
Purchase                6/19/2013            300     $32.2000   $9,660.00       Sale             6/19/2013       (400)    $32.5100   ($13,004.00)
Purchase                6/19/2013            300     $32.1800   $9,654.00       Sale             6/19/2013        (57)    $32.5300    ($1,854.21)
Purchase                6/19/2013            300     $32.2100   $9,663.00       Sale             6/19/2013       (400)    $32.5800   ($13,032.00)
Purchase                6/19/2013            300     $32.2600   $9,678.00       Sale             6/19/2013       (400)    $32.5800   ($13,032.00)
Purchase                6/19/2013            300     $32.2600   $9,678.00       Sale             6/19/2013       (100)    $32.5000    ($3,250.00)
Purchase                6/19/2013            300     $32.3000   $9,690.00       Sale             6/19/2013       (400)    $32.6600   ($13,064.00)
Purchase                6/19/2013            300     $32.3000   $9,690.00       Sale             6/19/2013       (400)    $32.6800   ($13,072.00)
Purchase                6/19/2013            300     $32.2600   $9,678.00       Sale             6/19/2013       (400)    $32.6200   ($13,048.00)
Purchase                6/19/2013            300     $32.2600   $9,678.00       Sale             6/19/2013       (400)    $32.6600   ($13,064.00)
Purchase                6/19/2013            300     $32.5400   $9,762.00       Sale             6/19/2013       (100)    $32.6400    ($3,264.00)
Purchase                6/19/2013            100     $32.6100   $3,261.00       Sale             6/19/2013       (400)    $32.6400   ($13,056.00)
Purchase                6/19/2013            100     $32.6300   $3,263.00       Sale             6/20/2013       (200)    $31.6200    ($6,324.00)
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Purchase                6/19/2013            200     $32.6300   $6,526.00       Sale             6/20/2013       (200)    $31.6200    ($6,324.00)
Purchase                6/19/2013            300     $32.5800   $9,774.00       Sale             6/20/2013       (200)    $31.7000    ($6,340.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/19/2013            300     $32.6400    $9,792.00       Sale             6/20/2013       (100)    $31.7000     ($3,170.00)
Purchase                6/19/2013            300     $32.6400    $9,792.00       Sale             6/20/2013       (200)    $31.6800     ($6,336.00)
Purchase                6/19/2013            300     $32.6300    $9,789.00       Sale             6/20/2013       (200)    $31.6700     ($6,334.00)
Purchase                6/19/2013            300     $32.5300    $9,759.00       Sale             6/20/2013       (200)    $31.5800     ($6,316.00)
Purchase                6/19/2013            100     $32.5300    $3,253.00       Sale             6/20/2013       (200)    $31.5900     ($6,318.00)
Purchase                6/19/2013            400     $32.4600   $12,984.00       Sale             6/20/2013       (200)    $31.6000     ($6,320.00)
Purchase                6/19/2013            137     $32.4500    $4,445.65       Sale             6/20/2013       (200)    $31.6000     ($6,320.00)
Purchase                6/19/2013            400     $32.4500   $12,980.00       Sale             6/20/2013       (200)    $31.5900     ($6,318.00)
Purchase                6/19/2013            400     $32.5200   $13,008.00       Sale             6/20/2013        (82)    $31.7300     ($2,601.86)
Purchase                6/19/2013            383     $32.5200   $12,455.16       Sale             6/20/2013       (100)    $31.8000     ($3,180.00)
Purchase                6/19/2013            400     $32.5200   $13,008.00       Sale             6/20/2013       (100)    $31.6700     ($3,167.00)
Purchase                6/19/2013            100     $32.5300    $3,253.00       Sale             6/20/2013       (100)    $31.6100     ($3,161.00)
Purchase                6/19/2013            300     $32.5100    $9,753.00       Sale             6/20/2013       (100)    $31.6600     ($3,166.00)
Purchase                6/19/2013            400     $32.6900   $13,076.00       Sale             6/20/2013        (65)    $31.6300     ($2,055.95)
Purchase                6/19/2013            116     $32.7100    $3,794.36       Sale             6/20/2013       (300)    $31.6500     ($9,495.00)
Purchase                6/19/2013            129     $32.7100    $4,219.59       Sale             6/20/2013       (100)    $31.6300     ($3,163.00)
Purchase                6/19/2013            139     $32.7100    $4,546.69       Sale             6/20/2013       (100)    $31.4500     ($3,145.00)
Purchase                6/19/2013            200     $32.6800    $6,536.00       Sale             6/20/2013       (200)    $31.4400     ($6,288.00)
Purchase                6/19/2013             32     $32.6800    $1,045.76       Sale             6/20/2013       (300)    $31.3300     ($9,399.00)
Purchase                6/19/2013             14     $32.6500      $457.10       Sale             6/20/2013       (300)    $31.1600     ($9,348.00)
Purchase                6/19/2013             14     $32.6500      $457.10       Sale             6/20/2013       (100)    $31.2800     ($3,128.00)
Purchase                6/19/2013            100     $32.6300    $3,263.00       Sale             6/20/2013       (253)    $31.2500     ($7,906.25)
Purchase                6/19/2013            300     $32.6200    $9,786.00       Sale             6/20/2013       (200)    $31.2200     ($6,244.00)
Purchase                6/19/2013            100     $32.6500    $3,265.00       Sale             6/20/2013       (300)    $31.1600     ($9,348.00)
Purchase                6/19/2013             30     $32.6400      $979.20       Sale             6/20/2013       (300)    $31.2100     ($9,363.00)
Purchase                6/19/2013            100     $32.6900    $3,269.00       Sale             6/20/2013        (95)    $31.5700     ($2,999.15)
Purchase                6/19/2013            300     $32.6900    $9,807.00       Sale             6/20/2013       (300)    $31.3900     ($9,417.00)
Purchase                6/19/2013            100     $32.6600    $3,266.00       Sale             6/20/2013       (300)    $31.4100     ($9,423.00)
Purchase                6/20/2013            200     $31.6100    $6,322.00       Sale             6/20/2013       (300)    $31.4100     ($9,423.00)
Purchase                6/20/2013            200     $31.6100    $6,322.00       Sale             6/20/2013       (233)    $31.4000     ($7,316.20)
Purchase                6/20/2013            100     $31.6400    $3,164.00       Sale             6/20/2013       (294)    $31.3000     ($9,202.20)
Purchase                6/20/2013            200     $31.5900    $6,318.00       Sale             6/20/2013       (300)    $31.2700     ($9,381.00)
Purchase                6/20/2013              2     $31.6400       $63.28       Sale             6/20/2013       (100)    $31.3200     ($3,132.00)
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Purchase                6/20/2013            100     $31.6000    $3,160.00       Sale             6/20/2013       (200)    $31.0700     ($6,214.00)
Purchase                6/20/2013            100     $31.5900    $3,159.00       Sale             6/20/2013       (200)    $31.0500     ($6,210.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/20/2013            200     $31.5900    $6,318.00       Sale             6/20/2013       (400)    $31.0300   ($12,412.00)
Purchase                6/20/2013            300     $31.5900    $9,477.00       Sale             6/20/2013       (400)    $31.0300   ($12,412.00)
Purchase                6/20/2013            100     $31.3000    $3,130.00       Sale             6/20/2013       (100)    $31.0800    ($3,108.00)
Purchase                6/20/2013            300     $31.2600    $9,378.00       Sale             6/20/2013       (117)    $31.0700    ($3,635.19)
Purchase                6/20/2013            300     $31.2600    $9,378.00       Sale             6/20/2013       (100)    $31.0700    ($3,107.00)
Purchase                6/20/2013            100     $31.3000    $3,130.00       Sale             6/20/2013       (400)    $31.0700   ($12,428.00)
Purchase                6/20/2013            100     $31.3000    $3,130.00       Sale             6/20/2013        (40)    $31.0700    ($1,242.80)
Purchase                6/20/2013            300     $31.2000    $9,360.00       Sale             6/20/2013       (360)    $31.0700   ($11,185.20)
Purchase                6/20/2013            100     $31.4300    $3,143.00       Sale             6/20/2013       (100)    $31.0700    ($3,107.00)
Purchase                6/20/2013            100     $31.5200    $3,152.00       Sale             6/20/2013       (300)    $31.0700    ($9,321.00)
Purchase                6/20/2013            100     $31.5200    $3,152.00       Sale             6/20/2013       (400)    $31.0700   ($12,428.00)
Purchase                6/20/2013            300     $31.4000    $9,420.00       Sale             6/20/2013       (400)    $31.0700   ($12,428.00)
Purchase                6/20/2013             34     $31.4200    $1,068.28       Sale             6/20/2013       (400)    $31.1200   ($12,448.00)
Purchase                6/20/2013            300     $31.4300    $9,429.00       Sale             6/20/2013         (3)    $31.1600       ($93.48)
Purchase                6/20/2013            300     $31.4300    $9,429.00       Sale             6/20/2013       (400)    $31.0800   ($12,432.00)
Purchase                6/20/2013            300     $31.4300    $9,429.00       Sale             6/20/2013       (161)    $31.0700    ($5,002.27)
Purchase                6/20/2013              3     $31.2700       $93.81       Sale             6/20/2013       (400)    $31.0600   ($12,424.00)
Purchase                6/20/2013            300     $31.2700    $9,381.00       Sale             6/20/2013       (192)    $31.0700    ($5,965.44)
Purchase                6/20/2013            300     $31.2100    $9,363.00       Sale             6/20/2013       (388)    $31.0700   ($12,055.16)
Purchase                6/20/2013            150     $31.0700    $4,660.50       Sale             6/20/2013       (400)    $31.0300   ($12,412.00)
Purchase                6/20/2013            200     $31.0700    $6,214.00       Sale             6/20/2013        (17)    $31.0500      ($527.85)
Purchase                6/20/2013            200     $31.1000    $6,220.00       Sale             6/20/2013       (100)    $31.1000    ($3,110.00)
Purchase                6/20/2013            400     $31.1000   $12,440.00       Sale             6/20/2013       (400)    $31.1000   ($12,440.00)
Purchase                6/20/2013            200     $31.1000    $6,220.00       Sale             6/20/2013       (400)    $31.1000   ($12,440.00)
Purchase                6/20/2013            400     $31.0900   $12,436.00       Sale             6/20/2013       (400)    $31.0400   ($12,416.00)
Purchase                6/20/2013            400     $31.0900   $12,436.00       Sale             6/20/2013        (11)    $30.9600      ($340.56)
Purchase                6/20/2013            400     $31.0600   $12,424.00       Sale             6/20/2013       (400)    $30.9600   ($12,384.00)
Purchase                6/20/2013            100     $31.1500    $3,115.00       Sale             6/20/2013       (400)    $30.9600   ($12,384.00)
Purchase                6/20/2013            200     $31.1500    $6,230.00       Sale             6/20/2013        (80)    $30.9100    ($2,472.80)
Purchase                6/20/2013            400     $31.1300   $12,452.00       Sale             6/20/2013        (66)    $30.9500    ($2,042.70)
Purchase                6/20/2013            200     $31.1200    $6,224.00       Sale             6/20/2013       (400)    $30.9600   ($12,384.00)
Purchase                6/20/2013            400     $31.1200   $12,448.00       Sale             6/20/2013       (400)    $30.9700   ($12,388.00)
Purchase                6/20/2013            100     $31.0700    $3,107.00       Sale             6/21/2013       (199)    $30.7000    ($6,109.30)
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Purchase                6/20/2013            400     $31.0900   $12,436.00       Sale             6/21/2013       (100)    $30.6400    ($3,064.00)
Purchase                6/20/2013            400     $31.0500   $12,420.00       Sale             6/21/2013       (200)    $30.7000    ($6,140.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/20/2013            400     $31.0800   $12,432.00       Sale             6/21/2013       (100)    $30.6400     ($3,064.00)
Purchase                6/20/2013            400     $31.0300   $12,412.00       Sale             6/21/2013       (200)    $30.7000     ($6,140.00)
Purchase                6/20/2013            400     $31.0500   $12,420.00       Sale             6/21/2013       (200)    $30.7800     ($6,156.00)
Purchase                6/20/2013            200     $31.0600    $6,212.00       Sale             6/21/2013       (100)    $30.8000     ($3,080.00)
Purchase                6/20/2013            200     $31.1000    $6,220.00       Sale             6/21/2013       (100)    $30.5600     ($3,056.00)
Purchase                6/20/2013            200     $31.1000    $6,220.00       Sale             6/21/2013       (100)    $30.5600     ($3,056.00)
Purchase                6/20/2013            100     $31.0200    $3,102.00       Sale             6/21/2013       (100)    $30.5600     ($3,056.00)
Purchase                6/20/2013            100     $31.0200    $3,102.00       Sale             6/21/2013       (100)    $30.5600     ($3,056.00)
Purchase                6/20/2013            208     $31.0100    $6,450.08       Sale             6/21/2013       (200)    $30.5600     ($6,112.00)
Purchase                6/20/2013            100     $31.0000    $3,100.00       Sale             6/21/2013       (200)    $30.5600     ($6,112.00)
Purchase                6/20/2013            200     $31.0000    $6,200.00       Sale             6/21/2013       (200)    $30.6500     ($6,130.00)
Purchase                6/20/2013            400     $30.9200   $12,368.00       Sale             6/21/2013       (200)    $30.5600     ($6,112.00)
Purchase                6/20/2013            400     $30.9600   $12,384.00       Sale             6/21/2013       (200)    $30.7400     ($6,148.00)
Purchase                6/20/2013             34     $30.9700    $1,052.98       Sale             6/21/2013       (200)    $30.6500     ($6,130.00)
Purchase                6/20/2013             66     $30.9700    $2,044.02       Sale             6/21/2013       (198)    $30.7400     ($6,086.52)
Purchase                6/21/2013          1,500     $30.9100   $46,365.00       Sale             6/21/2013         (2)    $30.7400        ($61.48)
Purchase                6/21/2013            300     $30.9100    $9,273.00       Sale             6/21/2013       (100)    $30.9000     ($3,090.00)
Purchase                6/21/2013            900     $30.9100   $27,819.00       Sale             6/21/2013       (200)    $30.8500     ($6,170.00)
Purchase                6/21/2013            200     $30.7800    $6,156.00       Sale             6/21/2013       (200)    $30.8500     ($6,170.00)
Purchase                6/21/2013            200     $30.7800    $6,156.00       Sale             6/21/2013       (200)    $30.8800     ($6,176.00)
Purchase                6/21/2013             92     $30.7200    $2,826.24       Sale             6/21/2013        (98)    $31.0200     ($3,039.96)
Purchase                6/21/2013            200     $30.7900    $6,158.00       Sale             6/21/2013       (200)    $30.8400     ($6,168.00)
Purchase                6/21/2013            200     $30.7800    $6,156.00       Sale             6/21/2013       (200)    $30.8400     ($6,168.00)
Purchase                6/21/2013            100     $30.9500    $3,095.00       Sale             6/21/2013       (100)    $30.7400     ($3,074.00)
Purchase                6/21/2013            200     $30.8700    $6,174.00       Sale             6/21/2013       (200)    $30.7400     ($6,148.00)
Purchase                6/21/2013            100     $30.8800    $3,088.00       Sale             6/21/2013       (300)    $30.8300     ($9,249.00)
Purchase                6/21/2013            200     $31.0400    $6,208.00       Sale             6/21/2013        (50)    $30.8200     ($1,541.00)
Purchase                6/21/2013            199     $30.8900    $6,147.11       Sale             6/21/2013       (300)    $30.8700     ($9,261.00)
Purchase                6/21/2013             96     $30.8100    $2,957.76       Sale             6/21/2013       (300)    $30.8700     ($9,261.00)
Purchase                6/21/2013            200     $30.8400    $6,168.00       Sale             6/21/2013       (300)    $30.7100     ($9,213.00)
Purchase                6/21/2013              9     $30.8400      $277.56       Sale             6/21/2013       (100)    $30.7100     ($3,071.00)
Purchase                6/21/2013             27     $30.8400      $832.68       Sale             6/21/2013       (100)    $30.5900     ($3,059.00)
Purchase                6/21/2013            100     $30.8100    $3,081.00       Sale             6/21/2013       (200)    $30.6000     ($6,120.00)
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Purchase                6/21/2013            100     $30.8300    $3,083.00       Sale             6/21/2013       (299)    $30.5500     ($9,134.45)
Purchase                6/21/2013            300     $30.8100    $9,243.00       Sale             6/21/2013       (300)    $30.5500     ($9,165.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/21/2013            300     $30.8100    $9,243.00       Sale             6/21/2013       (300)    $30.5200    ($9,156.00)
Purchase                6/21/2013            300     $30.8100    $9,243.00       Sale             6/21/2013       (300)    $30.5200    ($9,156.00)
Purchase                6/21/2013            100     $30.6900    $3,069.00       Sale             6/21/2013       (100)    $30.5200    ($3,052.00)
Purchase                6/21/2013            300     $30.6700    $9,201.00       Sale             6/21/2013       (100)    $30.5400    ($3,054.00)
Purchase                6/21/2013            300     $30.6700    $9,201.00       Sale             6/21/2013       (300)    $30.4100    ($9,123.00)
Purchase                6/21/2013            100     $30.5400    $3,054.00       Sale             6/21/2013       (200)    $30.4600    ($6,092.00)
Purchase                6/21/2013             87     $30.5500    $2,657.85       Sale             6/21/2013       (300)    $30.4400    ($9,132.00)
Purchase                6/21/2013            300     $30.5600    $9,168.00       Sale             6/21/2013       (300)    $30.4100    ($9,123.00)
Purchase                6/21/2013            300     $30.5600    $9,168.00       Sale             6/21/2013        (16)    $30.5200      ($488.32)
Purchase                6/21/2013            300     $30.5200    $9,156.00       Sale             6/21/2013       (300)    $30.5200    ($9,156.00)
Purchase                6/21/2013            300     $30.5200    $9,156.00       Sale             6/21/2013        (54)    $30.5200    ($1,648.08)
Purchase                6/21/2013            200     $30.4100    $6,082.00       Sale             6/21/2013       (100)    $30.6000    ($3,060.00)
Purchase                6/21/2013            100     $30.5300    $3,053.00       Sale             6/21/2013       (100)    $30.6200    ($3,062.00)
Purchase                6/21/2013            129     $30.5200    $3,937.08       Sale             6/21/2013       (100)    $30.6200    ($3,062.00)
Purchase                6/21/2013            200     $30.5200    $6,104.00       Sale             6/21/2013       (300)    $30.8600    ($9,258.00)
Purchase                6/21/2013            171     $30.5200    $5,218.92       Sale             6/21/2013        (12)    $30.9200      ($371.04)
Purchase                6/21/2013            300     $30.5200    $9,156.00       Sale             6/21/2013       (100)    $30.9300    ($3,093.00)
Purchase                6/21/2013            300     $30.8600    $9,258.00       Sale             6/21/2013       (100)    $30.9300    ($3,093.00)
Purchase                6/21/2013            300     $30.9900    $9,297.00       Sale             6/21/2013       (100)    $31.0500    ($3,105.00)
Purchase                6/21/2013            300     $30.9200    $9,276.00       Sale             6/21/2013       (400)    $31.0800   ($12,432.00)
Purchase                6/21/2013            200     $30.9100    $6,182.00       Sale             6/21/2013       (200)    $31.1000    ($6,220.00)
Purchase                6/21/2013            300     $30.9000    $9,270.00       Sale             6/21/2013       (400)    $31.1600   ($12,464.00)
Purchase                6/21/2013            300     $31.0900    $9,327.00       Sale             6/21/2013       (400)    $31.2100   ($12,484.00)
Purchase                6/21/2013            100     $31.0400    $3,104.00       Sale             6/21/2013       (400)    $31.2000   ($12,480.00)
Purchase                6/21/2013             92     $31.2400    $2,874.08       Sale             6/21/2013       (343)    $31.2600   ($10,722.18)
Purchase                6/21/2013            300     $31.2400    $9,372.00       Sale             6/21/2013        (57)    $31.2600    ($1,781.82)
Purchase                6/21/2013            100     $31.2400    $3,124.00       Sale             6/21/2013        (29)    $31.2700      ($906.83)
Purchase                6/21/2013            400     $31.2700   $12,508.00       Sale             6/21/2013       (100)    $31.0200    ($3,102.00)
Purchase                6/21/2013            400     $31.2700   $12,508.00       Sale             6/21/2013       (400)    $31.0500   ($12,420.00)
Purchase                6/21/2013            100     $31.2400    $3,124.00       Sale             6/21/2013       (400)    $31.1200   ($12,448.00)
Purchase                6/21/2013            114     $31.2400    $3,561.36       Sale             6/21/2013       (400)    $31.2700   ($12,508.00)
Purchase                6/21/2013            400     $31.2600   $12,504.00       Sale             6/21/2013       (400)    $31.2700   ($12,508.00)
Purchase                6/21/2013            400     $31.2600   $12,504.00       Sale             6/21/2013       (300)    $31.3000    ($9,390.00)
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Purchase                6/21/2013            400     $31.3100   $12,524.00       Sale             6/21/2013       (400)    $31.3300   ($12,532.00)
Purchase                6/21/2013            400     $31.3000   $12,520.00       Sale             6/21/2013       (400)    $31.3300   ($12,532.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price       Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/21/2013             21     $31.3500       $658.35       Sale             6/21/2013       (162)    $31.3900     ($5,085.18)
Purchase                6/21/2013             10     $31.3500       $313.50       Sale             6/21/2013       (100)    $31.3500     ($3,135.00)
Purchase                6/21/2013            300     $31.3600     $9,408.00       Sale             6/21/2013       (800)    $22.5000    ($18,000.00)
Purchase                6/21/2013            400     $31.3600    $12,544.00       Sale             6/21/2013     (6,200)    $30.0000   ($186,000.00)
Purchase                6/21/2013          3,300     $31.3200   $103,356.00       Sale             6/21/2013       (800)    $30.0000    ($24,000.00)
Purchase                6/21/2013             52     $31.3200     $1,628.64       Sale             6/24/2013       (200)    $30.9800     ($6,196.00)
Purchase                6/21/2013          4,400     $25.0000   $110,000.00       Sale             6/24/2013       (187)    $31.0200     ($5,800.74)
Purchase                6/24/2013            300     $31.4900     $9,447.00       Sale             6/24/2013        (13)    $31.0200       ($403.26)
Purchase                6/24/2013            300     $31.1600     $9,348.00       Sale             6/24/2013       (200)    $31.0500     ($6,210.00)
Purchase                6/24/2013            300     $31.1600     $9,348.00       Sale             6/24/2013       (200)    $31.2500     ($6,250.00)
Purchase                6/24/2013            300     $31.1600     $9,348.00       Sale             6/24/2013       (200)    $31.1200     ($6,224.00)
Purchase                6/24/2013            300     $31.1200     $9,336.00       Sale             6/24/2013       (200)    $31.1200     ($6,224.00)
Purchase                6/24/2013            300     $31.1200     $9,336.00       Sale             6/24/2013       (300)    $31.1400     ($9,342.00)
Purchase                6/24/2013             80     $31.2400     $2,499.20       Sale             6/24/2013       (300)    $31.1400     ($9,342.00)
Purchase                6/24/2013            300     $31.2700     $9,381.00       Sale             6/24/2013       (300)    $31.1400     ($9,342.00)
Purchase                6/24/2013            300     $31.2700     $9,381.00       Sale             6/24/2013       (300)    $31.1400     ($9,342.00)
Purchase                6/24/2013             76     $31.5100     $2,394.76       Sale             6/24/2013       (123)    $31.2100     ($3,838.83)
Purchase                6/24/2013            300     $31.5800     $9,474.00       Sale             6/24/2013       (100)    $31.1200     ($3,112.00)
Purchase                6/24/2013            200     $31.5600     $6,312.00       Sale             6/24/2013       (300)    $31.1400     ($9,342.00)
Purchase                6/24/2013            200     $31.5600     $6,312.00       Sale             6/24/2013       (100)    $31.1400     ($3,114.00)
Purchase                6/24/2013            400     $32.0200    $12,808.00       Sale             6/24/2013       (100)    $31.1200     ($3,112.00)
Purchase                6/24/2013            400     $32.1700    $12,868.00       Sale             6/24/2013       (100)    $31.1100     ($3,111.00)
Purchase                6/24/2013             26     $32.2400       $838.24       Sale             6/24/2013       (100)    $31.1200     ($3,112.00)
Purchase                6/24/2013            100     $32.2400     $3,224.00       Sale             6/24/2013       (300)    $31.2500     ($9,375.00)
Purchase                6/24/2013            400     $32.1700    $12,868.00       Sale             6/24/2013       (100)    $31.3200     ($3,132.00)
Purchase                6/24/2013            400     $32.3100    $12,924.00       Sale             6/24/2013       (100)    $31.5000     ($3,150.00)
Purchase                6/24/2013            200     $32.4900     $6,498.00       Sale             6/24/2013       (200)    $31.6500     ($6,330.00)
Purchase                6/24/2013            400     $32.4900    $12,996.00       Sale             6/24/2013       (100)    $32.0300     ($3,203.00)
Purchase                6/24/2013            100     $32.4900     $3,249.00       Sale             6/24/2013       (322)    $32.1700    ($10,358.74)
Purchase                6/25/2013             64     $32.3400     $2,069.76       Sale             6/24/2013       (382)    $32.1700    ($12,288.94)
Purchase                6/25/2013             56     $32.2000     $1,803.20       Sale             6/24/2013       (392)    $32.3000    ($12,661.60)
Purchase                6/25/2013             99     $32.1400     $3,181.86       Sale             6/24/2013       (100)    $32.3500     ($3,235.00)
Purchase                6/25/2013            201     $32.1400     $6,460.14       Sale             6/24/2013       (100)    $32.3800     ($3,238.00)
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Purchase                6/25/2013             40     $32.2500     $1,290.00       Sale             6/25/2013       (100)    $32.3600     ($3,236.00)
Purchase                6/25/2013             50     $32.2500     $1,612.50       Sale             6/25/2013       (100)    $32.3600     ($3,236.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/25/2013            200     $32.3500    $6,470.00       Sale             6/25/2013       (200)    $32.2800    ($6,456.00)
Purchase                6/25/2013            100     $32.3700    $3,237.00       Sale             6/25/2013       (200)    $32.4500    ($6,490.00)
Purchase                6/25/2013            400     $32.4100   $12,964.00       Sale             6/25/2013       (300)    $32.1500    ($9,645.00)
Purchase                6/26/2013            100     $32.6200    $3,262.00       Sale             6/25/2013       (400)    $32.2700   ($12,908.00)
Purchase                6/26/2013             68     $32.6200    $2,218.16       Sale             6/25/2013       (102)    $32.2300    ($3,287.46)
Purchase                6/26/2013            200     $32.5300    $6,506.00       Sale             6/25/2013       (114)    $32.2500    ($3,676.50)
Purchase                6/26/2013            300     $32.7500    $9,825.00       Sale             6/25/2013       (300)    $32.3100    ($9,693.00)
Purchase                6/26/2013            300     $32.7500    $9,825.00       Sale             6/25/2013       (400)    $32.3100   ($12,924.00)
Purchase                6/26/2013            300     $32.8500    $9,855.00       Sale             6/25/2013       (100)    $32.4000    ($3,240.00)
Purchase                6/26/2013            104     $32.8200    $3,413.28       Sale             6/26/2013       (200)    $32.6300    ($6,526.00)
Purchase                6/26/2013            400     $32.8000   $13,120.00       Sale             6/26/2013       (100)    $32.5300    ($3,253.00)
Purchase                6/27/2013             99     $32.9000    $3,257.10       Sale             6/26/2013       (100)    $32.5900    ($3,259.00)
Purchase                6/27/2013            100     $32.9000    $3,290.00       Sale             6/26/2013       (200)    $32.6000    ($6,520.00)
Purchase                6/27/2013            140     $32.8900    $4,604.60       Sale             6/26/2013       (100)    $32.7500    ($3,275.00)
Purchase                6/27/2013             60     $32.8900    $1,973.40       Sale             6/26/2013       (100)    $32.7600    ($3,276.00)
Purchase                6/27/2013            200     $32.9400    $6,588.00       Sale             6/26/2013       (100)    $32.7600    ($3,276.00)
Purchase                6/27/2013            100     $32.9400    $3,294.00       Sale             6/26/2013       (100)    $32.7600    ($3,276.00)
Purchase                6/27/2013             52     $32.8900    $1,710.28       Sale             6/26/2013       (300)    $32.8000    ($9,840.00)
Purchase                6/27/2013             97     $32.8900    $3,190.33       Sale             6/26/2013       (300)    $32.8500    ($9,855.00)
Purchase                6/27/2013            400     $32.9200   $13,168.00       Sale             6/26/2013       (400)    $32.7800   ($13,112.00)
Purchase                6/27/2013            400     $32.9200   $13,168.00       Sale             6/26/2013       (200)    $32.7500    ($6,550.00)
Purchase                6/27/2013            100     $32.8800    $3,288.00       Sale             6/26/2013       (400)    $32.8100   ($13,124.00)
Purchase                6/27/2013            200     $32.8700    $6,574.00       Sale             6/26/2013        (83)    $32.7900    ($2,721.57)
Purchase                6/27/2013            200     $32.8700    $6,574.00       Sale             6/26/2013        (17)    $32.7900      ($557.43)
Purchase                6/27/2013            345     $32.8700   $11,340.15       Sale             6/27/2013       (200)    $32.9900    ($6,598.00)
Purchase                6/27/2013          1,320     $32.9700   $43,520.40       Sale             6/27/2013       (100)    $32.8900    ($3,289.00)
Purchase                6/28/2013            100     $32.9900    $3,299.00       Sale             6/27/2013        (80)    $32.8000    ($2,624.00)
Purchase                6/28/2013            100     $32.9900    $3,299.00       Sale             6/27/2013       (100)    $32.8200    ($3,282.00)
Purchase                6/28/2013            100     $33.0700    $3,307.00       Sale             6/27/2013       (200)    $32.8200    ($6,564.00)
Purchase                6/28/2013            100     $33.1300    $3,313.00       Sale             6/27/2013       (100)    $32.8300    ($3,283.00)
Purchase                6/28/2013            400     $33.1300   $13,252.00       Sale             6/27/2013        (99)    $32.8600    ($3,253.14)
Purchase                6/28/2013            300     $33.1300    $9,939.00       Sale             6/27/2013         (9)    $32.8700      ($295.83)
Purchase                6/28/2013            200     $33.1100    $6,622.00       Sale             6/27/2013       (100)    $32.8700    ($3,287.00)
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Purchase                6/28/2013            100     $33.1100    $3,311.00       Sale             6/27/2013       (100)    $32.8700    ($3,287.00)
Purchase                6/28/2013            400     $33.1100   $13,244.00       Sale             6/27/2013       (100)    $32.8700    ($3,287.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/28/2013             26     $33.1000      $860.60       Sale             6/27/2013       (195)    $32.8800    ($6,411.60)
Purchase                6/28/2013            100     $33.1400    $3,314.00       Sale             6/27/2013       (205)    $32.8800    ($6,740.40)
Purchase                6/28/2013            263     $33.1700    $8,723.71       Sale             6/27/2013        (78)    $32.8900    ($2,565.42)
Purchase                6/28/2013            137     $33.1700    $4,544.29       Sale             6/27/2013       (322)    $32.8900   ($10,590.58)
Purchase                6/28/2013            100     $33.1700    $3,317.00       Sale             6/27/2013       (100)    $32.8700    ($3,287.00)
Purchase                6/28/2013            100     $33.1700    $3,317.00       Sale             6/27/2013        (36)    $32.8800    ($1,183.68)
Purchase                6/28/2013            100     $33.1700    $3,317.00       Sale             6/27/2013       (100)    $32.8900    ($3,289.00)
Purchase                6/28/2013            100     $33.1700    $3,317.00       Sale             6/27/2013       (300)    $32.9200    ($9,876.00)
Purchase                 7/1/2013            100     $33.2700    $3,327.00       Sale             6/27/2013       (400)    $32.9700   ($13,188.00)
Purchase                 7/1/2013            100     $33.2500    $3,325.00       Sale             6/27/2013       (100)    $32.9700    ($3,297.00)
Purchase                 7/1/2013            100     $33.2300    $3,323.00       Sale             6/27/2013       (824)    $32.9700   ($27,167.28)
Purchase                 7/1/2013            200     $33.2300    $6,646.00       Sale             6/28/2013       (200)    $32.9900    ($6,598.00)
Purchase                 7/1/2013            100     $33.2500    $3,325.00       Sale             6/28/2013       (100)    $33.0300    ($3,303.00)
Purchase                 7/1/2013            100     $33.2100    $3,321.00       Sale             6/28/2013       (300)    $33.0300    ($9,909.00)
Purchase                 7/1/2013            129     $33.2600    $4,290.54       Sale             6/28/2013       (256)    $33.0700    ($8,465.92)
Purchase                 7/1/2013            400     $33.2600   $13,304.00       Sale             6/28/2013        (87)    $33.0700    ($2,877.09)
Purchase                 7/1/2013            657     $33.2700   $21,858.39       Sale             6/28/2013       (313)    $33.0700   ($10,350.91)
Purchase                 7/2/2013            100     $33.2400    $3,324.00       Sale             6/28/2013         (1)    $33.1500       ($33.15)
Purchase                 7/2/2013            200     $33.1900    $6,638.00       Sale             6/28/2013       (100)    $33.1400    ($3,314.00)
Purchase                 7/2/2013            199     $33.2500    $6,616.75       Sale             6/28/2013       (143)    $33.1400    ($4,739.02)
Purchase                 7/2/2013             43     $33.2500    $1,429.75       Sale             6/28/2013       (257)    $33.1400    ($8,516.98)
Purchase                 7/2/2013            400     $33.2900   $13,316.00       Sale             6/28/2013       (400)    $33.1300   ($13,252.00)
Purchase                 7/2/2013            400     $33.2100   $13,284.00       Sale             6/28/2013       (100)    $33.1600    ($3,316.00)
Purchase                 7/2/2013            824     $33.2600   $27,406.24       Sale             6/28/2013       (400)    $33.1200   ($13,248.00)
Purchase                 7/3/2013            200     $33.1600    $6,632.00       Sale             6/28/2013       (400)    $33.1500   ($13,260.00)
Purchase                 7/3/2013            200     $33.2100    $6,642.00       Sale             6/28/2013       (400)    $33.1500   ($13,260.00)
Purchase                 7/3/2013            100     $33.2000    $3,320.00       Sale             6/28/2013       (400)    $33.1800   ($13,272.00)
Purchase                 7/3/2013            300     $33.2000    $9,960.00       Sale              7/1/2013       (100)    $33.1100    ($3,311.00)
Purchase                 7/3/2013            300     $33.2200    $9,966.00       Sale              7/1/2013       (200)    $33.1100    ($6,622.00)
Purchase                 7/3/2013            300     $33.2000    $9,960.00       Sale              7/1/2013       (300)    $33.2100    ($9,963.00)
Purchase                 7/3/2013             88     $33.3300    $2,933.04       Sale              7/1/2013       (400)    $33.2700   ($13,308.00)
Purchase                 7/3/2013             64     $33.2800    $2,129.92       Sale              7/1/2013       (400)    $33.1900   ($13,276.00)
Purchase                 7/3/2013            300     $33.3300    $9,999.00       Sale              7/1/2013       (100)    $33.2700    ($3,327.00)
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Purchase                 7/5/2013            200     $33.4800    $6,696.00       Sale              7/2/2013       (200)    $33.1800    ($6,636.00)
Purchase                 7/5/2013            100     $33.4800    $3,348.00       Sale              7/2/2013       (100)    $33.2300    ($3,323.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                 7/5/2013            200     $33.3000    $6,660.00       Sale              7/2/2013       (200)    $33.2300    ($6,646.00)
Purchase                 7/8/2013            200     $33.4500    $6,690.00       Sale              7/2/2013       (100)    $33.2300    ($3,323.00)
Purchase                 7/9/2013            100     $33.7500    $3,375.00       Sale              7/2/2013       (100)    $33.2900    ($3,329.00)
Purchase                 7/9/2013            100     $33.8700    $3,387.00       Sale              7/2/2013       (200)    $33.2900    ($6,658.00)
Purchase                 7/9/2013            200     $33.8700    $6,774.00       Sale              7/2/2013       (200)    $33.2900    ($6,658.00)
Purchase                 7/9/2013            100     $33.8000    $3,380.00       Sale              7/2/2013        (93)    $33.2500    ($3,092.25)
Purchase                 7/9/2013            100     $33.8000    $3,380.00       Sale              7/2/2013        (32)    $33.2300    ($1,063.36)
Purchase                 7/9/2013            100     $33.8000    $3,380.00       Sale              7/2/2013       (400)    $33.2400   ($13,296.00)
Purchase                 7/9/2013            200     $33.7000    $6,740.00       Sale              7/3/2013       (200)    $33.1900    ($6,638.00)
Purchase                 7/9/2013            400     $33.6900   $13,476.00       Sale              7/3/2013       (200)    $33.1900    ($6,638.00)
Purchase                 7/9/2013            200     $33.6500    $6,730.00       Sale              7/3/2013       (100)    $33.2400    ($3,324.00)
Purchase                 7/9/2013            100     $33.6000    $3,360.00       Sale              7/3/2013       (300)    $33.2200    ($9,966.00)
Purchase                7/10/2013            200     $33.1100    $6,622.00       Sale              7/3/2013       (300)    $33.2200    ($9,966.00)
Purchase                7/10/2013            200     $33.1500    $6,630.00       Sale              7/5/2013       (100)    $33.5000    ($3,350.00)
Purchase                7/10/2013            200     $33.2000    $6,640.00       Sale              7/5/2013       (100)    $33.5000    ($3,350.00)
Purchase                7/10/2013            200     $33.3300    $6,666.00       Sale              7/5/2013       (100)    $33.5000    ($3,350.00)
Purchase                7/10/2013            188     $33.3300    $6,266.04       Sale              7/5/2013       (200)    $33.5000    ($6,700.00)
Purchase                7/10/2013            200     $33.3500    $6,670.00       Sale              7/5/2013       (200)    $33.5000    ($6,700.00)
Purchase                7/10/2013            300     $33.3700   $10,011.00       Sale              7/5/2013       (200)    $33.5400    ($6,708.00)
Purchase                7/10/2013            300     $33.3500   $10,005.00       Sale              7/8/2013     (1,020)    $33.7200   ($34,394.40)
Purchase                7/10/2013            100     $33.3500    $3,335.00       Sale              7/9/2013       (400)    $33.7000   ($13,480.00)
Purchase                7/10/2013            100     $33.3400    $3,334.00       Sale              7/9/2013        (50)    $33.6900    ($1,684.50)
Purchase                7/10/2013            300     $33.3400   $10,002.00       Sale              7/9/2013       (100)    $33.6700    ($3,367.00)
Purchase                7/10/2013            200     $33.3400    $6,668.00       Sale              7/9/2013       (400)    $33.6600   ($13,464.00)
Purchase                7/10/2013            300     $33.3400   $10,002.00       Sale             7/10/2013       (100)    $33.2100    ($3,321.00)
Purchase                7/10/2013             87     $33.2500    $2,892.75       Sale             7/10/2013       (200)    $33.0900    ($6,618.00)
Purchase                7/10/2013            300     $33.2500    $9,975.00       Sale             7/10/2013       (200)    $33.1200    ($6,624.00)
Purchase                7/10/2013            193     $33.2500    $6,417.25       Sale             7/10/2013       (200)    $33.1400    ($6,628.00)
Purchase                7/10/2013            299     $33.2300    $9,935.77       Sale             7/10/2013       (200)    $33.2000    ($6,640.00)
Purchase                7/10/2013            300     $33.2300    $9,969.00       Sale             7/10/2013       (200)    $33.2100    ($6,642.00)
Purchase                7/10/2013              1     $33.2300       $33.23       Sale             7/10/2013       (200)    $33.3500    ($6,670.00)
Purchase                7/10/2013            300     $33.2800    $9,984.00       Sale             7/10/2013       (200)    $33.3400    ($6,668.00)
Purchase                7/10/2013            400     $33.3200   $13,328.00       Sale             7/10/2013       (300)    $33.3300    ($9,999.00)
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Purchase                7/10/2013            400     $33.2900   $13,316.00       Sale             7/10/2013         (1)    $33.3600       ($33.36)
Purchase                7/10/2013            400     $33.2900   $13,316.00       Sale             7/10/2013       (299)    $33.3600    ($9,974.64)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                7/10/2013            400     $33.2900   $13,316.00       Sale             7/10/2013       (300)    $33.3600   ($10,008.00)
Purchase                7/10/2013            400     $33.3000   $13,320.00       Sale             7/10/2013       (100)    $33.2400    ($3,324.00)
Purchase                7/10/2013            400     $33.3000   $13,320.00       Sale             7/10/2013       (100)    $33.2400    ($3,324.00)
Purchase                7/10/2013            200     $33.3400    $6,668.00       Sale             7/10/2013       (300)    $33.2400    ($9,972.00)
Purchase                7/10/2013            200     $33.3400    $6,668.00       Sale             7/10/2013       (300)    $33.2400    ($9,972.00)
Purchase                7/11/2013            100     $33.4500    $3,345.00       Sale             7/10/2013       (198)    $33.2600    ($6,585.48)
Purchase                7/11/2013            100     $33.4500    $3,345.00       Sale             7/10/2013       (200)    $33.2300    ($6,646.00)
Purchase                7/11/2013            200     $33.4800    $6,696.00       Sale             7/10/2013       (100)    $33.2300    ($3,323.00)
Purchase                7/11/2013            200     $33.4600    $6,692.00       Sale             7/10/2013       (300)    $33.2300    ($9,969.00)
Purchase                7/11/2013            200     $33.4600    $6,692.00       Sale             7/10/2013       (400)    $33.3000   ($13,320.00)
Purchase                7/11/2013            100     $33.4600    $3,346.00       Sale             7/10/2013       (170)    $33.3100    ($5,662.70)
Purchase                7/11/2013            200     $33.5800    $6,716.00       Sale             7/10/2013       (400)    $33.2900   ($13,316.00)
Purchase                7/11/2013             50     $33.5700    $1,678.50       Sale             7/10/2013       (400)    $33.2900   ($13,316.00)
Purchase                7/11/2013            300     $33.6000   $10,080.00       Sale             7/10/2013       (270)    $33.2900    ($8,988.30)
Purchase                7/11/2013            300     $33.6000   $10,080.00       Sale             7/10/2013       (400)    $33.3000   ($13,320.00)
Purchase                7/11/2013            100     $33.6100    $3,361.00       Sale             7/10/2013       (400)    $33.3000   ($13,320.00)
Purchase                7/11/2013             46     $33.6000    $1,545.60       Sale             7/10/2013       (170)    $33.3000    ($5,661.00)
Purchase                7/11/2013            300     $33.6300   $10,089.00       Sale             7/10/2013       (233)    $33.2800    ($7,754.24)
Purchase                7/11/2013            400     $33.6300   $13,452.00       Sale             7/10/2013       (100)    $33.2800    ($3,328.00)
Purchase                7/12/2013            200     $33.7000    $6,740.00       Sale             7/11/2013       (100)    $33.4400    ($3,344.00)
Purchase                7/12/2013            200     $33.7000    $6,740.00       Sale             7/11/2013       (100)    $33.4400    ($3,344.00)
Purchase                7/12/2013            200     $33.6700    $6,734.00       Sale             7/11/2013       (100)    $33.4400    ($3,344.00)
Purchase                7/12/2013            200     $33.6300    $6,726.00       Sale             7/11/2013       (300)    $33.6000   ($10,080.00)
Purchase                7/12/2013            206     $33.6400    $6,929.84       Sale             7/11/2013       (300)    $33.6000   ($10,080.00)
Purchase                7/12/2013            100     $33.6000    $3,360.00       Sale             7/11/2013       (300)    $33.6300   ($10,089.00)
Purchase                7/12/2013            300     $33.5900   $10,077.00       Sale             7/11/2013       (189)    $33.6000    ($6,350.40)
Purchase                7/12/2013            100     $33.5900    $3,359.00       Sale             7/11/2013       (400)    $33.6100   ($13,444.00)
Purchase                7/12/2013             70     $33.6000    $2,352.00       Sale             7/11/2013       (100)    $33.6200    ($3,362.00)
Purchase                7/12/2013            395     $33.6100   $13,275.95       Sale             7/11/2013        (83)    $33.6200    ($2,790.46)
Purchase                7/12/2013              5     $33.6100      $168.05       Sale             7/12/2013       (100)    $33.5800    ($3,358.00)
Purchase                7/12/2013            400     $33.6000   $13,440.00       Sale             7/12/2013        (62)    $33.5800    ($2,081.96)
Purchase                7/12/2013            200     $33.6000    $6,720.00       Sale             7/12/2013        (38)    $33.5800    ($1,276.04)
Purchase                7/12/2013            212     $33.6000    $7,123.20       Sale             7/12/2013       (200)    $33.5500    ($6,710.00)
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Purchase                7/12/2013            400     $33.6000   $13,440.00       Sale             7/12/2013       (200)    $33.5500    ($6,710.00)
Purchase                7/12/2013            188     $33.6000    $6,316.80       Sale             7/12/2013       (146)    $33.5900    ($4,904.14)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                7/15/2013            199     $33.6200    $6,690.38       Sale             7/12/2013       (300)    $33.6000   ($10,080.00)
Purchase                7/15/2013            300     $33.7000   $10,110.00       Sale             7/12/2013       (300)    $33.5900   ($10,077.00)
Purchase                7/15/2013            200     $33.6900    $6,738.00       Sale             7/12/2013       (300)    $33.6200   ($10,086.00)
Purchase                7/15/2013            200     $33.7000    $6,740.00       Sale             7/12/2013       (400)    $33.6200   ($13,448.00)
Purchase                7/15/2013            200     $33.7100    $6,742.00       Sale             7/12/2013       (400)    $33.6200   ($13,448.00)
Purchase                7/15/2013            100     $33.7100    $3,371.00       Sale             7/12/2013       (272)    $33.6100    ($9,141.92)
Purchase                7/15/2013            300     $33.7000   $10,110.00       Sale             7/12/2013       (400)    $33.6100   ($13,444.00)
Purchase                7/15/2013            300     $33.7400   $10,122.00       Sale             7/12/2013       (300)    $33.6100   ($10,083.00)
Purchase                7/15/2013            300     $33.7400   $10,122.00       Sale             7/12/2013       (100)    $33.6100    ($3,361.00)
Purchase                7/15/2013            300     $33.7400   $10,122.00       Sale             7/15/2013        (12)    $33.5900      ($403.08)
Purchase                7/15/2013            300     $33.7400   $10,122.00       Sale             7/15/2013       (100)    $33.5900    ($3,359.00)
Purchase                7/15/2013            300     $33.7400   $10,122.00       Sale             7/15/2013       (100)    $33.6100    ($3,361.00)
Purchase                7/15/2013            194     $33.7400    $6,545.56       Sale             7/15/2013       (300)    $33.7000   ($10,110.00)
Purchase                7/15/2013            400     $33.7200   $13,488.00       Sale             7/15/2013       (300)    $33.7100   ($10,113.00)
Purchase                7/15/2013            400     $33.7200   $13,488.00       Sale             7/15/2013       (300)    $33.7100   ($10,113.00)
Purchase                7/15/2013            100     $33.7100    $3,371.00       Sale             7/15/2013       (300)    $33.7200   ($10,116.00)
Purchase                7/15/2013            100     $33.7100    $3,371.00       Sale             7/15/2013       (178)    $33.7400    ($6,005.72)
Purchase                7/15/2013            400     $33.7000   $13,480.00       Sale             7/15/2013       (167)    $33.7400    ($5,634.58)
Purchase                7/15/2013            300     $33.7000   $10,110.00       Sale             7/15/2013       (133)    $33.7400    ($4,487.42)
Purchase                7/15/2013            100     $33.7000    $3,370.00       Sale             7/15/2013       (122)    $33.7400    ($4,116.28)
Purchase                7/15/2013            300     $33.7000   $10,110.00       Sale             7/15/2013       (200)    $33.7500    ($6,750.00)
Purchase                7/15/2013            188     $33.6900    $6,333.72       Sale             7/15/2013       (100)    $33.7500    ($3,375.00)
Purchase                7/16/2013            200     $33.6300    $6,726.00       Sale             7/15/2013       (300)    $33.7500   ($10,125.00)
Purchase                7/16/2013            200     $33.6000    $6,720.00       Sale             7/15/2013       (300)    $33.7500   ($10,125.00)
Purchase                7/16/2013            200     $33.6000    $6,720.00       Sale             7/15/2013       (400)    $33.7000   ($13,480.00)
Purchase                7/16/2013            200     $33.6000    $6,720.00       Sale             7/15/2013       (400)    $33.7100   ($13,484.00)
Purchase                7/16/2013            200     $33.5600    $6,712.00       Sale             7/15/2013       (400)    $33.7100   ($13,484.00)
Purchase                7/16/2013            100     $33.5600    $3,356.00       Sale             7/15/2013       (400)    $33.5800   ($13,432.00)
Purchase                7/16/2013            100     $33.5600    $3,356.00       Sale             7/15/2013       (400)    $33.6000   ($13,440.00)
Purchase                7/16/2013            100     $33.6800    $3,368.00       Sale             7/15/2013       (400)    $33.6000   ($13,440.00)
Purchase                7/16/2013            100     $33.6800    $3,368.00       Sale             7/16/2013       (200)    $33.5600    ($6,712.00)
Purchase                7/16/2013            100     $33.5900    $3,359.00       Sale             7/16/2013       (100)    $33.5600    ($3,356.00)
Purchase                7/16/2013            100     $33.6700    $3,367.00       Sale             7/16/2013       (100)    $33.5600    ($3,356.00)
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Purchase                7/16/2013            200     $33.6000    $6,720.00       Sale             7/16/2013       (100)    $33.6000    ($3,360.00)
Purchase                7/16/2013            200     $33.7000    $6,740.00       Sale             7/16/2013       (100)    $33.6100    ($3,361.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price       Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                7/16/2013          4,360     $33.5800   $146,408.80       Sale             7/16/2013       (100)    $33.6200    ($3,362.00)
Purchase                7/19/2013          4,380     $33.7900   $148,000.20       Sale             7/16/2013       (100)    $33.6400    ($3,364.00)
Purchase                7/22/2013            100     $33.7500     $3,375.00       Sale             7/16/2013       (100)    $33.6400    ($3,364.00)
Purchase                7/22/2013            100     $33.7800     $3,378.00       Sale             7/16/2013       (100)    $33.5700    ($3,357.00)
Purchase                7/22/2013            100     $33.8100     $3,381.00       Sale             7/16/2013       (100)    $33.6000    ($3,360.00)
Purchase                7/22/2013            100     $33.8100     $3,381.00       Sale             7/16/2013       (100)    $33.6000    ($3,360.00)
Purchase                7/22/2013            100     $33.8100     $3,381.00       Sale             7/16/2013       (200)    $33.6100    ($6,722.00)
Purchase                7/26/2013            100     $33.5000     $3,350.00       Sale             7/16/2013       (100)    $33.5900    ($3,359.00)
Purchase                7/26/2013            105     $33.5000     $3,517.50       Sale             7/16/2013       (200)    $33.6000    ($6,720.00)
Purchase                7/26/2013             95     $33.5000     $3,182.50       Sale             7/16/2013       (200)    $33.6000    ($6,720.00)
Purchase                7/26/2013          3,723     $33.5000   $124,720.50       Sale             7/19/2013        (63)    $33.6500    ($2,119.95)
Purchase                7/29/2013            100     $33.5500     $3,355.00       Sale             7/19/2013       (178)    $33.6500    ($5,989.70)
Purchase                7/29/2013            100     $33.5000     $3,350.00       Sale             7/19/2013       (100)    $33.6500    ($3,365.00)
Purchase                7/29/2013            100     $33.5000     $3,350.00       Sale             7/19/2013       (200)    $33.6500    ($6,730.00)
Purchase                7/29/2013             43     $33.5000     $1,440.50       Sale             7/19/2013       (300)    $33.6500   ($10,095.00)
Purchase                7/29/2013            100     $33.5000     $3,350.00       Sale             7/19/2013       (137)    $33.6500    ($4,610.05)
Purchase                7/29/2013            100     $33.5000     $3,350.00       Sale             7/19/2013        (63)    $33.6500    ($2,119.95)
Purchase                7/29/2013            100     $33.5100     $3,351.00       Sale             7/19/2013       (200)    $33.6500    ($6,730.00)
Purchase                7/29/2013            100     $33.5200     $3,352.00       Sale             7/19/2013        (37)    $33.6500    ($1,245.05)
Purchase                7/29/2013            100     $33.6200     $3,362.00       Sale             7/19/2013        (22)    $33.6500      ($740.30)
Purchase                7/29/2013            100     $33.6400     $3,364.00       Sale             7/19/2013       (200)    $33.6500    ($6,730.00)
Purchase                7/29/2013            100     $33.4900     $3,349.00       Sale             7/19/2013       (600)    $25.0000   ($15,000.00)
Purchase                7/29/2013            200     $33.5500     $6,710.00       Sale             7/19/2013     (2,900)    $30.0000   ($87,000.00)
Purchase                7/29/2013            200     $33.6500     $6,730.00       Sale             7/25/2013       (100)    $33.4600    ($3,346.00)
Purchase                7/29/2013            200     $33.6500     $6,730.00       Sale             7/25/2013       (200)    $33.4600    ($6,692.00)
Purchase                7/29/2013            100     $33.6500     $3,365.00       Sale             7/25/2013       (200)    $33.4600    ($6,692.00)
Purchase                7/29/2013            200     $33.6400     $6,728.00       Sale             7/25/2013       (100)    $33.4600    ($3,346.00)
Purchase                7/29/2013            200     $33.6400     $6,728.00       Sale             7/25/2013       (200)    $33.4600    ($6,692.00)
Purchase                7/30/2013            100     $33.5700     $3,357.00       Sale             7/25/2013        (34)    $33.4600    ($1,137.64)
Purchase                7/30/2013            100     $33.5600     $3,356.00       Sale             7/26/2013       (100)    $33.3600    ($3,336.00)
Purchase                7/30/2013            100     $33.5900     $3,359.00       Sale             7/26/2013       (200)    $33.3600    ($6,672.00)
Purchase                7/30/2013             98     $33.6000     $3,292.80       Sale             7/26/2013       (100)    $33.3600    ($3,336.00)
Purchase                7/30/2013            100     $33.6000     $3,360.00       Sale             7/26/2013       (100)    $33.5000    ($3,350.00)
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Purchase                7/30/2013            100     $33.6200     $3,362.00       Sale             7/26/2013        (50)    $33.5000    ($1,675.00)
Purchase                7/30/2013            100     $33.6000     $3,360.00       Sale             7/26/2013       (200)    $33.5000    ($6,700.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                7/30/2013            100     $33.6000   $3,360.00       Sale             7/26/2013       (200)    $33.5100    ($6,702.00)
Purchase                7/30/2013             36     $33.6200   $1,210.32       Sale             7/26/2013       (824)    $33.5000   ($27,604.00)
Purchase                7/31/2013            100     $33.7100   $3,371.00       Sale             7/29/2013        (57)    $33.4700    ($1,907.79)
Purchase                7/31/2013            100     $33.7000   $3,370.00       Sale             7/29/2013       (100)    $33.4600    ($3,346.00)
Purchase                7/31/2013            100     $33.6500   $3,365.00       Sale             7/29/2013         (6)    $33.4600      ($200.76)
Purchase                7/31/2013            100     $33.6500   $3,365.00       Sale             7/29/2013       (100)    $33.4600    ($3,346.00)
Purchase                7/31/2013            100     $33.6100   $3,361.00       Sale             7/29/2013       (100)    $33.4600    ($3,346.00)
Purchase                7/31/2013            100     $33.5900   $3,359.00       Sale             7/29/2013       (100)    $33.5100    ($3,351.00)
Purchase                7/31/2013            100     $33.5900   $3,359.00       Sale             7/29/2013       (100)    $33.5100    ($3,351.00)
Purchase                7/31/2013            100     $33.6500   $3,365.00       Sale             7/29/2013       (100)    $33.5100    ($3,351.00)
Purchase                7/31/2013            100     $33.6500   $3,365.00       Sale             7/29/2013       (100)    $33.5100    ($3,351.00)
Purchase                7/31/2013            100     $33.6600   $3,366.00       Sale             7/29/2013       (100)    $33.5500    ($3,355.00)
Purchase                7/31/2013            100     $33.6300   $3,363.00       Sale             7/29/2013       (100)    $33.5300    ($3,353.00)
Purchase                7/31/2013             23     $33.6000     $772.80       Sale             7/29/2013       (100)    $33.6500    ($3,365.00)
Purchase                7/31/2013            100     $33.5900   $3,359.00       Sale             7/29/2013        (55)    $33.5000    ($1,842.50)
Purchase                7/31/2013            200     $33.5500   $6,710.00       Sale             7/29/2013       (100)    $33.4800    ($3,348.00)
Purchase                7/31/2013             14     $33.5800     $470.12       Sale             7/29/2013       (100)    $33.5000    ($3,350.00)
Purchase                7/31/2013            180     $33.5700   $6,042.60       Sale             7/29/2013       (100)    $33.5000    ($3,350.00)
Purchase                7/31/2013             20     $33.5700     $671.40       Sale             7/29/2013       (100)    $33.5000    ($3,350.00)
Purchase                7/31/2013            200     $33.5800   $6,716.00       Sale             7/29/2013       (200)    $33.5600    ($6,712.00)
Purchase                 8/1/2013            100     $33.6700   $3,367.00       Sale             7/29/2013       (200)    $33.6300    ($6,726.00)
Purchase                 8/1/2013            100     $33.6200   $3,362.00       Sale             7/29/2013        (75)    $33.6300    ($2,522.25)
Purchase                 8/1/2013            100     $33.6200   $3,362.00       Sale             7/29/2013        (96)    $33.6500    ($3,230.40)
Purchase                 8/1/2013            100     $33.6300   $3,363.00       Sale             7/29/2013       (200)    $33.6500    ($6,730.00)
Purchase                 8/1/2013            100     $33.6300   $3,363.00       Sale             7/29/2013       (200)    $33.6500    ($6,730.00)
Purchase                 8/1/2013            100     $33.6400   $3,364.00       Sale             7/29/2013       (168)    $33.5100    ($5,629.68)
Purchase                 8/1/2013            100     $33.6400   $3,364.00       Sale             7/29/2013       (200)    $33.5200    ($6,704.00)
Purchase                 8/1/2013            100     $33.6400   $3,364.00       Sale             7/29/2013       (177)    $33.5300    ($5,934.81)
Purchase                 8/1/2013            100     $33.6400   $3,364.00       Sale             7/30/2013       (100)    $33.5800    ($3,358.00)
Purchase                 8/1/2013            100     $33.6400   $3,364.00       Sale             7/30/2013       (100)    $33.6000    ($3,360.00)
Purchase                 8/1/2013            100     $33.6300   $3,363.00       Sale             7/30/2013       (100)    $33.6100    ($3,361.00)
Purchase                 8/1/2013            100     $33.6300   $3,363.00       Sale             7/30/2013       (100)    $33.6100    ($3,361.00)
Purchase                 8/1/2013            100     $33.6400   $3,364.00       Sale             7/30/2013       (100)    $33.6100    ($3,361.00)
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Purchase                 8/1/2013            100     $33.6400   $3,364.00       Sale             7/30/2013       (100)    $33.6200    ($3,362.00)
Purchase                 8/1/2013            100     $33.6100   $3,361.00       Sale             7/30/2013       (100)    $33.6100    ($3,361.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                 8/1/2013            100     $33.6100    $3,361.00       Sale             7/30/2013       (100)    $33.6100     ($3,361.00)
Purchase                 8/1/2013            100     $33.6000    $3,360.00       Sale             7/30/2013       (100)    $33.6100     ($3,361.00)
Purchase                 8/1/2013            100     $33.5700    $3,357.00       Sale             7/30/2013       (100)    $33.6100     ($3,361.00)
Purchase                 8/1/2013            100     $33.5600    $3,356.00       Sale             7/30/2013       (100)    $33.6300     ($3,363.00)
Purchase                 8/1/2013            200     $33.6100    $6,722.00       Sale             7/31/2013        (50)    $33.6100     ($1,680.50)
Purchase                 8/1/2013            200     $33.6000    $6,720.00       Sale             7/31/2013        (50)    $33.6100     ($1,680.50)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale             7/31/2013       (100)    $33.6100     ($3,361.00)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale             7/31/2013       (100)    $33.6100     ($3,361.00)
Purchase                 8/2/2013            100     $33.7200    $3,372.00       Sale             7/31/2013       (100)    $33.5900     ($3,359.00)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale             7/31/2013       (100)    $33.5900     ($3,359.00)
Purchase                 8/2/2013             45     $33.7500    $1,518.75       Sale             7/31/2013       (100)    $33.5800     ($3,358.00)
Purchase                 8/2/2013             55     $33.7500    $1,856.25       Sale             7/31/2013       (100)    $33.5500     ($3,355.00)
Purchase                 8/2/2013            100     $33.7600    $3,376.00       Sale             7/31/2013       (100)    $33.5500     ($3,355.00)
Purchase                 8/2/2013            100     $33.7600    $3,376.00       Sale             7/31/2013       (100)    $33.5600     ($3,356.00)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale             7/31/2013       (100)    $33.5600     ($3,356.00)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale             7/31/2013       (100)    $33.5600     ($3,356.00)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale             7/31/2013       (100)    $33.6000     ($3,360.00)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale             7/31/2013       (100)    $33.6000     ($3,360.00)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale             7/31/2013       (100)    $33.5600     ($3,356.00)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale             7/31/2013       (200)    $33.5700     ($6,714.00)
Purchase                 8/2/2013            200     $33.7500    $6,750.00       Sale             7/31/2013       (200)    $33.6200     ($6,724.00)
Purchase                 8/2/2013          2,628     $33.7700   $88,747.56       Sale             7/31/2013       (200)    $33.6200     ($6,724.00)
Purchase                 8/5/2013            100     $33.6600    $3,366.00       Sale              8/1/2013       (100)    $33.6400     ($3,364.00)
Purchase                 8/5/2013            100     $33.6200    $3,362.00       Sale              8/1/2013       (100)    $33.6400     ($3,364.00)
Purchase                 8/5/2013            100     $33.6100    $3,361.00       Sale              8/1/2013       (100)    $33.6500     ($3,365.00)
Purchase                 8/5/2013            100     $33.6400    $3,364.00       Sale              8/1/2013       (100)    $33.6500     ($3,365.00)
Purchase                 8/5/2013            100     $33.6400    $3,364.00       Sale              8/1/2013       (100)    $33.6500     ($3,365.00)
Purchase                 8/5/2013            100     $33.6300    $3,363.00       Sale              8/1/2013       (100)    $33.6400     ($3,364.00)
Purchase                 8/5/2013            100     $33.7500    $3,375.00       Sale              8/1/2013       (100)    $33.6300     ($3,363.00)
Purchase                 8/5/2013            100     $33.7500    $3,375.00       Sale              8/1/2013       (100)    $33.6500     ($3,365.00)
Purchase                 8/5/2013             99     $33.7700    $3,343.23       Sale              8/1/2013       (100)    $33.6500     ($3,365.00)
Purchase                 8/5/2013            100     $33.7700    $3,377.00       Sale              8/1/2013       (100)    $33.6400     ($3,364.00)
Purchase                 8/5/2013            100     $33.7500    $3,375.00       Sale              8/1/2013       (100)    $33.6500     ($3,365.00)
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Purchase                 8/5/2013            100     $33.7500    $3,375.00       Sale              8/1/2013       (100)    $33.6400     ($3,364.00)
Purchase                 8/5/2013            100     $33.7500    $3,375.00       Sale              8/1/2013       (100)    $33.6500     ($3,365.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date       Shares      Price       Proceeds

Purchase                 8/5/2013            100     $33.8600   $3,386.00       Sale             8/1/2013       (100)    $33.6400     ($3,364.00)
Purchase                 8/5/2013            100     $33.8600   $3,386.00       Sale             8/1/2013       (100)    $33.6500     ($3,365.00)
Purchase                 8/5/2013            100     $33.8300   $3,383.00       Sale             8/1/2013       (100)    $33.6400     ($3,364.00)
Purchase                 8/5/2013            100     $33.8300   $3,383.00       Sale             8/1/2013       (100)    $33.6500     ($3,365.00)
Purchase                 8/5/2013            100     $33.8300   $3,383.00       Sale             8/1/2013       (100)    $33.6100     ($3,361.00)
Purchase                 8/5/2013            200     $33.9200   $6,784.00       Sale             8/1/2013       (100)    $33.6100     ($3,361.00)
Purchase                 8/5/2013            200     $33.9600   $6,792.00       Sale             8/1/2013       (100)    $33.6100     ($3,361.00)
Purchase                 8/5/2013            100     $33.8700   $3,387.00       Sale             8/1/2013       (100)    $33.5600     ($3,356.00)
Purchase                 8/5/2013            100     $33.8700   $3,387.00       Sale             8/1/2013       (100)    $33.5700     ($3,357.00)
Purchase                 8/5/2013            200     $33.8700   $6,774.00       Sale             8/1/2013       (100)    $33.5700     ($3,357.00)
Purchase                 8/6/2013            100     $33.8500   $3,385.00       Sale             8/1/2013       (200)    $33.6100     ($6,722.00)
Purchase                 8/6/2013              1     $33.8400      $33.84       Sale             8/1/2013       (200)    $33.6100     ($6,722.00)
Purchase                 8/6/2013            100     $33.8500   $3,385.00       Sale             8/1/2013       (200)    $33.6400     ($6,728.00)
Purchase                 8/6/2013            100     $33.8500   $3,385.00       Sale             8/1/2013       (200)    $33.6400     ($6,728.00)
Purchase                 8/6/2013            100     $33.8400   $3,384.00       Sale             8/2/2013       (100)    $33.5900     ($3,359.00)
Purchase                 8/6/2013            100     $33.8200   $3,382.00       Sale             8/2/2013       (100)    $33.5900     ($3,359.00)
Purchase                 8/6/2013            100     $33.8200   $3,382.00       Sale             8/2/2013       (100)    $33.5900     ($3,359.00)
Purchase                 8/6/2013            200     $33.7800   $6,756.00       Sale             8/2/2013       (100)    $33.6000     ($3,360.00)
Purchase                 8/6/2013            100     $33.7800   $3,378.00       Sale             8/2/2013       (100)    $33.7300     ($3,373.00)
Purchase                 8/6/2013            100     $33.7800   $3,378.00       Sale             8/2/2013       (100)    $33.7300     ($3,373.00)
Purchase                 8/6/2013            200     $33.7800   $6,756.00       Sale             8/2/2013       (100)    $33.7300     ($3,373.00)
Purchase                 8/6/2013            200     $33.7900   $6,758.00       Sale             8/2/2013       (100)    $33.7500     ($3,375.00)
Purchase                 8/6/2013            200     $33.7900   $6,758.00       Sale             8/2/2013       (100)    $33.7500     ($3,375.00)
Purchase                 8/6/2013            200     $33.8100   $6,762.00       Sale             8/2/2013       (100)    $33.7600     ($3,376.00)
Purchase                 8/6/2013            200     $33.8000   $6,760.00       Sale             8/2/2013       (100)    $33.7600     ($3,376.00)
Purchase                 8/6/2013            200     $33.7900   $6,758.00       Sale             8/2/2013       (100)    $33.7600     ($3,376.00)
Purchase                 8/6/2013            100     $33.7800   $3,378.00       Sale             8/2/2013       (100)    $33.7600     ($3,376.00)
Purchase                 8/6/2013            200     $33.7800   $6,756.00       Sale             8/2/2013       (200)    $33.7600     ($6,752.00)
Purchase                 8/6/2013            100     $33.7800   $3,378.00       Sale             8/2/2013       (200)    $33.7600     ($6,752.00)
Purchase                 8/6/2013             26     $33.7800     $878.28       Sale             8/2/2013       (200)    $33.7600     ($6,752.00)
Purchase                 8/6/2013            100     $33.7800   $3,378.00       Sale             8/2/2013       (200)    $33.7700     ($6,754.00)
Purchase                 8/7/2013            100     $33.8000   $3,380.00       Sale             8/5/2013       (100)    $33.6400     ($3,364.00)
Purchase                 8/7/2013            100     $33.8100   $3,381.00       Sale             8/5/2013       (100)    $33.6400     ($3,364.00)
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Purchase                 8/7/2013            100     $33.8000   $3,380.00       Sale             8/5/2013       (100)    $33.6400     ($3,364.00)
Purchase                 8/7/2013            100     $33.8000   $3,380.00       Sale             8/5/2013       (100)    $33.6500     ($3,365.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date       Shares      Price       Proceeds

Purchase                 8/7/2013            100     $33.9400   $3,394.00       Sale             8/5/2013       (100)    $33.6300     ($3,363.00)
Purchase                 8/7/2013            100     $33.9300   $3,393.00       Sale             8/5/2013       (100)    $33.7900     ($3,379.00)
Purchase                 8/7/2013            100     $33.9400   $3,394.00       Sale             8/5/2013       (100)    $33.7900     ($3,379.00)
Purchase                 8/7/2013            100     $33.9300   $3,393.00       Sale             8/5/2013       (100)    $33.7600     ($3,376.00)
Purchase                 8/7/2013            100     $33.9300   $3,393.00       Sale             8/5/2013       (100)    $33.7700     ($3,377.00)
Purchase                 8/7/2013            100     $33.9200   $3,392.00       Sale             8/5/2013        (35)    $33.7600     ($1,181.60)
Purchase                 8/7/2013            100     $33.9100   $3,391.00       Sale             8/5/2013       (100)    $33.7500     ($3,375.00)
Purchase                 8/7/2013             55     $33.9900   $1,869.45       Sale             8/5/2013       (100)    $33.7500     ($3,375.00)
Purchase                 8/7/2013            100     $33.9900   $3,399.00       Sale             8/5/2013       (100)    $33.7600     ($3,376.00)
Purchase                 8/7/2013            100     $33.9900   $3,399.00       Sale             8/5/2013       (100)    $33.8700     ($3,387.00)
Purchase                 8/7/2013            100     $33.9900   $3,399.00       Sale             8/5/2013       (100)    $33.8500     ($3,385.00)
Purchase                 8/7/2013            100     $34.1300   $3,413.00       Sale             8/5/2013       (100)    $33.7800     ($3,378.00)
Purchase                 8/7/2013            100     $34.1400   $3,414.00       Sale             8/5/2013       (100)    $33.8200     ($3,382.00)
Purchase                 8/7/2013            100     $34.1300   $3,413.00       Sale             8/5/2013       (100)    $33.8500     ($3,385.00)
Purchase                 8/7/2013            100     $34.0200   $3,402.00       Sale             8/5/2013       (200)    $33.9400     ($6,788.00)
Purchase                 8/7/2013            100     $34.0200   $3,402.00       Sale             8/5/2013       (200)    $33.8500     ($6,770.00)
Purchase                 8/7/2013             62     $33.9800   $2,106.76       Sale             8/5/2013       (200)    $33.8500     ($6,770.00)
Purchase                 8/7/2013            100     $33.9800   $3,398.00       Sale             8/5/2013       (100)    $33.8600     ($3,386.00)
Purchase                 8/7/2013            100     $33.9500   $3,395.00       Sale             8/5/2013       (100)    $33.8600     ($3,386.00)
Purchase                 8/7/2013            100     $33.9500   $3,395.00       Sale             8/6/2013       (100)    $33.8100     ($3,381.00)
Purchase                 8/7/2013            200     $33.9600   $6,792.00       Sale             8/6/2013       (100)    $33.8100     ($3,381.00)
Purchase                 8/7/2013             34     $33.8900   $1,152.26       Sale             8/6/2013       (100)    $33.8000     ($3,380.00)
Purchase                 8/8/2013            100     $33.6100   $3,361.00       Sale             8/6/2013       (200)    $33.7900     ($6,758.00)
Purchase                 8/8/2013            100     $33.6000   $3,360.00       Sale             8/6/2013       (100)    $33.7900     ($3,379.00)
Purchase                 8/8/2013            100     $33.5700   $3,357.00       Sale             8/6/2013       (100)    $33.8000     ($3,380.00)
Purchase                 8/8/2013            100     $33.5400   $3,354.00       Sale             8/6/2013       (100)    $33.7900     ($3,379.00)
Purchase                 8/8/2013            100     $33.5400   $3,354.00       Sale             8/6/2013       (200)    $33.7900     ($6,758.00)
Purchase                 8/8/2013             39     $33.5900   $1,310.01       Sale             8/6/2013       (100)    $33.7900     ($3,379.00)
Purchase                 8/8/2013            100     $33.5700   $3,357.00       Sale             8/6/2013       (200)    $33.7600     ($6,752.00)
Purchase                 8/8/2013            100     $33.4600   $3,346.00       Sale             8/6/2013       (200)    $33.7600     ($6,752.00)
Purchase                 8/8/2013            100     $33.4600   $3,346.00       Sale             8/6/2013       (100)    $33.7600     ($3,376.00)
Purchase                 8/8/2013            100     $33.5000   $3,350.00       Sale             8/6/2013        (26)    $33.8000       ($878.80)
Purchase                 8/8/2013            100     $33.5800   $3,358.00       Sale             8/6/2013       (100)    $33.8000     ($3,380.00)
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Purchase                 8/8/2013            100     $33.6400   $3,364.00       Sale             8/6/2013       (200)    $33.8000     ($6,760.00)
Purchase                 8/8/2013            100     $33.6400   $3,364.00       Sale             8/6/2013        (74)    $33.8000     ($2,501.20)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price       Cost                Transaction   Date       Shares      Price       Proceeds

Purchase                 8/8/2013            100     $33.6300     $3,363.00       Sale             8/6/2013       (182)    $33.8000     ($6,151.60)
Purchase                 8/8/2013            100     $33.6300     $3,363.00       Sale             8/6/2013        (18)    $33.8000       ($608.40)
Purchase                 8/8/2013            100     $33.6000     $3,360.00       Sale             8/6/2013       (100)    $33.8000     ($3,380.00)
Purchase                 8/8/2013             33     $33.5900     $1,108.47       Sale             8/7/2013       (100)    $33.9500     ($3,395.00)
Purchase                 8/8/2013            100     $33.6000     $3,360.00       Sale             8/7/2013       (100)    $33.9500     ($3,395.00)
Purchase                 8/8/2013            100     $33.6400     $3,364.00       Sale             8/7/2013       (100)    $33.9500     ($3,395.00)
Purchase                 8/8/2013            100     $33.6400     $3,364.00       Sale             8/7/2013       (100)    $33.9200     ($3,392.00)
Purchase                 8/8/2013            100     $33.4700     $3,347.00       Sale             8/7/2013       (100)    $33.9200     ($3,392.00)
Purchase                 8/8/2013            200     $33.4900     $6,698.00       Sale             8/7/2013        (92)    $33.9400     ($3,122.48)
Purchase                 8/8/2013            200     $33.4900     $6,698.00       Sale             8/7/2013       (100)    $33.9600     ($3,396.00)
Purchase                 8/8/2013            200     $33.4700     $6,694.00       Sale             8/7/2013       (100)    $33.9700     ($3,397.00)
Purchase                 8/8/2013            200     $33.4700     $6,694.00       Sale             8/7/2013       (100)    $33.9700     ($3,397.00)
Purchase                 8/8/2013            200     $33.6200     $6,724.00       Sale             8/7/2013       (100)    $33.9900     ($3,399.00)
Purchase                 8/8/2013            200     $33.6000     $6,720.00       Sale             8/7/2013       (100)    $33.9900     ($3,399.00)
Purchase                 8/9/2013            100     $33.6200     $3,362.00       Sale             8/7/2013       (100)    $34.0300     ($3,403.00)
Purchase                 8/9/2013            100     $33.6200     $3,362.00       Sale             8/7/2013       (100)    $34.0300     ($3,403.00)
Purchase                 8/9/2013            100     $33.6200     $3,362.00       Sale             8/7/2013       (100)    $34.0300     ($3,403.00)
Purchase                 8/9/2013            100     $33.6200     $3,362.00       Sale             8/7/2013       (100)    $33.9900     ($3,399.00)
Purchase                 8/9/2013            100     $33.6100     $3,361.00       Sale             8/7/2013       (100)    $33.9900     ($3,399.00)
Purchase                 8/9/2013            100     $33.5600     $3,356.00       Sale             8/7/2013       (100)    $33.9900     ($3,399.00)
Purchase                 8/9/2013            100     $33.5200     $3,352.00       Sale             8/7/2013       (200)    $33.9600     ($6,792.00)
Purchase                 8/9/2013            100     $33.6400     $3,364.00       Sale             8/7/2013        (11)    $33.9700       ($373.67)
Purchase                 8/9/2013            100     $33.6400     $3,364.00       Sale             8/7/2013       (200)    $33.9700     ($6,794.00)
Purchase                 8/9/2013            200     $33.5600     $6,712.00       Sale             8/7/2013         (9)    $33.9600       ($305.64)
Purchase                 8/9/2013            200     $33.5600     $6,712.00       Sale             8/7/2013       (100)    $33.9600     ($3,396.00)
Purchase                 8/9/2013          3,066     $33.4600   $102,588.36       Sale             8/7/2013       (200)    $33.9400     ($6,788.00)
Purchase                8/12/2013            100     $33.0000     $3,300.00       Sale             8/8/2013       (100)    $33.5300     ($3,353.00)
Purchase                8/12/2013            100     $33.0000     $3,300.00       Sale             8/8/2013       (100)    $33.5400     ($3,354.00)
Purchase                8/12/2013            100     $33.0600     $3,306.00       Sale             8/8/2013       (100)    $33.4500     ($3,345.00)
Purchase                8/12/2013            100     $33.0600     $3,306.00       Sale             8/8/2013       (100)    $33.4700     ($3,347.00)
Purchase                8/12/2013            100     $33.0600     $3,306.00       Sale             8/8/2013       (100)    $33.5800     ($3,358.00)
Purchase                8/12/2013            100     $33.0700     $3,307.00       Sale             8/8/2013       (100)    $33.6200     ($3,362.00)
Purchase                8/12/2013            100     $32.9900     $3,299.00       Sale             8/8/2013       (100)    $33.6200     ($3,362.00)
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Purchase                8/12/2013            100     $32.9900     $3,299.00       Sale             8/8/2013       (100)    $33.6500     ($3,365.00)
Purchase                8/12/2013            100     $32.9900     $3,299.00       Sale             8/8/2013       (100)    $33.6400     ($3,364.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                8/12/2013            100     $32.8700   $3,287.00       Sale              8/8/2013       (100)    $33.6500     ($3,365.00)
Purchase                8/12/2013            100     $32.9300   $3,293.00       Sale              8/8/2013       (100)    $33.5900     ($3,359.00)
Purchase                8/12/2013             47     $32.9300   $1,547.71       Sale              8/8/2013       (100)    $33.5900     ($3,359.00)
Purchase                8/12/2013            100     $32.9300   $3,293.00       Sale              8/8/2013       (100)    $33.6400     ($3,364.00)
Purchase                8/12/2013            100     $33.0600   $3,306.00       Sale              8/8/2013       (100)    $33.4600     ($3,346.00)
Purchase                8/12/2013            100     $33.1900   $3,319.00       Sale              8/8/2013       (100)    $33.4800     ($3,348.00)
Purchase                8/12/2013            100     $33.1900   $3,319.00       Sale              8/8/2013       (100)    $33.4700     ($3,347.00)
Purchase                8/12/2013              6     $33.1000     $198.60       Sale              8/8/2013       (100)    $33.4700     ($3,347.00)
Purchase                8/12/2013            100     $33.0900   $3,309.00       Sale              8/8/2013       (200)    $33.4700     ($6,694.00)
Purchase                8/12/2013            100     $33.0900   $3,309.00       Sale              8/8/2013       (200)    $33.4800     ($6,696.00)
Purchase                8/12/2013             94     $33.0100   $3,102.94       Sale              8/8/2013       (100)    $33.4800     ($3,348.00)
Purchase                8/12/2013            200     $33.0100   $6,602.00       Sale              8/8/2013       (100)    $33.4800     ($3,348.00)
Purchase                8/12/2013            200     $33.0000   $6,600.00       Sale              8/8/2013       (200)    $33.6000     ($6,720.00)
Purchase                8/12/2013            200     $33.0000   $6,600.00       Sale              8/8/2013       (100)    $33.6200     ($3,362.00)
Purchase                8/12/2013            200     $33.0400   $6,608.00       Sale              8/8/2013       (200)    $33.6400     ($6,728.00)
Purchase                8/12/2013              4     $33.0300     $132.12       Sale              8/8/2013       (200)    $33.6400     ($6,728.00)
Purchase                8/12/2013            100     $33.0300   $3,303.00       Sale              8/8/2013       (100)    $33.6100     ($3,361.00)
Purchase                8/12/2013            100     $33.0000   $3,300.00       Sale              8/8/2013       (200)    $33.6100     ($6,722.00)
Purchase                8/13/2013            100     $32.9000   $3,290.00       Sale              8/8/2013       (200)    $33.6100     ($6,722.00)
Purchase                8/13/2013            100     $32.8900   $3,289.00       Sale              8/8/2013       (200)    $33.6300     ($6,726.00)
Purchase                8/13/2013            100     $32.8800   $3,288.00       Sale              8/8/2013       (200)    $33.6300     ($6,726.00)
Purchase                8/13/2013            100     $32.8800   $3,288.00       Sale              8/9/2013       (100)    $33.5900     ($3,359.00)
Purchase                8/13/2013            100     $32.8000   $3,280.00       Sale              8/9/2013       (100)    $33.6400     ($3,364.00)
Purchase                8/13/2013            100     $32.8000   $3,280.00       Sale              8/9/2013       (100)    $33.6400     ($3,364.00)
Purchase                8/13/2013            100     $32.8000   $3,280.00       Sale              8/9/2013       (100)    $33.6400     ($3,364.00)
Purchase                8/13/2013            100     $32.8000   $3,280.00       Sale              8/9/2013       (100)    $33.5200     ($3,352.00)
Purchase                8/13/2013             79     $32.7100   $2,584.09       Sale              8/9/2013       (100)    $33.5200     ($3,352.00)
Purchase                8/13/2013            100     $32.6800   $3,268.00       Sale              8/9/2013       (100)    $33.5100     ($3,351.00)
Purchase                8/13/2013            100     $32.6000   $3,260.00       Sale              8/9/2013       (100)    $33.6500     ($3,365.00)
Purchase                8/13/2013            100     $32.8000   $3,280.00       Sale              8/9/2013       (100)    $33.6500     ($3,365.00)
Purchase                8/13/2013            100     $32.8100   $3,281.00       Sale              8/9/2013       (100)    $33.6400     ($3,364.00)
Purchase                8/13/2013            100     $32.8100   $3,281.00       Sale              8/9/2013       (200)    $33.4900     ($6,698.00)
Purchase                8/13/2013            100     $32.7500   $3,275.00       Sale             8/12/2013       (100)    $33.2900     ($3,329.00)
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Purchase                8/13/2013            100     $32.7500   $3,275.00       Sale             8/12/2013        (36)    $33.0500     ($1,189.80)
Purchase                8/13/2013            100     $32.5700   $3,257.00       Sale             8/12/2013       (100)    $33.0600     ($3,306.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                8/13/2013            100     $32.5500   $3,255.00       Sale             8/12/2013       (100)    $33.0500     ($3,305.00)
Purchase                8/13/2013            100     $32.4500   $3,245.00       Sale             8/12/2013       (100)    $33.0500     ($3,305.00)
Purchase                8/13/2013            100     $32.3600   $3,236.00       Sale             8/12/2013       (100)    $33.1100     ($3,311.00)
Purchase                8/13/2013            100     $32.4000   $3,240.00       Sale             8/12/2013       (100)    $33.0800     ($3,308.00)
Purchase                8/13/2013            100     $32.5000   $3,250.00       Sale             8/12/2013       (100)    $33.0800     ($3,308.00)
Purchase                8/13/2013             34     $32.6500   $1,110.10       Sale             8/12/2013       (100)    $33.0800     ($3,308.00)
Purchase                8/13/2013            100     $32.7600   $3,276.00       Sale             8/12/2013       (100)    $32.9700     ($3,297.00)
Purchase                8/13/2013            100     $32.7600   $3,276.00       Sale             8/12/2013       (100)    $32.9500     ($3,295.00)
Purchase                8/13/2013            100     $32.6600   $3,266.00       Sale             8/12/2013       (100)    $32.9600     ($3,296.00)
Purchase                8/13/2013            200     $32.7000   $6,540.00       Sale             8/12/2013       (100)    $32.8600     ($3,286.00)
Purchase                8/13/2013            200     $32.7100   $6,542.00       Sale             8/12/2013       (100)    $32.8800     ($3,288.00)
Purchase                8/13/2013            200     $32.7100   $6,542.00       Sale             8/12/2013       (100)    $32.9400     ($3,294.00)
Purchase                8/13/2013            100     $32.5100   $3,251.00       Sale             8/12/2013        (42)    $32.9500     ($1,383.90)
Purchase                8/13/2013            200     $32.5800   $6,516.00       Sale             8/12/2013       (100)    $32.9500     ($3,295.00)
Purchase                8/13/2013            100     $32.5700   $3,257.00       Sale             8/12/2013       (100)    $33.1000     ($3,310.00)
Purchase                8/13/2013            100     $32.5700   $3,257.00       Sale             8/12/2013       (100)    $33.1800     ($3,318.00)
Purchase                8/13/2013            200     $32.5100   $6,502.00       Sale             8/12/2013       (100)    $33.1100     ($3,311.00)
Purchase                8/14/2013            100     $32.5700   $3,257.00       Sale             8/12/2013       (100)    $33.1000     ($3,310.00)
Purchase                8/14/2013            100     $32.5200   $3,252.00       Sale             8/12/2013       (100)    $33.0100     ($3,301.00)
Purchase                8/14/2013            100     $32.5200   $3,252.00       Sale             8/12/2013       (200)    $33.0200     ($6,604.00)
Purchase                8/14/2013            100     $32.6700   $3,267.00       Sale             8/12/2013         (9)    $33.0000       ($297.00)
Purchase                8/14/2013            100     $32.6600   $3,266.00       Sale             8/12/2013        (27)    $33.0000       ($891.00)
Purchase                8/14/2013            100     $32.5700   $3,257.00       Sale             8/12/2013       (200)    $33.0000     ($6,600.00)
Purchase                8/14/2013            100     $32.5600   $3,256.00       Sale             8/12/2013       (200)    $33.0100     ($6,602.00)
Purchase                8/14/2013            200     $32.5700   $6,514.00       Sale             8/12/2013       (200)    $33.0100     ($6,602.00)
Purchase                8/14/2013             96     $32.5500   $3,124.80       Sale             8/12/2013       (200)    $33.0100     ($6,602.00)
Purchase                8/14/2013            200     $32.5300   $6,506.00       Sale             8/12/2013       (200)    $33.0100     ($6,602.00)
Purchase                8/14/2013            200     $32.5500   $6,510.00       Sale             8/12/2013        (42)    $33.0200     ($1,386.84)
Purchase                8/15/2013            100     $32.3800   $3,238.00       Sale             8/12/2013        (53)    $33.0200     ($1,750.06)
Purchase                8/15/2013            100     $32.3800   $3,238.00       Sale             8/13/2013       (100)    $32.9400     ($3,294.00)
Purchase                8/15/2013            100     $32.4300   $3,243.00       Sale             8/13/2013       (100)    $32.9400     ($3,294.00)
Purchase                8/15/2013            100     $32.4300   $3,243.00       Sale             8/13/2013       (100)    $32.9400     ($3,294.00)
Purchase                8/15/2013            100     $32.4600   $3,246.00       Sale             8/13/2013       (100)    $32.9400     ($3,294.00)
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Purchase                8/15/2013            100     $32.6400   $3,264.00       Sale             8/13/2013        (60)    $32.9400     ($1,976.40)
Purchase                8/15/2013            100     $32.6000   $3,260.00       Sale             8/13/2013       (100)    $32.9000     ($3,290.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price       Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                8/15/2013             75     $32.5700     $2,442.75       Sale             8/13/2013       (100)    $32.9000     ($3,290.00)
Purchase                8/15/2013             25     $32.5700       $814.25       Sale             8/13/2013       (100)    $32.9000     ($3,290.00)
Purchase                8/15/2013            100     $32.5200     $3,252.00       Sale             8/13/2013       (100)    $32.8500     ($3,285.00)
Purchase                8/15/2013            100     $32.5200     $3,252.00       Sale             8/13/2013       (100)    $32.8500     ($3,285.00)
Purchase                8/15/2013            100     $32.3600     $3,236.00       Sale             8/13/2013       (100)    $32.8500     ($3,285.00)
Purchase                8/15/2013            100     $32.3500     $3,235.00       Sale             8/13/2013       (100)    $32.8100     ($3,281.00)
Purchase                8/15/2013            100     $32.2900     $3,229.00       Sale             8/13/2013       (100)    $32.8100     ($3,281.00)
Purchase                8/15/2013            100     $32.2900     $3,229.00       Sale             8/13/2013       (100)    $32.7600     ($3,276.00)
Purchase                8/15/2013            100     $32.3000     $3,230.00       Sale             8/13/2013       (100)    $32.7000     ($3,270.00)
Purchase                8/15/2013            100     $32.3000     $3,230.00       Sale             8/13/2013       (100)    $32.6200     ($3,262.00)
Purchase                8/15/2013            100     $32.3000     $3,230.00       Sale             8/13/2013       (100)    $32.8300     ($3,283.00)
Purchase                8/15/2013            100     $32.3600     $3,236.00       Sale             8/13/2013       (100)    $32.7400     ($3,274.00)
Purchase                8/15/2013            200     $32.5300     $6,506.00       Sale             8/13/2013       (100)    $32.8000     ($3,280.00)
Purchase                8/15/2013            200     $32.4200     $6,484.00       Sale             8/13/2013       (100)    $32.7900     ($3,279.00)
Purchase                8/15/2013            200     $32.4100     $6,482.00       Sale             8/13/2013       (100)    $32.6800     ($3,268.00)
Purchase                8/15/2013             57     $32.4100     $1,847.37       Sale             8/13/2013       (100)    $32.6900     ($3,269.00)
Purchase                8/15/2013            200     $32.3800     $6,476.00       Sale             8/13/2013       (100)    $32.5700     ($3,257.00)
Purchase                8/15/2013            100     $32.4000     $3,240.00       Sale             8/13/2013       (100)    $32.5700     ($3,257.00)
Purchase                8/15/2013            200     $32.4000     $6,480.00       Sale             8/13/2013       (100)    $32.4800     ($3,248.00)
Purchase                8/15/2013             46     $32.4000     $1,490.40       Sale             8/13/2013       (100)    $32.3800     ($3,238.00)
Purchase                8/15/2013            200     $32.4000     $6,480.00       Sale             8/13/2013       (100)    $32.3800     ($3,238.00)
Purchase                8/15/2013            154     $32.4000     $4,989.60       Sale             8/13/2013       (100)    $32.3800     ($3,238.00)
Purchase                8/15/2013             47     $32.4000     $1,522.80       Sale             8/13/2013       (100)    $32.4000     ($3,240.00)
Purchase                8/16/2013            100     $32.6500     $3,265.00       Sale             8/13/2013        (18)    $32.4800       ($584.64)
Purchase                8/16/2013              6     $32.5600       $195.36       Sale             8/13/2013       (100)    $32.5500     ($3,255.00)
Purchase                8/16/2013            100     $32.6300     $3,263.00       Sale             8/13/2013       (100)    $32.6700     ($3,267.00)
Purchase                8/16/2013            100     $32.6300     $3,263.00       Sale             8/13/2013       (100)    $32.6900     ($3,269.00)
Purchase                8/16/2013            100     $32.5600     $3,256.00       Sale             8/13/2013        (70)    $32.7300     ($2,291.10)
Purchase                8/16/2013            200     $32.5200     $6,504.00       Sale             8/13/2013       (200)    $32.7200     ($6,544.00)
Purchase                8/16/2013          5,400     $30.0000   $162,000.00       Sale             8/13/2013       (100)    $32.7400     ($3,274.00)
Purchase                8/16/2013            900     $22.5000    $20,250.00       Sale             8/13/2013       (200)    $32.5100     ($6,502.00)
Purchase                8/19/2013            100     $32.1400     $3,214.00       Sale             8/13/2013       (200)    $32.5100     ($6,502.00)
Purchase                8/19/2013            100     $32.2700     $3,227.00       Sale             8/13/2013       (200)    $32.5700     ($6,514.00)
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Purchase                8/19/2013            100     $32.2300     $3,223.00       Sale             8/13/2013       (200)    $32.5700     ($6,514.00)
Purchase                8/19/2013            100     $32.1800     $3,218.00       Sale             8/13/2013       (200)    $32.5200     ($6,504.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                8/19/2013            100     $32.1200   $3,212.00       Sale             8/13/2013        (21)    $32.5200       ($682.92)
Purchase                8/19/2013            100     $32.1200   $3,212.00       Sale             8/13/2013       (200)    $32.5200     ($6,504.00)
Purchase                8/19/2013             20     $32.1800     $643.60       Sale             8/13/2013       (200)    $32.5500     ($6,510.00)
Purchase                8/19/2013            100     $32.2000   $3,220.00       Sale             8/13/2013       (200)    $32.5400     ($6,508.00)
Purchase                8/19/2013            100     $32.2000   $3,220.00       Sale             8/14/2013       (100)    $32.6400     ($3,264.00)
Purchase                8/19/2013            100     $32.2000   $3,220.00       Sale             8/14/2013       (100)    $32.5200     ($3,252.00)
Purchase                8/19/2013            200     $32.2000   $6,440.00       Sale             8/14/2013       (100)    $32.5200     ($3,252.00)
Purchase                8/19/2013            200     $32.2100   $6,442.00       Sale             8/14/2013       (100)    $32.5400     ($3,254.00)
Purchase                8/19/2013            100     $32.2100   $3,221.00       Sale             8/14/2013       (100)    $32.6300     ($3,263.00)
Purchase                8/19/2013            100     $32.2100   $3,221.00       Sale             8/14/2013       (100)    $32.5800     ($3,258.00)
Purchase                8/19/2013            100     $32.2000   $3,220.00       Sale             8/14/2013       (100)    $32.5500     ($3,255.00)
Purchase                8/19/2013            200     $32.2000   $6,440.00       Sale             8/14/2013       (200)    $32.5500     ($6,510.00)
Purchase                8/19/2013            100     $32.2200   $3,222.00       Sale             8/14/2013       (200)    $32.5400     ($6,508.00)
Purchase                8/19/2013            100     $32.2100   $3,221.00       Sale             8/14/2013     (4,380)    $32.5500   ($142,569.00)
Purchase                8/19/2013             45     $32.2400   $1,450.80       Sale             8/15/2013       (100)    $32.3700     ($3,237.00)
Purchase                8/19/2013            200     $32.2500   $6,450.00       Sale             8/15/2013       (100)    $32.3700     ($3,237.00)
Purchase                8/19/2013            200     $32.2500   $6,450.00       Sale             8/15/2013       (100)    $32.4900     ($3,249.00)
Purchase                8/19/2013              6     $32.2600     $193.56       Sale             8/15/2013       (100)    $32.3300     ($3,233.00)
Purchase                8/19/2013            100     $32.2500   $3,225.00       Sale             8/15/2013       (100)    $32.3400     ($3,234.00)
Purchase                8/19/2013            118     $32.2500   $3,805.50       Sale             8/15/2013       (100)    $32.3200     ($3,232.00)
Purchase                8/20/2013            100     $32.1600   $3,216.00       Sale             8/15/2013       (100)    $32.3200     ($3,232.00)
Purchase                8/20/2013            100     $32.1500   $3,215.00       Sale             8/15/2013       (100)    $32.3000     ($3,230.00)
Purchase                8/20/2013            100     $32.2000   $3,220.00       Sale             8/15/2013       (100)    $32.3000     ($3,230.00)
Purchase                8/20/2013             33     $32.2500   $1,064.25       Sale             8/15/2013       (100)    $32.3000     ($3,230.00)
Purchase                8/20/2013            100     $32.4500   $3,245.00       Sale             8/15/2013       (100)    $32.3000     ($3,230.00)
Purchase                8/20/2013            100     $32.5300   $3,253.00       Sale             8/15/2013       (100)    $32.3300     ($3,233.00)
Purchase                8/20/2013            100     $32.5300   $3,253.00       Sale             8/15/2013       (100)    $32.4500     ($3,245.00)
Purchase                8/20/2013            100     $32.6700   $3,267.00       Sale             8/15/2013       (100)    $32.6000     ($3,260.00)
Purchase                8/20/2013            100     $32.6200   $3,262.00       Sale             8/15/2013       (200)    $32.5500     ($6,510.00)
Purchase                8/20/2013            100     $32.5900   $3,259.00       Sale             8/15/2013       (200)    $32.5000     ($6,500.00)
Purchase                8/20/2013            100     $32.5300   $3,253.00       Sale             8/15/2013       (200)    $32.3400     ($6,468.00)
Purchase                8/20/2013            200     $32.5000   $6,500.00       Sale             8/15/2013       (100)    $32.3500     ($3,235.00)
Purchase                8/20/2013            200     $32.5000   $6,500.00       Sale             8/15/2013       (200)    $32.3500     ($6,470.00)
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Purchase                8/20/2013            200     $32.6100   $6,522.00       Sale             8/15/2013       (200)    $32.3500     ($6,470.00)
Purchase                8/20/2013            200     $32.6100   $6,522.00       Sale             8/15/2013     (1,095)    $32.4000    ($35,478.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                8/20/2013            100     $32.6000   $3,260.00       Sale             8/16/2013       (100)    $32.3500     ($3,235.00)
Purchase                8/20/2013            200     $32.5900   $6,518.00       Sale             8/16/2013       (100)    $32.3500     ($3,235.00)
Purchase                8/20/2013            100     $32.5500   $3,255.00       Sale             8/16/2013       (100)    $32.3500     ($3,235.00)
Purchase                8/20/2013            100     $32.5500   $3,255.00       Sale             8/16/2013       (100)    $32.6800     ($3,268.00)
Purchase                8/20/2013            100     $32.4500   $3,245.00       Sale             8/16/2013        (21)    $32.5900       ($684.39)
Purchase                8/20/2013            200     $32.4400   $6,488.00       Sale             8/16/2013       (100)    $32.6300     ($3,263.00)
Purchase                8/20/2013            100     $32.4400   $3,244.00       Sale             8/16/2013       (100)    $32.6300     ($3,263.00)
Purchase                8/21/2013            100     $32.4000   $3,240.00       Sale             8/16/2013       (100)    $32.4900     ($3,249.00)
Purchase                8/21/2013            200     $32.3800   $6,476.00       Sale             8/16/2013        (94)    $32.5000     ($3,055.00)
Purchase                8/21/2013            200     $32.4900   $6,498.00       Sale             8/16/2013       (100)    $32.5000     ($3,250.00)
Purchase                8/21/2013            200     $32.4900   $6,498.00       Sale             8/16/2013       (200)    $32.5500     ($6,510.00)
Purchase                8/21/2013            200     $32.3800   $6,476.00       Sale             8/16/2013       (100)    $32.4800     ($3,248.00)
Purchase                8/22/2013            100     $32.6500   $3,265.00       Sale             8/16/2013       (100)    $32.4800     ($3,248.00)
Purchase                8/22/2013            100     $32.6200   $3,262.00       Sale             8/16/2013       (100)    $32.4800     ($3,248.00)
Purchase                8/22/2013            100     $32.6000   $3,260.00       Sale             8/16/2013       (100)    $32.4800     ($3,248.00)
Purchase                8/22/2013            200     $32.5800   $6,516.00       Sale             8/16/2013       (100)    $32.4800     ($3,248.00)
Purchase                8/22/2013            200     $32.5800   $6,516.00       Sale             8/16/2013     (2,190)    $32.4400    ($71,043.60)
Purchase                8/22/2013            200     $32.5800   $6,516.00       Sale             8/16/2013     (1,000)    $22.5000    ($22,500.00)
Purchase                8/22/2013            200     $32.5300   $6,506.00       Sale             8/16/2013    (14,537)    $25.0000   ($363,425.00)
Purchase                8/22/2013            200     $32.5400   $6,508.00       Sale             8/19/2013       (100)    $32.0700     ($3,207.00)
Purchase                8/23/2013            200     $32.5200   $6,504.00       Sale             8/19/2013       (100)    $32.0300     ($3,203.00)
Purchase                8/23/2013            100     $32.5200   $3,252.00       Sale             8/19/2013       (100)    $32.0500     ($3,205.00)
Purchase                8/23/2013            100     $32.5200   $3,252.00       Sale             8/19/2013       (100)    $32.1300     ($3,213.00)
Purchase                8/23/2013            100     $32.6100   $3,261.00       Sale             8/19/2013       (100)    $32.1800     ($3,218.00)
Purchase                8/23/2013            100     $32.6400   $3,264.00       Sale             8/19/2013       (100)    $32.1700     ($3,217.00)
Purchase                8/23/2013             99     $32.6100   $3,228.39       Sale             8/19/2013        (89)    $32.1700     ($2,863.13)
Purchase                8/23/2013            100     $32.6100   $3,261.00       Sale             8/19/2013       (100)    $32.1700     ($3,217.00)
Purchase                8/23/2013            198     $32.5600   $6,446.88       Sale             8/19/2013        (11)    $32.1700       ($353.87)
Purchase                8/23/2013             91     $32.5700   $2,963.87       Sale             8/19/2013       (200)    $32.2100     ($6,442.00)
Purchase                8/23/2013            200     $32.5600   $6,512.00       Sale             8/19/2013       (200)    $32.2100     ($6,442.00)
Purchase                8/23/2013            100     $32.5500   $3,255.00       Sale             8/19/2013       (100)    $32.1800     ($3,218.00)
Purchase                8/26/2013            100     $32.1300   $3,213.00       Sale             8/19/2013       (200)    $32.1800     ($6,436.00)
Purchase                8/26/2013            100     $31.6400   $3,164.00       Sale             8/19/2013       (100)    $32.1800     ($3,218.00)
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Purchase                8/26/2013            100     $31.5100   $3,151.00       Sale             8/19/2013       (200)    $32.2100     ($6,442.00)
Purchase                8/26/2013            100     $31.3400   $3,134.00       Sale             8/19/2013       (200)    $32.2100     ($6,442.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                8/26/2013            100     $31.3300   $3,133.00       Sale             8/19/2013       (200)    $32.2600     ($6,452.00)
Purchase                8/26/2013            100     $31.4000   $3,140.00       Sale             8/19/2013       (200)    $32.2600     ($6,452.00)
Purchase                8/26/2013            100     $31.4100   $3,141.00       Sale             8/20/2013         (2)    $32.1800        ($64.36)
Purchase                8/26/2013            100     $31.4500   $3,145.00       Sale             8/20/2013       (100)    $32.1800     ($3,218.00)
Purchase                8/26/2013            100     $31.4000   $3,140.00       Sale             8/20/2013       (100)    $32.1800     ($3,218.00)
Purchase                8/26/2013            100     $31.4000   $3,140.00       Sale             8/20/2013       (100)    $32.4100     ($3,241.00)
Purchase                8/26/2013            100     $31.6900   $3,169.00       Sale             8/20/2013       (100)    $32.4400     ($3,244.00)
Purchase                8/26/2013            100     $31.6400   $3,164.00       Sale             8/20/2013       (100)    $32.5600     ($3,256.00)
Purchase                8/26/2013            100     $31.5200   $3,152.00       Sale             8/20/2013       (200)    $32.4900     ($6,498.00)
Purchase                8/26/2013            100     $31.6700   $3,167.00       Sale             8/20/2013       (200)    $32.5000     ($6,500.00)
Purchase                8/26/2013            100     $31.6600   $3,166.00       Sale             8/20/2013        (86)    $32.5000     ($2,795.00)
Purchase                8/26/2013            100     $31.7900   $3,179.00       Sale             8/20/2013       (200)    $32.5100     ($6,502.00)
Purchase                8/26/2013            100     $31.8300   $3,183.00       Sale             8/20/2013       (200)    $32.5500     ($6,510.00)
Purchase                8/26/2013            100     $31.8300   $3,183.00       Sale             8/20/2013       (200)    $32.5100     ($6,502.00)
Purchase                8/26/2013            100     $31.7700   $3,177.00       Sale             8/20/2013       (100)    $32.5700     ($3,257.00)
Purchase                8/26/2013            100     $31.7700   $3,177.00       Sale             8/20/2013       (200)    $32.5500     ($6,510.00)
Purchase                8/26/2013            100     $31.6700   $3,167.00       Sale             8/20/2013       (100)    $32.4600     ($3,246.00)
Purchase                8/26/2013            100     $31.6700   $3,167.00       Sale             8/21/2013       (200)    $32.4100     ($6,482.00)
Purchase                8/26/2013            200     $31.6200   $6,324.00       Sale             8/21/2013       (200)    $32.3500     ($6,470.00)
Purchase                8/26/2013            200     $31.6400   $6,328.00       Sale             8/21/2013       (200)    $32.3400     ($6,468.00)
Purchase                8/26/2013            200     $31.5700   $6,314.00       Sale             8/21/2013       (200)    $32.3400     ($6,468.00)
Purchase                8/26/2013            100     $31.5300   $3,153.00       Sale             8/22/2013       (100)    $32.7000     ($3,270.00)
Purchase                8/26/2013            100     $31.5900   $3,159.00       Sale             8/22/2013        (47)    $32.5200     ($1,528.44)
Purchase                8/26/2013            100     $31.5000   $3,150.00       Sale             8/22/2013       (100)    $32.5200     ($3,252.00)
Purchase                8/26/2013            200     $31.5000   $6,300.00       Sale             8/22/2013       (100)    $32.5200     ($3,252.00)
Purchase                8/26/2013            100     $31.5000   $3,150.00       Sale             8/22/2013       (100)    $32.5100     ($3,251.00)
Purchase                8/26/2013            200     $31.5400   $6,308.00       Sale             8/22/2013       (100)    $32.5100     ($3,251.00)
Purchase                8/27/2013            100     $31.1500   $3,115.00       Sale             8/22/2013       (200)    $32.5600     ($6,512.00)
Purchase                8/27/2013             87     $31.2000   $2,714.40       Sale             8/22/2013       (200)    $32.5600     ($6,512.00)
Purchase                8/27/2013            100     $31.0300   $3,103.00       Sale             8/22/2013       (200)    $32.5600     ($6,512.00)
Purchase                8/27/2013            100     $31.0300   $3,103.00       Sale             8/22/2013       (200)    $32.5600     ($6,512.00)
Purchase                8/27/2013            100     $31.2800   $3,128.00       Sale             8/22/2013       (200)    $32.5600     ($6,512.00)
Purchase                8/27/2013            100     $31.2800   $3,128.00       Sale             8/23/2013       (100)    $32.5200     ($3,252.00)
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Purchase                8/27/2013            100     $31.3100   $3,131.00       Sale             8/23/2013       (100)    $32.6400     ($3,264.00)
Purchase                8/27/2013            100     $31.3100   $3,131.00       Sale             8/23/2013         (1)    $32.6400        ($32.64)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                8/27/2013            100     $31.3500   $3,135.00       Sale             8/23/2013        (99)    $32.6400    ($3,231.36)
Purchase                8/27/2013            100     $31.2600   $3,126.00       Sale             8/23/2013       (100)    $32.5600    ($3,256.00)
Purchase                8/27/2013            100     $31.2600   $3,126.00       Sale             8/23/2013       (100)    $32.5600    ($3,256.00)
Purchase                8/27/2013            100     $31.2700   $3,127.00       Sale             8/23/2013       (200)    $32.5500    ($6,510.00)
Purchase                8/27/2013            100     $31.2700   $3,127.00       Sale             8/23/2013       (200)    $32.5500    ($6,510.00)
Purchase                8/27/2013            100     $31.2600   $3,126.00       Sale             8/23/2013       (200)    $32.5600    ($6,512.00)
Purchase                8/27/2013            100     $31.2500   $3,125.00       Sale             8/23/2013       (200)    $32.5600    ($6,512.00)
Purchase                8/27/2013            100     $31.2500   $3,125.00       Sale             8/23/2013       (975)    $32.5600   ($31,746.00)
Purchase                8/27/2013            100     $31.2500   $3,125.00       Sale             8/26/2013       (100)    $32.1400    ($3,214.00)
Purchase                8/27/2013            100     $31.3200   $3,132.00       Sale             8/26/2013       (100)    $32.1500    ($3,215.00)
Purchase                8/27/2013            200     $31.2100   $6,242.00       Sale             8/26/2013       (100)    $31.6500    ($3,165.00)
Purchase                8/27/2013            100     $31.1800   $3,118.00       Sale             8/26/2013       (100)    $31.6400    ($3,164.00)
Purchase                8/27/2013            200     $31.1900   $6,238.00       Sale             8/26/2013       (100)    $31.5700    ($3,157.00)
Purchase                8/27/2013            190     $31.1900   $5,926.10       Sale             8/26/2013       (100)    $31.6200    ($3,162.00)
Purchase                8/27/2013            200     $31.0000   $6,200.00       Sale             8/26/2013        (11)    $31.6700      ($348.37)
Purchase                8/27/2013            100     $30.9500   $3,095.00       Sale             8/26/2013       (100)    $31.6500    ($3,165.00)
Purchase                8/27/2013            197     $30.9200   $6,091.24       Sale             8/26/2013       (100)    $31.5000    ($3,150.00)
Purchase                8/28/2013            100     $31.1500   $3,115.00       Sale             8/26/2013        (20)    $31.4600      ($629.20)
Purchase                8/28/2013            100     $31.2000   $3,120.00       Sale             8/26/2013        (19)    $31.3700      ($596.03)
Purchase                8/28/2013            100     $31.2000   $3,120.00       Sale             8/26/2013       (100)    $31.2900    ($3,129.00)
Purchase                8/28/2013            100     $31.2100   $3,121.00       Sale             8/26/2013       (100)    $31.2400    ($3,124.00)
Purchase                8/28/2013            100     $31.1800   $3,118.00       Sale             8/26/2013       (100)    $31.2600    ($3,126.00)
Purchase                8/28/2013            100     $31.2100   $3,121.00       Sale             8/26/2013       (100)    $31.2600    ($3,126.00)
Purchase                8/28/2013            100     $31.2200   $3,122.00       Sale             8/26/2013       (100)    $31.3800    ($3,138.00)
Purchase                8/28/2013            100     $31.2100   $3,121.00       Sale             8/26/2013       (100)    $31.4200    ($3,142.00)
Purchase                8/28/2013            100     $31.2100   $3,121.00       Sale             8/26/2013       (100)    $31.4300    ($3,143.00)
Purchase                8/28/2013            100     $31.0100   $3,101.00       Sale             8/26/2013       (100)    $31.4400    ($3,144.00)
Purchase                8/28/2013            100     $31.0100   $3,101.00       Sale             8/26/2013       (100)    $31.4400    ($3,144.00)
Purchase                8/28/2013            100     $31.0100   $3,101.00       Sale             8/26/2013       (100)    $31.5300    ($3,153.00)
Purchase                8/28/2013            100     $30.9600   $3,096.00       Sale             8/26/2013       (100)    $31.5300    ($3,153.00)
Purchase                8/28/2013            100     $30.9700   $3,097.00       Sale             8/26/2013       (100)    $31.5200    ($3,152.00)
Purchase                8/28/2013            200     $30.9700   $6,194.00       Sale             8/26/2013       (100)    $31.5700    ($3,157.00)
Purchase                8/28/2013            100     $30.9800   $3,098.00       Sale             8/26/2013       (100)    $31.6800    ($3,168.00)
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Purchase                8/28/2013            100     $30.9800   $3,098.00       Sale             8/26/2013       (100)    $31.8300    ($3,183.00)
Purchase                8/28/2013            188     $30.9800   $5,824.24       Sale             8/26/2013       (100)    $31.8300    ($3,183.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                8/28/2013            100     $31.0900   $3,109.00       Sale             8/26/2013       (100)    $31.7600     ($3,176.00)
Purchase                8/28/2013            200     $31.0900   $6,218.00       Sale             8/26/2013       (100)    $31.6900     ($3,169.00)
Purchase                8/28/2013            100     $31.0400   $3,104.00       Sale             8/26/2013       (100)    $31.6600     ($3,166.00)
Purchase                8/28/2013            100     $31.0300   $3,103.00       Sale             8/26/2013       (100)    $31.6600     ($3,166.00)
Purchase                8/29/2013            100     $31.0600   $3,106.00       Sale             8/26/2013       (200)    $31.6300     ($6,326.00)
Purchase                8/29/2013            100     $31.0600   $3,106.00       Sale             8/26/2013       (200)    $31.6300     ($6,326.00)
Purchase                8/29/2013            100     $30.9300   $3,093.00       Sale             8/26/2013       (100)    $31.5400     ($3,154.00)
Purchase                8/29/2013            100     $31.0300   $3,103.00       Sale             8/26/2013       (200)    $31.5400     ($6,308.00)
Purchase                8/29/2013            100     $31.0300   $3,103.00       Sale             8/26/2013        (50)    $31.5900     ($1,579.50)
Purchase                8/29/2013            100     $31.0200   $3,102.00       Sale             8/27/2013        (58)    $31.0800     ($1,802.64)
Purchase                8/29/2013            100     $31.0200   $3,102.00       Sale             8/27/2013       (100)    $31.0600     ($3,106.00)
Purchase                8/29/2013            100     $31.0200   $3,102.00       Sale             8/27/2013       (100)    $31.1600     ($3,116.00)
Purchase                8/29/2013            200     $31.0000   $6,200.00       Sale             8/27/2013       (100)    $31.2100     ($3,121.00)
Purchase                8/29/2013            200     $31.0500   $6,210.00       Sale             8/27/2013       (100)    $31.2100     ($3,121.00)
Purchase                8/29/2013            200     $31.0000   $6,200.00       Sale             8/27/2013       (100)    $31.0300     ($3,103.00)
Purchase                8/30/2013            100     $31.4100   $3,141.00       Sale             8/27/2013       (100)    $31.0700     ($3,107.00)
Purchase                8/30/2013            100     $31.4300   $3,143.00       Sale             8/27/2013       (100)    $31.0800     ($3,108.00)
Purchase                8/30/2013            100     $31.4400   $3,144.00       Sale             8/27/2013       (100)    $31.2400     ($3,124.00)
Purchase                8/30/2013            100     $31.4500   $3,145.00       Sale             8/27/2013       (100)    $31.2900     ($3,129.00)
Purchase                8/30/2013            100     $31.5300   $3,153.00       Sale             8/27/2013        (98)    $31.2900     ($3,066.42)
Purchase                8/30/2013            100     $31.5300   $3,153.00       Sale             8/27/2013       (100)    $31.3200     ($3,132.00)
Purchase                8/30/2013            100     $31.5100   $3,151.00       Sale             8/27/2013       (100)    $31.3600     ($3,136.00)
Purchase                8/30/2013            100     $31.5000   $3,150.00       Sale             8/27/2013       (100)    $31.3000     ($3,130.00)
Purchase                8/30/2013            100     $31.5000   $3,150.00       Sale             8/27/2013       (100)    $31.3000     ($3,130.00)
Purchase                8/30/2013            100     $31.8200   $3,182.00       Sale             8/27/2013       (100)    $31.2700     ($3,127.00)
Purchase                8/30/2013            100     $31.8100   $3,181.00       Sale             8/27/2013       (100)    $31.2700     ($3,127.00)
Purchase                8/30/2013             90     $31.7900   $2,861.10       Sale             8/27/2013       (100)    $31.2700     ($3,127.00)
Purchase                8/30/2013            100     $31.8400   $3,184.00       Sale             8/27/2013       (100)    $31.2800     ($3,128.00)
Purchase                8/30/2013            200     $31.8500   $6,370.00       Sale             8/27/2013       (100)    $31.2700     ($3,127.00)
Purchase                8/30/2013            100     $31.9500   $3,195.00       Sale             8/27/2013       (100)    $31.2800     ($3,128.00)
Purchase                8/30/2013            200     $31.9300   $6,386.00       Sale             8/27/2013       (100)    $31.2600     ($3,126.00)
Purchase                8/30/2013            200     $31.9300   $6,386.00       Sale             8/27/2013       (200)    $31.1600     ($6,232.00)
Purchase                8/30/2013            200     $31.9300   $6,386.00       Sale             8/27/2013       (200)    $31.1800     ($6,236.00)
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Purchase                8/30/2013            100     $31.9200   $3,192.00       Sale             8/27/2013       (200)    $31.1600     ($6,232.00)
Purchase                8/30/2013            100     $31.8700   $3,187.00       Sale             8/27/2013       (100)    $30.9400     ($3,094.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                8/30/2013            143     $31.8700   $4,557.41       Sale             8/27/2013       (118)    $30.9900     ($3,656.82)
Purchase                8/30/2013             57     $31.8600   $1,816.02       Sale             8/28/2013       (100)    $31.2200     ($3,122.00)
Purchase                8/30/2013            200     $31.8700   $6,374.00       Sale             8/28/2013       (100)    $31.2300     ($3,123.00)
Purchase                8/30/2013            200     $31.8700   $6,374.00       Sale             8/28/2013       (100)    $31.2200     ($3,122.00)
Purchase                8/30/2013            200     $31.9100   $6,382.00       Sale             8/28/2013       (100)    $31.2200     ($3,122.00)
Purchase                8/30/2013            200     $31.9100   $6,382.00       Sale             8/28/2013       (100)    $31.2300     ($3,123.00)
Purchase                8/30/2013            200     $31.9500   $6,390.00       Sale             8/28/2013       (100)    $31.1100     ($3,111.00)
Purchase                8/30/2013            120     $31.9500   $3,834.00       Sale             8/28/2013       (100)    $31.0400     ($3,104.00)
Purchase                8/30/2013             39     $31.9500   $1,246.05       Sale             8/28/2013       (100)    $31.0300     ($3,103.00)
Purchase                 9/3/2013             80     $31.9600   $2,556.80       Sale             8/28/2013       (100)    $31.0200     ($3,102.00)
Purchase                 9/3/2013            100     $31.9600   $3,196.00       Sale             8/28/2013       (100)    $31.0300     ($3,103.00)
Purchase                 9/3/2013            100     $31.9300   $3,193.00       Sale             8/28/2013       (200)    $31.0200     ($6,204.00)
Purchase                 9/3/2013            100     $31.9500   $3,195.00       Sale             8/28/2013       (200)    $31.0000     ($6,200.00)
Purchase                 9/3/2013            100     $31.9500   $3,195.00       Sale             8/28/2013       (200)    $30.8700     ($6,174.00)
Purchase                 9/3/2013            100     $31.9500   $3,195.00       Sale             8/28/2013       (200)    $30.9800     ($6,196.00)
Purchase                 9/3/2013            100     $31.9500   $3,195.00       Sale             8/28/2013       (200)    $30.9800     ($6,196.00)
Purchase                 9/3/2013            100     $31.9700   $3,197.00       Sale             8/28/2013       (200)    $30.9800     ($6,196.00)
Purchase                 9/3/2013            100     $31.9700   $3,197.00       Sale             8/28/2013       (200)    $31.1000     ($6,220.00)
Purchase                 9/3/2013            100     $31.9500   $3,195.00       Sale             8/29/2013       (100)    $31.0500     ($3,105.00)
Purchase                 9/3/2013            100     $31.9300   $3,193.00       Sale             8/29/2013       (100)    $31.0500     ($3,105.00)
Purchase                 9/3/2013            100     $31.7600   $3,176.00       Sale             8/29/2013       (100)    $30.9900     ($3,099.00)
Purchase                 9/3/2013            100     $31.7300   $3,173.00       Sale             8/29/2013       (100)    $30.9900     ($3,099.00)
Purchase                 9/3/2013              8     $31.7300     $253.84       Sale             8/29/2013       (100)    $31.0400     ($3,104.00)
Purchase                 9/3/2013            200     $31.7300   $6,346.00       Sale             8/29/2013       (100)    $31.0400     ($3,104.00)
Purchase                 9/3/2013            200     $31.7300   $6,346.00       Sale             8/29/2013       (100)    $31.0300     ($3,103.00)
Purchase                 9/3/2013            200     $31.7300   $6,346.00       Sale             8/29/2013       (100)    $31.0200     ($3,102.00)
Purchase                 9/3/2013             99     $31.6500   $3,133.35       Sale             8/29/2013       (100)    $30.9900     ($3,099.00)
Purchase                 9/4/2013            100     $32.1000   $3,210.00       Sale             8/29/2013       (100)    $30.9900     ($3,099.00)
Purchase                 9/4/2013            100     $32.1300   $3,213.00       Sale             8/29/2013       (100)    $31.0200     ($3,102.00)
Purchase                 9/4/2013            100     $32.2200   $3,222.00       Sale             8/29/2013       (200)    $31.0100     ($6,202.00)
Purchase                 9/4/2013            100     $32.1200   $3,212.00       Sale             8/29/2013       (188)    $31.0100     ($5,829.88)
Purchase                 9/4/2013             38     $32.1100   $1,220.18       Sale             8/30/2013       (100)    $31.5200     ($3,152.00)
Purchase                 9/4/2013            100     $32.1100   $3,211.00       Sale             8/30/2013       (100)    $31.5100     ($3,151.00)
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Purchase                 9/4/2013            100     $32.1100   $3,211.00       Sale             8/30/2013       (100)    $31.5100     ($3,151.00)
Purchase                 9/4/2013            100     $32.0600   $3,206.00       Sale             8/30/2013       (100)    $31.5100     ($3,151.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                 9/4/2013            100     $32.1000   $3,210.00       Sale             8/30/2013        (45)    $31.7600    ($1,429.20)
Purchase                 9/4/2013             30     $32.1000     $963.00       Sale             8/30/2013       (100)    $31.7600    ($3,176.00)
Purchase                 9/4/2013            100     $32.2400   $3,224.00       Sale             8/30/2013       (100)    $31.7400    ($3,174.00)
Purchase                 9/4/2013            100     $32.3000   $3,230.00       Sale             8/30/2013       (100)    $31.7400    ($3,174.00)
Purchase                 9/4/2013            100     $32.4500   $3,245.00       Sale             8/30/2013       (200)    $31.8400    ($6,368.00)
Purchase                 9/4/2013            100     $32.4400   $3,244.00       Sale             8/30/2013       (100)    $31.9200    ($3,192.00)
Purchase                 9/4/2013            100     $32.4500   $3,245.00       Sale             8/30/2013       (200)    $31.9400    ($6,388.00)
Purchase                 9/4/2013            100     $32.3900   $3,239.00       Sale             8/30/2013     (1,000)    $31.9300   ($31,930.00)
Purchase                 9/4/2013            100     $32.4100   $3,241.00       Sale             8/30/2013     (1,504)    $31.9300   ($48,022.72)
Purchase                 9/4/2013            100     $32.4000   $3,240.00       Sale              9/3/2013       (100)    $31.9500    ($3,195.00)
Purchase                 9/4/2013            100     $32.4000   $3,240.00       Sale              9/3/2013       (100)    $31.9600    ($3,196.00)
Purchase                 9/4/2013            100     $32.4000   $3,240.00       Sale              9/3/2013       (100)    $31.9700    ($3,197.00)
Purchase                 9/4/2013            100     $32.5800   $3,258.00       Sale              9/3/2013       (100)    $31.9900    ($3,199.00)
Purchase                 9/4/2013            100     $32.5500   $3,255.00       Sale              9/3/2013       (100)    $31.9500    ($3,195.00)
Purchase                 9/4/2013            100     $32.5100   $3,251.00       Sale              9/3/2013       (100)    $31.7800    ($3,178.00)
Purchase                 9/4/2013            100     $32.3800   $3,238.00       Sale              9/3/2013       (100)    $31.7800    ($3,178.00)
Purchase                 9/4/2013            100     $32.3800   $3,238.00       Sale              9/3/2013       (100)    $31.7800    ($3,178.00)
Purchase                 9/4/2013            100     $32.5300   $3,253.00       Sale              9/3/2013       (100)    $31.7800    ($3,178.00)
Purchase                 9/4/2013            100     $32.5100   $3,251.00       Sale              9/3/2013       (100)    $31.6900    ($3,169.00)
Purchase                 9/4/2013             60     $32.5100   $1,950.60       Sale              9/3/2013       (100)    $31.7100    ($3,171.00)
Purchase                 9/4/2013             40     $32.5100   $1,300.40       Sale              9/3/2013        (81)    $31.7400    ($2,570.94)
Purchase                 9/4/2013            100     $32.5100   $3,251.00       Sale              9/3/2013       (119)    $31.7400    ($3,777.06)
Purchase                 9/4/2013            100     $32.5100   $3,251.00       Sale              9/3/2013       (200)    $31.7400    ($6,348.00)
Purchase                 9/4/2013            200     $32.6000   $6,520.00       Sale              9/3/2013       (200)    $31.7500    ($6,350.00)
Purchase                 9/4/2013            200     $32.5900   $6,518.00       Sale              9/3/2013       (200)    $31.6300    ($6,326.00)
Purchase                 9/4/2013            199     $32.5900   $6,485.41       Sale              9/3/2013        (87)    $31.6500    ($2,753.55)
Purchase                 9/4/2013            200     $32.6800   $6,536.00       Sale              9/4/2013       (100)    $32.1000    ($3,210.00)
Purchase                 9/4/2013            190     $32.7100   $6,214.90       Sale              9/4/2013       (100)    $32.4500    ($3,245.00)
Purchase                 9/4/2013            200     $32.6000   $6,520.00       Sale              9/4/2013       (100)    $32.4300    ($3,243.00)
Purchase                 9/4/2013            200     $32.6000   $6,520.00       Sale              9/4/2013       (100)    $32.4000    ($3,240.00)
Purchase                 9/5/2013             99     $32.8200   $3,249.18       Sale              9/4/2013       (100)    $32.4400    ($3,244.00)
Purchase                 9/5/2013            100     $32.6400   $3,264.00       Sale              9/4/2013       (100)    $32.4100    ($3,241.00)
Purchase                 9/5/2013            200     $32.6200   $6,524.00       Sale              9/4/2013       (100)    $32.4100    ($3,241.00)
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Purchase                 9/5/2013            200     $32.6200   $6,524.00       Sale              9/4/2013       (100)    $32.4300    ($3,243.00)
Purchase                 9/5/2013            200     $32.6900   $6,538.00       Sale              9/4/2013       (100)    $32.4700    ($3,247.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date       Shares      Price       Proceeds

Purchase                 9/5/2013            200     $32.5600   $6,512.00       Sale             9/4/2013       (100)    $32.5200     ($3,252.00)
Purchase                 9/5/2013            200     $32.5500   $6,510.00       Sale             9/4/2013       (100)    $32.4000     ($3,240.00)
Purchase                 9/6/2013            100     $32.6600   $3,266.00       Sale             9/4/2013       (100)    $32.4000     ($3,240.00)
Purchase                 9/6/2013            100     $32.6600   $3,266.00       Sale             9/4/2013       (100)    $32.5200     ($3,252.00)
Purchase                 9/6/2013            100     $32.4300   $3,243.00       Sale             9/4/2013       (100)    $32.5200     ($3,252.00)
Purchase                 9/6/2013            100     $32.4400   $3,244.00       Sale             9/4/2013       (100)    $32.5200     ($3,252.00)
Purchase                 9/6/2013            100     $32.4400   $3,244.00       Sale             9/4/2013       (120)    $32.5200     ($3,902.40)
Purchase                 9/6/2013            100     $32.7100   $3,271.00       Sale             9/4/2013       (200)    $32.6000     ($6,520.00)
Purchase                 9/6/2013            100     $32.6600   $3,266.00       Sale             9/4/2013       (200)    $32.6000     ($6,520.00)
Purchase                 9/6/2013            100     $32.7600   $3,276.00       Sale             9/4/2013        (77)    $32.6000     ($2,510.20)
Purchase                 9/6/2013            100     $32.7500   $3,275.00       Sale             9/4/2013       (200)    $32.6900     ($6,538.00)
Purchase                 9/6/2013            100     $32.7600   $3,276.00       Sale             9/4/2013       (200)    $32.6900     ($6,538.00)
Purchase                 9/6/2013            200     $32.6900   $6,538.00       Sale             9/5/2013       (200)    $32.6500     ($6,530.00)
Purchase                 9/6/2013             96     $32.6100   $3,130.56       Sale             9/5/2013       (200)    $32.5300     ($6,506.00)
Purchase                 9/6/2013            100     $32.5600   $3,256.00       Sale             9/5/2013       (200)    $32.5300     ($6,506.00)
Purchase                 9/6/2013            200     $32.3300   $6,466.00       Sale             9/5/2013       (200)    $32.5600     ($6,512.00)
Purchase                 9/9/2013            100     $32.5400   $3,254.00       Sale             9/6/2013       (100)    $32.3900     ($3,239.00)
Purchase                 9/9/2013            100     $32.5400   $3,254.00       Sale             9/6/2013       (100)    $32.3900     ($3,239.00)
Purchase                 9/9/2013            100     $32.7200   $3,272.00       Sale             9/6/2013       (100)    $32.3900     ($3,239.00)
Purchase                 9/9/2013             36     $32.7300   $1,178.28       Sale             9/6/2013       (100)    $32.3900     ($3,239.00)
Purchase                 9/9/2013            100     $32.7100   $3,271.00       Sale             9/6/2013       (100)    $32.5300     ($3,253.00)
Purchase                 9/9/2013            100     $32.6100   $3,261.00       Sale             9/6/2013       (100)    $32.7400     ($3,274.00)
Purchase                 9/9/2013            100     $32.6100   $3,261.00       Sale             9/6/2013       (200)    $32.7100     ($6,542.00)
Purchase                 9/9/2013            100     $32.6100   $3,261.00       Sale             9/6/2013       (100)    $32.5700     ($3,257.00)
Purchase                 9/9/2013            100     $32.7200   $3,272.00       Sale             9/6/2013       (100)    $32.5300     ($3,253.00)
Purchase                 9/9/2013            100     $32.7000   $3,270.00       Sale             9/6/2013       (200)    $32.3600     ($6,472.00)
Purchase                 9/9/2013            100     $32.7000   $3,270.00       Sale             9/6/2013       (200)    $32.3600     ($6,472.00)
Purchase                 9/9/2013            198     $32.7500   $6,484.50       Sale             9/6/2013       (200)    $32.3600     ($6,472.00)
Purchase                 9/9/2013            100     $32.7500   $3,275.00       Sale             9/6/2013       (200)    $32.3600     ($6,472.00)
Purchase                 9/9/2013            200     $32.8000   $6,560.00       Sale             9/9/2013       (100)    $32.4400     ($3,244.00)
Purchase                 9/9/2013             32     $32.8000   $1,049.60       Sale             9/9/2013       (100)    $32.4400     ($3,244.00)
Purchase                 9/9/2013            200     $32.8000   $6,560.00       Sale             9/9/2013       (100)    $32.4800     ($3,248.00)
Purchase                 9/9/2013            100     $32.8100   $3,281.00       Sale             9/9/2013       (100)    $32.5000     ($3,250.00)
                                                                                                                                                    Case 1:14-cv-00068-RGA Document 17-1 Filed 04/04/14 Page 97 of 106 PageID #: 599




Purchase                9/10/2013            100     $32.8300   $3,283.00       Sale             9/9/2013       (100)    $32.5000     ($3,250.00)
Purchase                9/10/2013            100     $32.8400   $3,284.00       Sale             9/9/2013       (100)    $32.5900     ($3,259.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                9/10/2013            100     $32.8400   $3,284.00       Sale              9/9/2013       (100)    $32.5900     ($3,259.00)
Purchase                9/10/2013            100     $32.8400   $3,284.00       Sale              9/9/2013       (100)    $32.6700     ($3,267.00)
Purchase                9/10/2013            100     $32.8400   $3,284.00       Sale              9/9/2013       (100)    $32.7300     ($3,273.00)
Purchase                9/10/2013            100     $32.7100   $3,271.00       Sale              9/9/2013       (148)    $32.7200     ($4,842.56)
Purchase                9/10/2013            100     $32.6400   $3,264.00       Sale              9/9/2013       (200)    $32.7500     ($6,550.00)
Purchase                9/10/2013            100     $32.6300   $3,263.00       Sale              9/9/2013       (200)    $32.8000     ($6,560.00)
Purchase                9/10/2013            100     $32.6100   $3,261.00       Sale              9/9/2013       (100)    $32.7800     ($3,278.00)
Purchase                9/10/2013            100     $32.5300   $3,253.00       Sale              9/9/2013       (200)    $32.7900     ($6,558.00)
Purchase                9/10/2013            200     $32.6200   $6,524.00       Sale             9/10/2013       (100)    $32.6000     ($3,260.00)
Purchase                9/10/2013            200     $32.6200   $6,524.00       Sale             9/10/2013        (97)    $32.6200     ($3,164.14)
Purchase                9/10/2013            200     $32.6900   $6,538.00       Sale             9/10/2013       (100)    $32.6000     ($3,260.00)
Purchase                9/10/2013            200     $32.6900   $6,538.00       Sale             9/10/2013       (100)    $32.5000     ($3,250.00)
Purchase                9/10/2013            165     $32.6700   $5,390.55       Sale             9/10/2013       (100)    $32.5000     ($3,250.00)
Purchase                9/10/2013             70     $32.6700   $2,286.90       Sale             9/10/2013       (200)    $32.5700     ($6,514.00)
Purchase                9/10/2013              6     $32.6700     $196.02       Sale             9/10/2013       (200)    $32.5800     ($6,516.00)
Purchase                9/10/2013              9     $32.6600     $293.94       Sale             9/10/2013       (200)    $32.5800     ($6,516.00)
Purchase                9/11/2013            100     $33.0000   $3,300.00       Sale             9/10/2013       (200)    $32.6700     ($6,534.00)
Purchase                9/11/2013            100     $33.0000   $3,300.00       Sale             9/11/2013       (100)    $33.0000     ($3,300.00)
Purchase                9/11/2013            100     $32.9300   $3,293.00       Sale             9/11/2013       (100)    $33.0100     ($3,301.00)
Purchase                9/11/2013            100     $32.9200   $3,292.00       Sale             9/11/2013       (100)    $33.0100     ($3,301.00)
Purchase                9/11/2013            100     $33.0000   $3,300.00       Sale             9/11/2013       (100)    $33.0100     ($3,301.00)
Purchase                9/11/2013            100     $33.0000   $3,300.00       Sale             9/11/2013       (100)    $33.0100     ($3,301.00)
Purchase                9/11/2013            100     $32.9900   $3,299.00       Sale             9/11/2013       (100)    $32.9700     ($3,297.00)
Purchase                9/11/2013              9     $32.9900     $296.91       Sale             9/11/2013       (100)    $32.9600     ($3,296.00)
Purchase                9/11/2013             91     $32.9900   $3,002.09       Sale             9/11/2013       (100)    $32.9700     ($3,297.00)
Purchase                9/11/2013            100     $33.0000   $3,300.00       Sale             9/11/2013       (100)    $32.8500     ($3,285.00)
Purchase                9/11/2013            100     $33.0000   $3,300.00       Sale             9/11/2013       (100)    $32.9400     ($3,294.00)
Purchase                9/11/2013            100     $32.9900   $3,299.00       Sale             9/11/2013       (100)    $32.9400     ($3,294.00)
Purchase                9/11/2013            100     $33.0000   $3,300.00       Sale             9/11/2013       (200)    $32.9300     ($6,586.00)
Purchase                9/11/2013            100     $32.9900   $3,299.00       Sale             9/11/2013         (1)    $32.9200        ($32.92)
Purchase                9/11/2013              1     $32.9400      $32.94       Sale             9/11/2013       (200)    $32.9200     ($6,584.00)
Purchase                9/11/2013            100     $32.9400   $3,294.00       Sale             9/11/2013       (200)    $32.9200     ($6,584.00)
Purchase                9/11/2013            100     $32.9400   $3,294.00       Sale             9/12/2013       (100)    $32.9800     ($3,298.00)
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Purchase                9/11/2013            100     $32.9800   $3,298.00       Sale             9/12/2013       (100)    $33.0000     ($3,300.00)
Purchase                9/11/2013            100     $32.9800   $3,298.00       Sale             9/12/2013       (100)    $33.0000     ($3,300.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                9/11/2013             44     $32.9400   $1,449.36       Sale             9/12/2013       (100)    $33.0100     ($3,301.00)
Purchase                9/11/2013            100     $32.9400   $3,294.00       Sale             9/12/2013       (100)    $33.0100     ($3,301.00)
Purchase                9/11/2013             56     $32.9400   $1,844.64       Sale             9/12/2013       (100)    $33.0000     ($3,300.00)
Purchase                9/11/2013            100     $32.9200   $3,292.00       Sale             9/12/2013       (100)    $33.0500     ($3,305.00)
Purchase                9/11/2013            100     $32.9400   $3,294.00       Sale             9/12/2013       (200)    $33.0600     ($6,612.00)
Purchase                9/11/2013            100     $32.9800   $3,298.00       Sale             9/12/2013       (200)    $33.0500     ($6,610.00)
Purchase                9/11/2013            200     $32.9800   $6,596.00       Sale             9/12/2013       (200)    $33.0400     ($6,608.00)
Purchase                9/11/2013            200     $32.9800   $6,596.00       Sale             9/13/2013       (100)    $33.1200     ($3,312.00)
Purchase                9/11/2013            200     $32.9800   $6,596.00       Sale             9/13/2013       (100)    $33.1400     ($3,314.00)
Purchase                9/12/2013            100     $32.9800   $3,298.00       Sale             9/13/2013        (63)    $33.1600     ($2,089.08)
Purchase                9/12/2013            100     $32.9800   $3,298.00       Sale             9/13/2013       (100)    $33.1800     ($3,318.00)
Purchase                9/12/2013            100     $33.0100   $3,301.00       Sale             9/13/2013       (100)    $33.2000     ($3,320.00)
Purchase                9/12/2013            100     $33.0100   $3,301.00       Sale             9/13/2013       (100)    $33.1700     ($3,317.00)
Purchase                9/12/2013            100     $33.0100   $3,301.00       Sale             9/13/2013       (100)    $33.1700     ($3,317.00)
Purchase                9/12/2013            100     $32.9800   $3,298.00       Sale             9/13/2013       (200)    $33.2200     ($6,644.00)
Purchase                9/12/2013            200     $33.0500   $6,610.00       Sale             9/16/2013       (100)    $32.0400     ($3,204.00)
Purchase                9/12/2013            200     $33.0500   $6,610.00       Sale             9/16/2013       (100)    $32.1000     ($3,210.00)
Purchase                9/12/2013            200     $33.0700   $6,614.00       Sale             9/16/2013       (100)    $32.0000     ($3,200.00)
Purchase                9/12/2013            200     $33.0700   $6,614.00       Sale             9/16/2013       (100)    $32.0200     ($3,202.00)
Purchase                9/12/2013            200     $33.0600   $6,612.00       Sale             9/16/2013         (6)    $32.1500       ($192.90)
Purchase                9/13/2013            100     $33.2100   $3,321.00       Sale             9/16/2013       (100)    $32.3200     ($3,232.00)
Purchase                9/13/2013            100     $33.2100   $3,321.00       Sale             9/16/2013       (100)    $32.3100     ($3,231.00)
Purchase                9/13/2013            100     $33.2100   $3,321.00       Sale             9/16/2013       (100)    $32.3800     ($3,238.00)
Purchase                9/13/2013            100     $33.0600   $3,306.00       Sale             9/16/2013       (100)    $32.3500     ($3,235.00)
Purchase                9/13/2013            100     $33.1000   $3,310.00       Sale             9/16/2013       (100)    $32.3500     ($3,235.00)
Purchase                9/13/2013            100     $33.1000   $3,310.00       Sale             9/16/2013       (100)    $32.3500     ($3,235.00)
Purchase                9/13/2013            100     $33.1000   $3,310.00       Sale             9/16/2013       (100)    $32.3600     ($3,236.00)
Purchase                9/13/2013            100     $33.1000   $3,310.00       Sale             9/16/2013       (100)    $32.3800     ($3,238.00)
Purchase                9/13/2013            100     $33.1000   $3,310.00       Sale             9/16/2013       (100)    $32.4300     ($3,243.00)
Purchase                9/13/2013            100     $33.1100   $3,311.00       Sale             9/16/2013       (100)    $32.3500     ($3,235.00)
Purchase                9/13/2013            200     $33.1700   $6,634.00       Sale             9/16/2013       (100)    $32.4100     ($3,241.00)
Purchase                9/13/2013            100     $33.1800   $3,318.00       Sale             9/16/2013       (100)    $32.4100     ($3,241.00)
Purchase                9/13/2013            200     $33.2200   $6,644.00       Sale             9/16/2013       (100)    $32.5000     ($3,250.00)
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Purchase                9/13/2013            200     $33.2500   $6,650.00       Sale             9/16/2013       (100)    $32.6400     ($3,264.00)
Purchase                9/16/2013            100     $32.3200   $3,232.00       Sale             9/16/2013       (100)    $32.6400     ($3,264.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                9/16/2013            100     $32.3000   $3,230.00       Sale             9/16/2013       (200)    $32.6600     ($6,532.00)
Purchase                9/16/2013            100     $32.2800   $3,228.00       Sale             9/16/2013       (200)    $32.7000     ($6,540.00)
Purchase                9/16/2013            100     $32.2800   $3,228.00       Sale             9/16/2013       (100)    $32.7000     ($3,270.00)
Purchase                9/16/2013            100     $32.2200   $3,222.00       Sale             9/16/2013       (100)    $32.7000     ($3,270.00)
Purchase                9/16/2013             57     $32.2800   $1,839.96       Sale             9/16/2013       (200)    $32.5100     ($6,502.00)
Purchase                9/16/2013             43     $32.2800   $1,388.04       Sale             9/16/2013       (200)    $32.4900     ($6,498.00)
Purchase                9/16/2013            100     $32.2800   $3,228.00       Sale             9/16/2013       (200)    $32.4400     ($6,488.00)
Purchase                9/16/2013            100     $32.4200   $3,242.00       Sale             9/16/2013       (100)    $32.4400     ($3,244.00)
Purchase                9/16/2013            100     $32.4200   $3,242.00       Sale             9/16/2013       (200)    $32.3100     ($6,462.00)
Purchase                9/16/2013            100     $32.5000   $3,250.00       Sale             9/16/2013       (200)    $32.2800     ($6,456.00)
Purchase                9/16/2013            200     $32.7300   $6,546.00       Sale             9/16/2013       (200)    $32.3000     ($6,460.00)
Purchase                9/16/2013            200     $32.7200   $6,544.00       Sale             9/17/2013       (100)    $32.2600     ($3,226.00)
Purchase                9/16/2013            200     $32.7000   $6,540.00       Sale             9/17/2013       (100)    $32.2500     ($3,225.00)
Purchase                9/16/2013            200     $32.5400   $6,508.00       Sale             9/17/2013        (97)    $32.2500     ($3,128.25)
Purchase                9/16/2013            200     $32.5300   $6,506.00       Sale             9/17/2013       (100)    $32.2200     ($3,222.00)
Purchase                9/16/2013            200     $32.5300   $6,506.00       Sale             9/17/2013       (100)    $31.9900     ($3,199.00)
Purchase                9/16/2013            100     $32.4400   $3,244.00       Sale             9/17/2013       (100)    $32.0000     ($3,200.00)
Purchase                9/16/2013            200     $32.2600   $6,452.00       Sale             9/17/2013       (100)    $32.0100     ($3,201.00)
Purchase                9/16/2013            200     $32.2600   $6,452.00       Sale             9/17/2013       (200)    $31.8800     ($6,376.00)
Purchase                9/16/2013            200     $32.2600   $6,452.00       Sale             9/17/2013       (200)    $31.8500     ($6,370.00)
Purchase                9/17/2013            100     $32.2000   $3,220.00       Sale             9/17/2013       (100)    $31.7400     ($3,174.00)
Purchase                9/17/2013            100     $31.9900   $3,199.00       Sale             9/17/2013        (63)    $31.5500     ($1,987.65)
Purchase                9/17/2013            100     $31.9900   $3,199.00       Sale             9/17/2013       (200)    $31.3200     ($6,264.00)
Purchase                9/17/2013            200     $31.8900   $6,378.00       Sale             9/17/2013       (100)    $31.1300     ($3,113.00)
Purchase                9/17/2013            200     $31.8900   $6,378.00       Sale             9/17/2013       (200)    $31.1700     ($6,234.00)
Purchase                9/17/2013            100     $31.3000   $3,130.00       Sale             9/17/2013       (200)    $31.1700     ($6,234.00)
Purchase                9/17/2013            200     $31.2700   $6,254.00       Sale             9/17/2013       (200)    $30.9800     ($6,196.00)
Purchase                9/17/2013            200     $31.1900   $6,238.00       Sale             9/17/2013       (200)    $30.8900     ($6,178.00)
Purchase                9/17/2013            100     $31.1900   $3,119.00       Sale             9/17/2013        (50)    $30.8100     ($1,540.50)
Purchase                9/17/2013            200     $30.9100   $6,182.00       Sale             9/17/2013       (200)    $30.7400     ($6,148.00)
Purchase                9/17/2013            200     $30.9100   $6,182.00       Sale             9/17/2013       (200)    $30.7900     ($6,158.00)
Purchase                9/17/2013            100     $30.8600   $3,086.00       Sale             9/17/2013       (100)    $30.5900     ($3,059.00)
Purchase                9/17/2013            120     $30.7600   $3,691.20       Sale             9/17/2013       (200)    $30.5600     ($6,112.00)
Purchase                9/17/2013             82     $30.5600   $2,505.92       Sale             9/17/2013       (200)    $30.5900     ($6,118.00)
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Purchase                9/18/2013            100     $30.9000   $3,090.00       Sale             9/17/2013       (100)    $30.6000     ($3,060.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                9/18/2013            100     $30.8300   $3,083.00       Sale             9/17/2013       (100)    $30.6000     ($3,060.00)
Purchase                9/18/2013            100     $30.8300   $3,083.00       Sale             9/17/2013       (200)    $30.6200     ($6,124.00)
Purchase                9/18/2013            100     $30.7600   $3,076.00       Sale             9/17/2013       (200)    $30.6200     ($6,124.00)
Purchase                9/18/2013            100     $30.7600   $3,076.00       Sale             9/17/2013       (200)    $30.7400     ($6,148.00)
Purchase                9/18/2013            100     $30.7600   $3,076.00       Sale             9/17/2013       (200)    $30.7000     ($6,140.00)
Purchase                9/18/2013            100     $30.7600   $3,076.00       Sale             9/17/2013       (100)    $30.6900     ($3,069.00)
Purchase                9/18/2013            100     $30.8600   $3,086.00       Sale             9/17/2013       (100)    $30.6900     ($3,069.00)
Purchase                9/18/2013            100     $30.8600   $3,086.00       Sale             9/18/2013       (100)    $30.7200     ($3,072.00)
Purchase                9/18/2013            100     $31.1300   $3,113.00       Sale             9/18/2013       (100)    $30.7800     ($3,078.00)
Purchase                9/18/2013             94     $31.1300   $2,926.22       Sale             9/18/2013       (100)    $30.7000     ($3,070.00)
Purchase                9/18/2013            100     $31.0900   $3,109.00       Sale             9/18/2013       (100)    $30.7000     ($3,070.00)
Purchase                9/18/2013             96     $31.0900   $2,984.64       Sale             9/18/2013       (100)    $30.8100     ($3,081.00)
Purchase                9/18/2013              4     $31.0900     $124.36       Sale             9/18/2013       (100)    $31.1700     ($3,117.00)
Purchase                9/18/2013            100     $31.0600   $3,106.00       Sale             9/18/2013       (200)    $31.1600     ($6,232.00)
Purchase                9/18/2013            100     $31.1100   $3,111.00       Sale             9/18/2013       (100)    $31.2400     ($3,124.00)
Purchase                9/18/2013            200     $31.1200   $6,224.00       Sale             9/18/2013       (100)    $31.2400     ($3,124.00)
Purchase                9/18/2013            200     $31.3300   $6,266.00       Sale             9/19/2013       (100)    $31.2700     ($3,127.00)
Purchase                9/18/2013            100     $31.3200   $3,132.00       Sale             9/19/2013       (200)    $31.1500     ($6,230.00)
Purchase                9/19/2013            100     $31.1000   $3,110.00       Sale             9/19/2013       (200)    $31.1900     ($6,238.00)
Purchase                9/19/2013            100     $31.0800   $3,108.00       Sale             9/19/2013       (100)    $31.1900     ($3,119.00)
Purchase                9/19/2013            100     $31.2300   $3,123.00       Sale             9/19/2013       (100)    $31.1600     ($3,116.00)
Purchase                9/19/2013            100     $31.1200   $3,112.00       Sale             9/19/2013        (15)    $31.1600       ($467.40)
Purchase                9/19/2013            100     $31.1200   $3,112.00       Sale             9/20/2013       (100)    $31.3100     ($3,131.00)
Purchase                9/19/2013            100     $31.1000   $3,110.00       Sale             9/20/2013       (100)    $31.3100     ($3,131.00)
Purchase                9/19/2013            100     $31.1000   $3,110.00       Sale             9/20/2013       (200)    $31.3100     ($6,262.00)
Purchase                9/19/2013            100     $31.1700   $3,117.00       Sale             9/20/2013       (200)    $31.3100     ($6,262.00)
Purchase                9/20/2013            100     $31.1600   $3,116.00       Sale             9/20/2013       (200)    $31.3100     ($6,262.00)
Purchase                9/20/2013            100     $31.1200   $3,112.00       Sale             9/20/2013       (300)    $31.3100     ($9,393.00)
Purchase                9/20/2013            100     $31.0800   $3,108.00       Sale             9/20/2013       (100)    $31.3100     ($3,131.00)
Purchase                9/20/2013            100     $31.0700   $3,107.00       Sale             9/20/2013       (200)    $31.3100     ($6,262.00)
Purchase                9/20/2013            100     $30.9800   $3,098.00       Sale             9/20/2013       (200)    $30.9100     ($6,182.00)
Purchase                9/20/2013            100     $30.8500   $3,085.00       Sale             9/20/2013       (200)    $30.9100     ($6,182.00)
Purchase                9/20/2013            100     $30.8400   $3,084.00       Sale             9/23/2013       (100)    $30.8000     ($3,080.00)
Purchase                9/20/2013            100     $30.7500   $3,075.00       Sale             9/23/2013       (100)    $30.6800     ($3,068.00)
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Purchase                9/20/2013            100     $30.8500   $3,085.00       Sale             9/23/2013       (100)    $30.6800     ($3,068.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                9/20/2013            100     $30.9400    $3,094.00       Sale             9/23/2013       (100)    $30.7000     ($3,070.00)
Purchase                9/20/2013            200     $30.9400    $6,188.00       Sale             9/23/2013       (100)    $30.5800     ($3,058.00)
Purchase                9/20/2013            200     $30.8900    $6,178.00       Sale             9/23/2013       (200)    $30.4900     ($6,098.00)
Purchase                9/20/2013            100     $30.8900    $3,089.00       Sale             9/23/2013       (200)    $30.4900     ($6,098.00)
Purchase                9/20/2013              3     $30.8900       $92.67       Sale             9/23/2013       (200)    $30.1700     ($6,034.00)
Purchase                9/20/2013            200     $30.9200    $6,184.00       Sale             9/23/2013       (200)    $30.1700     ($6,034.00)
Purchase                9/23/2013            100     $30.7400    $3,074.00       Sale             9/23/2013       (100)    $29.9900     ($2,999.00)
Purchase                9/23/2013            100     $30.7400    $3,074.00       Sale             9/23/2013       (200)    $29.9900     ($5,998.00)
Purchase                9/23/2013            100     $30.7700    $3,077.00       Sale             9/23/2013       (100)    $29.9900     ($2,999.00)
Purchase                9/23/2013            100     $30.7200    $3,072.00       Sale             9/23/2013       (100)    $30.0100     ($3,001.00)
Purchase                9/23/2013            100     $30.7000    $3,070.00       Sale             9/23/2013       (200)    $29.9900     ($5,998.00)
Purchase                9/23/2013            100     $30.7100    $3,071.00       Sale             9/23/2013       (200)    $29.8100     ($5,962.00)
Purchase                9/23/2013            100     $30.7300    $3,073.00       Sale             9/23/2013       (100)    $29.9500     ($2,995.00)
Purchase                9/23/2013            100     $30.7400    $3,074.00       Sale             9/23/2013       (200)    $29.9000     ($5,980.00)
Purchase                9/23/2013            100     $30.5900    $3,059.00       Sale             9/23/2013       (100)    $29.9400     ($2,994.00)
Purchase                9/23/2013            200     $30.5000    $6,100.00       Sale             9/23/2013       (100)    $29.8000     ($2,980.00)
Purchase                9/23/2013            100     $30.5000    $3,050.00       Sale             9/23/2013       (200)    $29.5500     ($5,910.00)
Purchase                9/23/2013            100     $30.5000    $3,050.00       Sale             9/23/2013       (200)    $29.4800     ($5,896.00)
Purchase                9/23/2013            200     $30.1600    $6,032.00       Sale             9/23/2013       (200)    $29.5000     ($5,900.00)
Purchase                9/23/2013            200     $30.1500    $6,030.00       Sale             9/23/2013       (200)    $29.5000     ($5,900.00)
Purchase                9/23/2013            100     $30.1600    $3,016.00       Sale             9/23/2013       (200)    $29.1300     ($5,826.00)
Purchase                9/23/2013            200     $30.1500    $6,030.00       Sale             9/23/2013       (200)    $29.1300     ($5,826.00)
Purchase                9/23/2013            200     $29.9600    $5,992.00       Sale             9/23/2013       (200)    $28.8200     ($5,764.00)
Purchase                9/23/2013            200     $29.9000    $5,980.00       Sale             9/23/2013       (200)    $28.9000     ($5,780.00)
Purchase                9/23/2013            200     $29.8700    $5,974.00       Sale             9/23/2013       (200)    $29.0500     ($5,810.00)
Purchase                9/23/2013            200     $29.4900    $5,898.00       Sale             9/23/2013       (100)    $29.1900     ($2,919.00)
Purchase                9/23/2013            100     $29.3700    $2,937.00       Sale             9/23/2013       (200)    $29.1800     ($5,836.00)
Purchase                9/23/2013            100     $29.1100    $2,911.00       Sale             9/23/2013       (200)    $29.1800     ($5,836.00)
Purchase                9/23/2013            100     $29.1100    $2,911.00       Sale             9/23/2013       (100)    $29.1900     ($2,919.00)
Purchase                9/23/2013            200     $29.0200    $5,804.00       Sale             9/23/2013       (200)    $29.2000     ($5,840.00)
Purchase                9/23/2013            200     $28.8700    $5,774.00       Sale             9/23/2013       (200)    $29.0800     ($5,816.00)
Purchase                9/23/2013            200     $29.1100    $5,822.00       Sale             9/24/2013       (100)    $28.7500     ($2,875.00)
Purchase                9/23/2013            100     $29.1000    $2,910.00       Sale             9/24/2013       (100)    $28.8000     ($2,880.00)
Purchase                9/23/2013          1,308     $28.8500   $37,735.80       Sale             9/24/2013       (100)    $28.8200     ($2,882.00)
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Purchase                9/24/2013            100     $29.2900    $2,929.00       Sale             9/24/2013       (100)    $28.8200     ($2,882.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                9/24/2013            100     $29.3500   $2,935.00       Sale             9/24/2013       (100)    $28.9500    ($2,895.00)
Purchase                9/24/2013            100     $29.3500   $2,935.00       Sale             9/24/2013       (100)    $28.9900    ($2,899.00)
Purchase                9/24/2013            100     $29.4400   $2,944.00       Sale             9/24/2013       (100)    $29.0000    ($2,900.00)
Purchase                9/24/2013            100     $29.4000   $2,940.00       Sale             9/24/2013       (100)    $29.0900    ($2,909.00)
Purchase                9/24/2013             99     $29.3900   $2,909.61       Sale             9/24/2013       (100)    $29.1900    ($2,919.00)
Purchase                9/24/2013            100     $29.5300   $2,953.00       Sale             9/24/2013       (100)    $29.8500    ($2,985.00)
Purchase                9/24/2013            100     $29.6500   $2,965.00       Sale             9/24/2013       (100)    $29.6000    ($2,960.00)
Purchase                9/24/2013             52     $29.6000   $1,539.20       Sale             9/24/2013       (100)    $29.5900    ($2,959.00)
Purchase                9/24/2013            100     $29.6500   $2,965.00       Sale             9/24/2013       (100)    $29.6400    ($2,964.00)
Purchase                9/24/2013             48     $29.6000   $1,420.80       Sale             9/24/2013       (100)    $29.6900    ($2,969.00)
Purchase                9/24/2013            100     $29.6000   $2,960.00       Sale             9/24/2013       (100)    $29.6800    ($2,968.00)
Purchase                9/24/2013            100     $29.5400   $2,954.00       Sale             9/24/2013       (200)    $29.5000    ($5,900.00)
Purchase                9/24/2013            100     $29.5900   $2,959.00       Sale             9/24/2013       (200)    $29.5000    ($5,900.00)
Purchase                9/24/2013            100     $29.5900   $2,959.00       Sale             9/24/2013       (100)    $29.4200    ($2,942.00)
Purchase                9/24/2013            100     $29.7500   $2,975.00       Sale             9/24/2013       (200)    $29.4500    ($5,890.00)
Purchase                9/24/2013             99     $29.8300   $2,953.17       Sale             9/24/2013       (200)    $29.4500    ($5,890.00)
Purchase                9/24/2013            100     $29.8900   $2,989.00       Sale             9/24/2013       (200)    $29.5000    ($5,900.00)
Purchase                9/24/2013             50     $29.7600   $1,488.00       Sale             9/24/2013       (200)    $29.4500    ($5,890.00)
Purchase                9/24/2013             50     $29.7400   $1,487.00       Sale             9/24/2013       (100)    $29.3600    ($2,936.00)
Purchase                9/24/2013            100     $29.7200   $2,972.00       Sale             9/24/2013       (200)    $29.3600    ($5,872.00)
Purchase                9/24/2013             50     $29.7200   $1,486.00       Sale             9/24/2013       (200)    $29.3600    ($5,872.00)
Purchase                9/24/2013            100     $29.6100   $2,961.00       Sale             9/25/2013       (200)    $29.4700    ($5,894.00)
Purchase                9/24/2013             99     $29.6300   $2,933.37       Sale             9/25/2013       (200)    $29.4800    ($5,896.00)
Purchase                9/24/2013            200     $29.4200   $5,884.00       Sale             9/25/2013       (200)    $29.5600    ($5,912.00)
Purchase                9/24/2013            200     $29.4800   $5,896.00       Sale             9/25/2013       (793)    $29.6700   ($23,528.31)
Purchase                9/24/2013            100     $29.4900   $2,949.00       Sale             9/26/2013       (100)    $29.6600    ($2,966.00)
Purchase                9/24/2013            100     $29.4600   $2,946.00       Sale             9/26/2013       (100)    $29.6600    ($2,966.00)
Purchase                9/24/2013            100     $29.4700   $2,947.00       Sale             9/26/2013       (100)    $29.7200    ($2,972.00)
Purchase                9/24/2013            200     $29.4700   $5,894.00       Sale             9/26/2013       (200)    $29.7300    ($5,946.00)
Purchase                9/25/2013            100     $29.4300   $2,943.00       Sale             9/26/2013       (200)    $29.7300    ($5,946.00)
Purchase                9/25/2013            100     $29.4300   $2,943.00       Sale             9/26/2013        (35)    $29.7300    ($1,040.55)
Purchase                9/25/2013            100     $29.3800   $2,938.00       Sale             9/26/2013       (200)    $29.7400    ($5,948.00)
Purchase                9/25/2013            100     $29.4300   $2,943.00       Sale             9/26/2013       (200)    $29.7400    ($5,948.00)
Purchase                9/25/2013            100     $29.3700   $2,937.00       Sale             9/26/2013       (100)    $29.8000    ($2,980.00)
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Purchase                9/25/2013            100     $29.3700   $2,937.00       Sale             9/26/2013       (114)    $29.8000    ($3,397.20)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                9/25/2013             49     $29.6600   $1,453.34       Sale             9/26/2013       (200)    $29.8000     ($5,960.00)
Purchase                9/25/2013            100     $29.6900   $2,969.00       Sale             9/27/2013       (100)    $29.5900     ($2,959.00)
Purchase                9/25/2013            200     $29.6300   $5,926.00       Sale             9/27/2013         (3)    $29.5900        ($88.77)
Purchase                9/25/2013            200     $29.4100   $5,882.00       Sale             9/27/2013        (97)    $29.5900     ($2,870.23)
Purchase                9/26/2013             10     $29.6100     $296.10       Sale             9/27/2013       (100)    $29.7300     ($2,973.00)
Purchase                9/26/2013            100     $29.6100   $2,961.00       Sale             9/27/2013       (100)    $30.1300     ($3,013.00)
Purchase                9/26/2013             55     $29.7500   $1,636.25       Sale             9/27/2013       (100)    $30.2200     ($3,022.00)
Purchase                9/26/2013             45     $29.7500   $1,338.75       Sale             9/27/2013       (100)    $30.4200     ($3,042.00)
Purchase                9/26/2013            100     $29.7300   $2,973.00       Sale             9/27/2013       (200)    $30.3700     ($6,074.00)
Purchase                9/26/2013            100     $29.7900   $2,979.00       Sale             9/27/2013       (200)    $30.3000     ($6,060.00)
Purchase                9/26/2013            200     $29.7400   $5,948.00       Sale             9/27/2013       (100)    $30.6600     ($3,066.00)
Purchase                9/26/2013            200     $29.8700   $5,974.00       Sale             9/27/2013       (181)    $30.7500     ($5,565.75)
Purchase                9/26/2013            200     $29.8100   $5,962.00       Sale             9/27/2013       (200)    $30.7500     ($6,150.00)
Purchase                9/26/2013            200     $29.8100   $5,962.00       Sale             9/30/2013       (100)    $30.6800     ($3,068.00)
Purchase                9/26/2013            200     $29.8000   $5,960.00       Sale             9/30/2013       (100)    $30.7400     ($3,074.00)
Purchase                9/26/2013            200     $29.8000   $5,960.00       Sale             9/30/2013       (100)    $31.1100     ($3,111.00)
Purchase                9/27/2013            100     $29.9300   $2,993.00       Sale             9/30/2013       (100)    $31.1500     ($3,115.00)
Purchase                9/27/2013            100     $29.8900   $2,989.00       Sale             9/30/2013       (100)    $31.0400     ($3,104.00)
Purchase                9/27/2013             79     $29.8700   $2,359.73       Sale             9/30/2013       (100)    $30.4300     ($3,043.00)
Purchase                9/27/2013             21     $29.8700     $627.27       Sale             9/30/2013       (194)    $30.4200     ($5,901.48)
Purchase                9/27/2013             99     $30.4100   $3,010.59       Sale             9/30/2013       (100)    $30.5200     ($3,052.00)
Purchase                9/27/2013            100     $30.4000   $3,040.00       Sale             9/30/2013       (200)    $30.5900     ($6,118.00)
Purchase                9/27/2013            100     $30.4000   $3,040.00       Sale             10/1/2013       (100)    $31.0000     ($3,100.00)
Purchase                9/27/2013            100     $30.3700   $3,037.00       Sale             10/1/2013       (100)    $31.0400     ($3,104.00)
Purchase                9/27/2013             17     $30.2800     $514.76       Sale             10/1/2013       (100)    $31.0900     ($3,109.00)
Purchase                9/27/2013            200     $30.3300   $6,066.00       Sale             10/1/2013       (100)    $31.0500     ($3,105.00)
Purchase                9/27/2013            200     $30.5100   $6,102.00       Sale             10/1/2013       (100)    $31.0600     ($3,106.00)
Purchase                9/27/2013            191     $30.5600   $5,836.96       Sale             10/1/2013       (100)    $31.0900     ($3,109.00)
Purchase                9/27/2013            200     $30.5600   $6,112.00       Sale             10/1/2013       (100)    $31.0900     ($3,109.00)
Purchase                9/27/2013            200     $30.7200   $6,144.00       Sale             10/1/2013        (79)    $31.1300     ($2,459.27)
Purchase                9/27/2013             79     $30.7800   $2,431.62       Sale             10/1/2013       (200)    $31.1400     ($6,228.00)
Purchase                9/27/2013            200     $30.7600   $6,152.00       Sale             10/1/2013       (200)    $31.0600     ($6,212.00)
Purchase                9/27/2013            100     $30.6700   $3,067.00       Sale             10/2/2013       (100)    $30.7700     ($3,077.00)
Purchase                9/27/2013             63     $30.6700   $1,932.21       Sale             10/2/2013       (100)    $30.8100     ($3,081.00)
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Purchase                9/27/2013            100     $30.6700   $3,067.00       Sale             10/2/2013       (100)    $31.0100     ($3,101.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                9/27/2013            100     $30.6700    $3,067.00       Sale             10/2/2013       (100)    $31.0000     ($3,100.00)
Purchase                9/27/2013             37     $30.6700    $1,134.79       Sale             10/2/2013       (100)    $31.1000     ($3,110.00)
Purchase                9/30/2013            100     $30.6300    $3,063.00       Sale             10/2/2013       (100)    $31.2800     ($3,128.00)
Purchase                9/30/2013            100     $30.7100    $3,071.00       Sale             10/2/2013       (200)    $31.2900     ($6,258.00)
Purchase                9/30/2013            100     $30.7100    $3,071.00       Sale             10/3/2013       (100)    $31.3300     ($3,133.00)
Purchase                9/30/2013            100     $31.0000    $3,100.00       Sale             10/3/2013       (100)    $31.2800     ($3,128.00)
Purchase                9/30/2013            100     $31.1500    $3,115.00       Sale             10/3/2013       (100)    $31.0600     ($3,106.00)
Purchase                9/30/2013            100     $31.1500    $3,115.00       Sale             10/3/2013       (100)    $31.1700     ($3,117.00)
Purchase                9/30/2013            100     $31.1700    $3,117.00       Sale             10/3/2013       (200)    $31.1800     ($6,236.00)
Purchase                9/30/2013            100     $30.9300    $3,093.00       Sale             10/3/2013       (200)    $31.1700     ($6,234.00)
Purchase                9/30/2013            100     $30.8600    $3,086.00       Sale             10/4/2013       (100)    $31.4200     ($3,142.00)
Purchase                9/30/2013            200     $30.7000    $6,140.00       Sale             10/4/2013        (55)    $31.4400     ($1,729.20)
Purchase                9/30/2013            200     $30.7000    $6,140.00       Sale             10/4/2013       (100)    $31.3500     ($3,135.00)
Purchase                9/30/2013             47     $30.8000    $1,447.60       Sale             10/4/2013       (100)    $31.3500     ($3,135.00)
Purchase                9/30/2013             42     $30.8000    $1,293.60       Sale             10/4/2013       (100)    $31.0900     ($3,109.00)
Purchase                9/30/2013             11     $30.8000      $338.80       Sale             10/4/2013       (100)    $30.9000     ($3,090.00)
Purchase                10/1/2013            100     $31.0000    $3,100.00       Sale             10/4/2013       (100)    $30.7400     ($3,074.00)
Purchase                10/1/2013            100     $31.0300    $3,103.00       Sale             10/4/2013        (78)    $30.7000     ($2,394.60)
Purchase                10/1/2013            100     $31.0400    $3,104.00       Sale             10/4/2013       (100)    $30.2700     ($3,027.00)
Purchase                10/1/2013            100     $31.0400    $3,104.00       Sale             10/4/2013       (100)    $30.3000     ($3,030.00)
Purchase                10/1/2013            100     $31.0600    $3,106.00       Sale             10/4/2013       (100)    $30.3900     ($3,039.00)
Purchase                10/1/2013            100     $31.1100    $3,111.00       Sale             10/4/2013       (199)    $29.6300     ($5,896.37)
Purchase                10/1/2013            100     $31.1700    $3,117.00       Sale             10/4/2013       (200)    $29.6200     ($5,924.00)
Purchase                10/1/2013            100     $31.1700    $3,117.00       Sale             10/4/2013       (100)    $29.4500     ($2,945.00)
Purchase                10/1/2013            100     $31.1600    $3,116.00       Sale             10/4/2013       (200)    $29.6000     ($5,920.00)
Purchase                10/1/2013          1,352     $31.1300   $42,087.76       Sale             10/4/2013       (200)    $29.6800     ($5,936.00)
Purchase                10/2/2013            100     $31.2200    $3,122.00       Sale             10/4/2013       (200)    $29.6300     ($5,926.00)
Purchase                10/2/2013            100     $31.2600    $3,126.00       Sale             10/4/2013       (100)    $29.6000     ($2,960.00)
Purchase                10/2/2013            200     $31.3900    $6,278.00       Sale             10/4/2013       (100)    $29.6000     ($2,960.00)
Purchase                10/3/2013            200     $31.3200    $6,264.00       Sale             10/4/2013        (99)    $29.4100     ($2,911.59)
Purchase                10/3/2013            200     $31.3200    $6,264.00       Sale             10/4/2013       (200)    $29.4200     ($5,884.00)
Purchase                10/4/2013            100     $31.2400    $3,124.00       Sale             10/4/2013       (200)    $29.4700     ($5,894.00)
Purchase                10/4/2013            100     $31.2400    $3,124.00       Sale             10/4/2013        (99)    $29.5500     ($2,925.45)
Purchase                10/4/2013            100     $31.3400    $3,134.00       Sale             10/4/2013       (200)    $29.6100     ($5,922.00)
                                                                                                                                                      Case 1:14-cv-00068-RGA Document 17-1 Filed 04/04/14 Page 105 of 106 PageID #: 607




Purchase                10/4/2013            100     $29.6500    $2,965.00       Sale             10/4/2013        (87)    $29.7500     ($2,588.25)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price         Cost                Transaction   Date        Shares          Price        Proceeds

Purchase                10/4/2013            200     $29.6000       $5,920.00       Sale             10/4/2013       (200)        $29.4600       ($5,892.00)
Purchase                10/4/2013            200     $29.6000       $5,920.00       Sale             10/4/2013       (200)        $29.4200       ($5,884.00)
Purchase                10/4/2013            200     $29.6100       $5,922.00       Sale             10/4/2013       (200)        $29.4700       ($5,894.00)
Purchase                10/4/2013            200     $29.5400       $5,908.00       Sale             10/4/2013       (200)        $29.5000       ($5,900.00)
Purchase                10/4/2013            200     $29.5500       $5,910.00       Sale             10/4/2013       (200)        $29.5300       ($5,906.00)
Purchase                10/4/2013            200     $29.5600       $5,912.00       Sale             10/4/2013       (200)        $29.5300       ($5,906.00)
Purchase                10/4/2013            200     $29.7000       $5,940.00       Sale             10/4/2013        (99)        $29.4800       ($2,918.52)
Purchase                10/4/2013            200     $29.7000       $5,940.00       Sale             10/4/2013       (200)        $29.3600       ($5,872.00)
Purchase                10/4/2013            200     $29.4900       $5,898.00       Sale             10/4/2013       (200)        $29.3600       ($5,872.00)
Purchase                10/4/2013            200     $29.4900       $5,898.00       Sale             10/4/2013       (100)        $28.8200       ($2,882.00)
Purchase                10/4/2013            100     $29.5100       $2,951.00       Sale             10/4/2013       (200)        $28.8500       ($5,770.00)
Purchase                10/4/2013            200     $29.5000       $5,900.00       Sale             10/4/2013       (200)        $29.0000       ($5,800.00)
Purchase                10/4/2013            200     $29.5000       $5,900.00       Sale             10/4/2013       (100)        $29.1000       ($2,910.00)
Purchase                10/4/2013            200     $29.4900       $5,898.00       Sale             10/4/2013       (200)        $29.1000       ($5,820.00)
Purchase                10/4/2013            200     $29.1400       $5,828.00       Sale             10/4/2013       (100)        $29.0800       ($2,908.00)
Purchase                10/4/2013             25     $29.0300         $725.75       Sale             10/4/2013       (200)        $29.1800       ($5,836.00)
Purchase                10/4/2013            200     $29.0300       $5,806.00       Sale             10/4/2013       (200)        $29.1800       ($5,836.00)
Purchase                10/4/2013            200     $29.0600       $5,812.00       Sale             10/4/2013       (200)        $29.1400       ($5,828.00)
Purchase                10/4/2013            100     $29.0600       $2,906.00       Sale             10/4/2013       (200)        $29.1400       ($5,828.00)
Purchase                10/4/2013            200     $29.1100       $5,822.00       Sale             10/4/2013       (200)        $29.1400       ($5,828.00)
Purchase                10/4/2013            200     $29.1100       $5,822.00       Sale             10/4/2013       (200)        $29.2100       ($5,842.00)
Purchase                10/4/2013            200     $29.1400       $5,828.00       Sale             10/4/2013       (200)        $29.3700       ($5,874.00)
Purchase                10/4/2013            100     $29.1400       $2,914.00       Sale             10/4/2013       (200)        $29.5000       ($5,900.00)
Purchase                10/4/2013            100     $29.2300       $2,923.00       Sale             10/4/2013        (65)        $29.5500       ($1,920.75)
Purchase                10/4/2013            200     $29.4100       $5,882.00       Sale             10/4/2013        (69)        $29.5500       ($2,038.95)
Purchase                10/4/2013            200     $29.4100       $5,882.00       Sale             10/4/2013        (48)        $29.5100       ($1,416.48)
Purchase                10/4/2013            200     $29.5000       $5,900.00       Sale             10/4/2013       (100)        $29.5000       ($2,950.00)
Purchase                10/4/2013            200     $29.4100       $5,882.00       Sale             10/4/2013       (163)        $29.5000       ($4,808.50)
Purchase                10/4/2013            200     $29.5300       $5,906.00       Sale             10/4/2013       (200)        $29.5000       ($5,900.00)
Purchase                10/4/2013            200     $29.5300       $5,906.00
Purchase                10/4/2013          1,014     $29.5100      $29,923.14       Retained                       (2,065)        $23.6617      ($48,861.41)
                                         307,447                $9,990,569.72                                    (307,447)                   ($9,739,776.01)

                                                                                                                             LIFO loss        ($250,793.71)
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